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                  UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT

SAUL ORTEGA AND DAVID        §                 Case No. 23-_____________
ROGERS, JR.                  §
                             §                 On review from AA-EC-2017-44
     Petitioners,            §                 and AA-EC-2017-45
                             §
v.                           §                 Petition for Review of Final Decision
                             §                 of the Comptroller of the Currency
OFFICE OF THE COMPTROLLER OF §
THE CURRENCY                 §
                             §
     Respondent.             §

     PETITION OF SAUL ORTEGA AND DAVID ROGERS, JR. FOR
       REVIEW OF FINAL DECISION OF THE OFFICE OF THE
              COMPTROLLER OF THE CURRENCY

      Pursuant to 12 U.S.C. § 1818(h) and Federal Rule of Appellate Procedure

15(a), Petitioners Saul Ortega and David Rogers, Jr., hereby petition the Court for

review of the Final Decision of the Comptroller of the Currency, Orders of

Prohibition against both Petitioners Ortega and Rogers, and Orders Assessing Civil

Monetary Penalty against both Petitioners Ortega and Rogers, issued on December

1, 2023 and entered in AA-EC-2017-44 and AA-EC-2017-45, as well as the Order

Granting Cross-Motions for Interlocutory Review and Vacating and Reversing in

Part April 9 Order, issued on December 18, 2020 and entered in AA-EC-2017-44

and AA-EC-2017-45.

      Pursuant to Fifth Circuit Rule 15.l(b), a copy of the orders to be reviewed are
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attached hereto as Exhibits A-1 and A-2. Pursuant to Federal Rule of Appellate

Procedure 26.1 and Fifth Circuit Rule 28.2.1, the certificate of interested persons is

attached hereto as Exhibit B. Pursuant to Federal Rule of Appellate Procedure

15(c)(2), a list of those persons served is attached hereto as Exhibit C.

      Wherefore, Petitioners respectfully request that the Court, on review, vacate

or modify, in whole or in part, the foregoing orders of which Petitioners seek review,

or, in the alternative, render judgment for Petitioners. Petitioners also request such

other and further relief to which they may be entitled.




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Dated: December 1, 2023

                                Respectfully submitted,


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                                       COUNSEL FOR PETITIONERS




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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 1, 2023, a true and accurate copy of the

foregoing Petition for Review with exhibits was served on the parties identified in

Exhibit C by email and by placing in the United States mail, in addition to filing with

the Court by ECF document filing system:



                                        /s/ Frank C. Brame
                                        Counsel for Petitioners




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             CERTIFICATIONS OF ECF FILING STANDARDS

      Pursuant to paragraph A(6) of this Court’s ECF Filing Standards, I hereby

certify that (1) any required privacy redactions have been made, 5th Cir. R. 25.2.13;

and (2) the document has been scanned with the most recent version of a commercial

virus scanning program and is free of viruses.


                                       /s/ Frank C. Brame
                                       Counsel for Petitioners




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                 EXHIBIT A
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                     EXHIBIT A-1
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                                    UNITED STATES OF AMERICA
                                  DEPARTMENT OF THE TREASURY
                          OFFICE OF THE COMPTROLLER OF THE CURRENCY

      In the Matter of:                                                                            )
                                                                                                   )
      Saul Ortega                                                                                  )                   AA-EC-2017-44
      Former Chief Financial Officer, Director,                                                    )
       President, Chief Executive Officer, and                                                     )
       Chairman of the Board                                                                       )
                                                                                                   )
      David Rogers, Jr.                                                                            )                   AA-EC-2017-45
      Former Chairman of the Board                                                                 )
                                                                                                   )
      First National Bank                                                                          )
      Edinburg, Texas                                                                              )

                 FINAL DECISION OF THE COMPTROLLER OF THE CURRENCY

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    This is a Final Decision in an enforcement action brought by Enforcement Counsel of the

Office of the Comptroller of the Currency (OCC) against Saul Ortega (Respondent Ortega)

and David Rogers, Jr. (Respondent Rogers) (together, Respondents), former directors and

officers of First National Bank, Edinburg, Texas (Bank). Pursuant to 12 U.S.C. § 1818(e) and

(i), Enforcement Counsel initiated this action on September 25, 2017, by filing a Notice of Charges

for Orders of Prohibition and Notice of Assessments of a Civil Money Penalty (Notice) against

Respondents. The Notices charges arise from four distinct series of events. First, the Notice

charges that Respondents engaged in lending-related misconduct and accounting-related

misconduct in connection with a strategy to raise capital (hereinafter, Capital Raise Strategy)

following the Banks $174 million loss on its investments in the Federal National Mortgage

Association (Fannie Mae) and Federal Home Loan Mortgage Corporation (Freddie Mac).

Second, the Notice charges that Respondents engaged in lending-related misconduct and

accounting-related misconduct in connection with a strategy to reduce the Banks Other Real

Estate Owned (OREO or ORE) portfolio (hereinafter, OREO Strategy). Third, the Notice

charges that Respondents engaged in misconduct in connection with the Banks accounting

treatment of nonaccrual loans (hereinafter, Nonaccrual Loan Accounting Practices). Fourth, the

Notice charges that Respondent Rogers engaged in misconduct in connection with a series of loans

made to entities affiliated with his son, David Rogers III (hereinafter, Loans to Rogers III

Entities).

    A twelve-day virtual hearing before Administrative Law Judge (ALJ or Judge) Jennifer

Whang was held between January 31, 2022, and February 15, 2022. On September 30, 2022, the

ALJ issued a decision (Recommended Decision or RD) recommending that the Acting

Comptroller of the Currency (Comptroller) enter an order of prohibition against Respondent




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Rogers in connection with the charge arising from Loans to Rogers III Entities. The ALJ concluded

that Enforcement Counsel had not established all elements of proof required to support orders of

prohibition against Respondents based on charges arising from the Capital Raise Strategy, OREO

Strategy, or Nonaccrual Loan Accounting Practices. The ALJ also recommended that civil money

penalties of $250,000 be assessed against each Respondent. With respect to Respondent Ortega,

the ALJ recommended civil money penalties in connection with charges arising from the Capital

Raise Strategy, OREO Strategy, and Nonaccrual Loan Accounting Practices. With respect to

Respondent Rogers, the ALJ recommended civil money penalties in connection with charges

arising from lending-related misconduct associated with the Capital Raise Strategy and OREO

Strategy, as well as the charge arising from Loans to Rogers III Entities.

   Enforcement Counsel and Respondents timely filed exceptions to the Recommended Decision.

Enforcement Counsel argues that the ALJ erred in concluding that certain elements of proof had

not been established and urges the Comptroller to enter orders of prohibition against both

Respondents based on charges arising from their lending-related misconduct in connection with

the Capital Raise Strategy and OREO Strategy. Respondents argue that the action should be

dismissed because, inter alia, all charges are time-barred by the statute of limitations, Enforcement

Counsel did not establish any of the charges against them, and these proceedings violate various

rights guaranteed to them under the United States Constitution.

   On April 3, 2023, the Comptroller certified that the record of the proceeding was complete,

and the parties were notified that the matter had been submitted to the Comptroller for final

decision. Upon careful review of the full administrative record, including the Recommended

Decision and the parties exceptions thereto, and for the reasons set forth in this decision, the

Comptroller adopts in part and rejects in part the ALJs recommendations. As explained herein,




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the Comptroller enters orders of prohibition against both Respondents based on charges arising

from their lending-related misconduct associated with the Capital Raise Strategy; assesses a

second-tier civil money penalty of $250,000 against Respondent Rogers based on charges arising

from his lending-related misconduct associated with the Capital Raise Strategy; assesses first-tier

and second-tier civil money penalties totaling $250,000 against Respondent Ortega based on

charges arising from his lending-related misconduct associated with the Capital Raise Strategy

(second-tier), accounting-related misconduct associated with the Capital Raise Strategy (first-tier

and second-tier), accounting-related misconduct associated with the OREO Strategy (first-tier and

second-tier), and Nonaccrual Loan Accounting Practices (first-tier and second-tier). The

Comptroller dismisses all other charges.

   I.      STATEMENT OF JURISDICTION

   At all times relevant to the facts alleged in the Notice, the Bank was an insured depository

institution as defined in 12 U.S.C. § 1813(c)(2), and Respondents were institution-affiliated

parties (IAPs) as defined in § 1813(u). See Joint Stipulation of Facts and Law (Joint Stip.)

¶¶ 1-2. The Bank was also a national banking association within the meaning of § 1813(q)(1)(A)

and was chartered and examined by the OCC. See id. ¶ 3. Pursuant to § 1813(q), the OCC is the

appropriate Federal banking agency with jurisdiction over the Bank and its IAPs, and the OCC

is authorized to initiate and maintain this prohibition and civil money penalty action against

Respondents. See id. ¶ 3-4.

   II.     PROCEDURAL HISTORY

           A. Proceedings Under Judge McNeil and Judge Miserendino

   The Notice charges that Respondents engaged in unsafe or unsound practices, breached their

fiduciary duties, violated 12 U.S.C. § 161, and violated final orders. See Notice, Arts. III-VI.




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Respondents raised various affirmative defenses, asserting, as relevant, that the charges against

them were time-barred; that the ALJ presiding over the proceedings held his position in violation

of the Appointments Clause; that Respondents lost money in connection with the Banks failure

(hereinafter, Sixth Affirmative Defense); and that because the Federal government did not

support the preferred stock of Fannie Mae and Fredd[ie] Mac, the Bank suffered a loss of over

$176,000,000 or 60% of the Banks capital from which it could not recover (hereinafter, Fannie

Mae and Freddie Mac Defense). See Respts Answer and Affirmative Defenses to Notice

(Answer) at 8-9. Enforcement Counsel moved to strike, inter alia, the Sixth Affirmative Defense

and the Fannie Mae and Freddie Mac Defense. See OCCs Mot. to Strike Respts First, Second,

Third, and Sixth Affirmative Defenses (Motion to Strike) at 2. The ALJ initially assigned to this

matter, Judge Christopher B. McNeil, granted the motion, reasoning, inter alia, that these were not

properly pled affirmative defenses and that the Fannie Mae and Freddie Mac Defense was

irrelevant. See Order Regarding OCCs Mot. to Strike Respts First, Second, Third, and Sixth

Affirmative Defenses (Order Granting Motion to Strike) at 4.

   In August 2018, in response to the Supreme Courts decision in Lucia v. Securities and

Exchange Commission, 138 S. Ct. 2044 (2018), the Comptroller reassigned Judge C. Richard

Miserendino to this matter and directed him to provide the parties an opportunity to file objections

to any actions taken by the prior ALJ. See Order in Pending Enforcement Cases in Resp. to Lucia

v. SEC. Thereafter, Respondents filed objections to orders entered by Judge McNeil. See Respts

Obj. to Orders Issued by ALJ.

           B. Reassignment to Judge Whang

   While Respondents written objections to the orders entered by Judge McNeil remained

pending, Judge Miserendino retired, and the Comptroller reassigned the matter to Judge Whang.




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The Comptroller directed Judge Whang to provide the parties an opportunity to file objections to

any actions taken by a prior ALJ; to review all such actions; and, for each action reviewed, to

adopt or revise the action as [the ALJ] deem[ed] appropriate. See Order in Pending Enforcement

Cases at 2. In January 2020, Judge Whang issued an order directing the parties to file any

objections to her assignment to the case or to any actions taken by the previously assigned ALJs.

See Notice of Reassignment and Order Regarding the Comptrollers Order in Pending

Enforcement Cases at 2. In response, Respondents moved for summary disposition based on

purported violations of the Appointments Clause, specifically objected to the Order Granting

Motion to Strike, and generally objected to all orders entered by Judge McNeil and Judge

Miserendino. See Respts Mot. for Summ. Disposition on the Appointments Clause and Obj. to

Orders Issued by ALJ at 2-3.

           C. Respondents Request for Interlocutory Review of Rulings Regarding the
              Appointments Clause

   On March 17, 2020, Judge Whang adopted the prehearing actions taken by the previously

assigned ALJs and concluded that Lucia did not support Respondents contention that the

appropriate remedy for an Appointments Clause violation should be nullification of the entire

action. See Order Den. Respts Mot. for Summ. Disposition on the Appointments Clause at 4-5;

Order Reviewing Prior ALJs Prehearing Actions. Respondents thereafter moved for the

Comptroller to conduct interlocutory review of these rulings. See Respts Mot. for Interlocutory

Review. The Comptroller denied the motion, reasoning that none of the criteria supporting

interlocutory review had been satisfied. See Order Den. Respts Mot. for Interlocutory Review;

see also 12 C.F.R. § 19.28(b) (setting forth criteria supporting interlocutory review). Respondents

then petitioned in the United States Court of Appeals for the Fifth Circuit for review of the ALJs

rulings and Comptrollers order denying interlocutory review thereof. The OCC moved to dismiss



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the petition for lack of jurisdiction, and the Fifth Circuit granted the OCCs motion. See Ortega v.

OCC, 20-60590, per curiam (5th Cir. Sept. 3, 2020).

            D. Statute-of-Limitations Orders

    Respondents and Enforcement Counsel filed cross-motions for summary disposition on the

issue of whether the Notice was timely filed under the governing five-year statute of limitations

set forth at 28 U.S.C. § 2462. See Respts Mot. for Summ. Disposition on the Statute of

Limitations and Br. in Support; OCCs Mot. for Partial Summ. Disposition on Respts Seventh

and Ninth Affirmative Defenses; Br. in Support of OCCs Mot. for Partial Summ. Disposition on

Respts Seventh and Ninth Affirmative Defenses. In an April 9, 2020 order, the ALJ

recommended the partial entry of summary disposition in favor of Respondents, concluding that

when a particular statutory effect is alleged . . . then the cause of action for a given claim against

Respondents is complete, and the limitations period begins to run, upon the first instance of the

alleged effect with respect to the misconduct at issue. See Order Den. Enforcement Counsels

Mot. for Partial Summ. Disposition and Granting in Part and Den. in Part Respts Mot. for Summ.

Disposition on the Statute of Limitations (hereinafter, ALJs SOL Order) at 31-32. The parties

then filed cross-motions requesting that the Comptroller conduct interlocutory review of the ALJs

SOL Order. See Order Referring Parties Cross-Mots. for Interlocutory Review. The Comptroller

granted interlocutory review; concluded that, because separate occurrences of effects give rise to

separate accruals, an action is timely if it is commenced within five years of the date of the last

effect resulting from the charged underlying misconduct; and remanded the matter for further

proceedings consistent with the Order. See Order Granting Cross-Mots. for Interlocutory Review




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and Vacating and Reversing in Part April 9 Order (hereinafter, Comptrollers Interlocutory SOL

Order).

             E. Hearing and Post-Hearing Procedures

   The parties filed various prehearing submissions, and on Enforcement Counsels motion, the

ALJ excluded Respondents evidence and testimony on various topics, including the Fannie Mae

and Freddie Mac Defense. See Order Granting in Part and Den. in Part Enforcement Counsels

Mot. in Lim. to Exclude Respts Irrelevant Evid. The matter proceeded to a hearing, during which

the ALJ heard testimony from ten fact witnesses, including Respondents, and three expert or

hybrid fact/expert witnesses. Four hundred seventeen exhibits were introduced and admitted in

connection with witness testimony, and the parties presented eighteen demonstrative exhibits. See

RD at 4-5.

   Following the hearing, Respondents submitted an offer of proof regarding various topics

excluded from the hearing and the proposed interrogation of certain witnesses. See Respts

Additional Offer of Proof. In June 2022, approximately four months after the hearing had

concluded, Respondents submitted to the ALJ a demand for a jury trial or, in the alternative,

dismissal of the proceedings based on purported violations of their rights under the Seventh

Amendment to the United States Constitution. See Respts Demand for Jury Trial. The ALJ

denied the requested relief on substantive and procedural grounds. See Order Den. Respts

Demand for Jury Trial and Mot. to Dismiss.

    On September 30, 2022, the ALJ issued the 188-page Recommended Decision. On

Respondents motion, the Comptroller extended the time for the parties to file exceptions to the

Recommended Decision to March 16, 2023. See Order Regarding Respts Mot. to Stay or Extend

Exceptions Deadline. Respondents timely submitted to the Comptroller twenty-seven exceptions




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and supporting briefing, totaling 130 pages. See Respts Exceptions to the ALJs RD, Supporting

Br., and Request for Oral Argument (hereinafter, Respts Exceptions). Enforcement Counsel

timely submitted six exceptions, including numerous subparts; fifteen proposed findings of fact;

and three proposed conclusions of law, including subparts, which are accompanied by a separate

briefing document and together total 78 pages. See Enforcement Counsels Exceptions to the

ALJs RD (hereinafter, ECs Exceptions); Br. in Support of Enforcement Counsels Exceptions

to the ALJs RD (hereinafter, ECs Exceptions Br.). Pursuant to 12 C.F.R. § 19.13, upon finding

that the complexity of this matter and the volume of the administrative record presented good

cause, the Comptroller sua sponte extended the time to issue a final decision.

   III.     SCOPE OF REVIEW

   The Comptroller is the final agency decisionmaker in this enforcement action. See 12 C.F.R.

§ 19.40(c)(1). The final decision is based on review of the entire record, see id., and [t]he

Comptroller is free to accept or reject the ALJs recommendations, see In the Matter of Adams,

OCC AA-EC-11-50, 2014 WL 8735096, at *7 (OCC Sept. 30, 2014).

   A partys failure to file written exceptions to the ALJs recommended decision, findings,

conclusions, admission or exclusion of evidence, or failure to make a ruling proposed by a party

is deemed a waiver of objection thereto. See 12 C.F.R. § 19.39(a), (b)(1). Furthermore, [n]o

exception need be considered by the Comptroller if the party taking exception had an opportunity

to raise the same objection, issue, or argument before the [ALJ] and failed to do so. See id.

§ 19.39(b)(2). All exceptions must, inter alia, set forth page or paragraph references to the

specific parts of the [ALJs] recommendations to which exception is taken and the legal

authority relied upon to support each exception. See id. § 19.39(c)(2). In reaching a final decision,




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the Comptroller may limit the issues to be reviewed to those findings and conclusions to which

opposing arguments or exceptions have been filed by the parties. See id. § 19.40(c)(1).

           A. Waiver by Enforcement Counsel

    Enforcement Counsel did not take exception to the ALJs conclusions that the effect prong

of § 1818(e)1 was not established as to charges arising from Respondents accounting-related

misconduct in connection with the Capital Raise Strategy or OREO Strategy, or as to charges

arising from Nonaccrual Loan Accounting Practices. See ECs Exceptions Br. at 5, n.6

(Enforcement Counsel has chosen not to take exception to the ALJs factual findings and legal

conclusions regarding the Banks accounting practices.); see also RD at 163, 173. Therefore,

based on this waiver, the Comptroller adopts the ALJs conclusions and dismisses the § 1818(e)

prohibition charges against Respondents arising from accounting-related misconduct associated

with the Capital Raise Strategy, OREO Strategy, and Nonaccrual Loan Accounting Practices.

    Enforcement Counsel also did not take exception to the ALJs conclusions that the personal

dishonesty and willful disregard predicates of the culpability prong of § 1818(e)2 were not

established as to charges arising from Respondents lending-related misconduct associated with

the Capital Raise Strategy or OREO Strategy. See ECs Exceptions Br. at 10, n.11 (Herein, we

argue solely that Respondents misconduct demonstrated their continuing disregard for the Banks




1
  The effect prong is one of three elements that must be established to support an order of
prohibition. See infra Part IV.A.
2
  The culpability prong is one of three elements that must be established to support an order of
prohibition. See infra Part IV.A.

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safety or soundness); see also RD at 120-21, 123, 146. Therefore, the Comptroller adopts the

ALJs conclusions that these culpability predicates were not established.

    Finally, for purposes of assessing civil money penalties pursuant to § 1818(i),3 Enforcement

Counsel did not take exception to the ALJs declarations that she was not reaching conclusions as

to the following: whether Respondent Ortega (1) breached his fiduciary duty in connection with

accounting-related misconduct associated with the Capital Raise Strategy or the OREO Strategy,

see RD at 172-73; (2) recklessly engaged in unsafe or unsound practices in connection with the

Capital Raise Strategy, OREO Strategy, or Nonaccrual Loan Accounting Practices, see id. at 131;

152; 170, n.801; or (3) engaged in a pattern of misconduct in connection with lending-related

misconduct associated with the Capital Raise Strategy or OREO Strategy, see id. at 131, 152. Nor

did Enforcement Counsel take exception to the ALJs declarations that she was not reaching

conclusions as to whether Respondent Rogers (1) recklessly engaged in unsafe or unsound

practices in connection with lending-related misconduct associated with the Capital Raise Strategy

or OREO Strategy, see id. at 131, 152; or (2) engaged in a pattern of misconduct in connection

with lending-related misconduct associated with the Capital Raise Strategy or OREO Strategy, or

in connection with Loans to Rogers III Entities, see id. at 131, 152, 183. The Comptroller declines

to consider these issues in the first instance based on Enforcement Counsels waiver.4

           B. Waiver by Respondents

    In numerous instances throughout Respondents exceptions briefing, Respondents present

exceptions in a perfunctory manner, without any citation to supporting legal authority. Under the




3
  The elements that must be established to support the assessment of a civil money penalty
pursuant to § 1818(i) are set forth at infra Part IV.B.
4
  Enforcement Counsel did not take exception to various other issues as to which the ALJ declined
to reach a conclusion. The Comptroller declines to consider these issues in the first instance and

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applicable rules of procedure, such exceptions are fatally underdeveloped. See 12 C.F.R.

§ 19.39(c)(2) (requiring, inter alia, citations to supporting legal authorities). The Comptroller is

unable to evaluate vague assertions with no accompanying analysis or citation to legal authority,

and he will not guess the bases of Respondents inadequately presented arguments. See Carr v.

Saul, 141 S. Ct. 1352, 1358 (2021) (observing that, in an adversarial proceeding, claimants bear

the responsibility to develop issues for adjudicators consideration). Additionally, the

Comptroller declines to consider exceptions that Respondents did not first raise to the ALJ if they

were afforded such an opportunity. See 12 C.F.R. § 19.39(b)(2).

   As discussed more fully below, because Respondents did not raise the following exceptions in

the manner prescribed by 12 C.F.R. § 19.39, the Comptroller deems them waived and declines to

consider them, in full or in part as specified: Respondents Exception 3 (in part), Respondents

Exception 5 (in part), Respondents Exception 6 (in full), Respondents Exception 7 (in full),

Respondents Exception 8 (in full), Respondents Exception 9 (in part), Respondents

Exception 10 (in full), and Respondents Exception 11 (in full).

   Respondents Exception 3 asserts, in relevant part, This proceeding was conducted in

violation of the . . . Take Care Clause, and applicable statutes governing ALJs. See Respts

Exceptions at 2. As far as Respondents briefing indicates, Respondents raise these challenges

for the first time in their exceptions despite having had opportunities to raise them to the ALJ.

Respondents do not reference any ruling regarding the Take Care Clause or ALJ removals to

which an exception is taken. Nor do they otherwise indicate that these challenges were raised




does not deem it necessary to exhaustively list all such issues, particularly where some concern
charges that are dismissed herein.

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below. Therefore, to the extent that Respondents Exception 3 raises these challenges,5 it is

deemed waived.6 See Smith v. Bd. of Governors of Fed. Rsrv. Sys., 73 F.4th 815, 822-23 (10th

Cir. 2023) (concluding that Appointments Clause challenge was forfeited where respondents in

§ 1818(e) enforcement action failed to raise issue before the ALJ or Federal Reserve Board and

nothing had barred them from doing so; observing that structural challenges have no special

entitlement to review (internal quotation marks and citation omitted)).

    Respondents Exception 5 asserts, The ALJs pretrial orders contain errors of fact and law

and violated the Administrative Procedure Act and the Uniform Rules of Practice and Procedure.

See Respts Exceptions at 2. The corresponding section of Respondents Exceptions contains

citations to the administrative record, but notably lacks any citation to supporting legal authority

beyond incorporating by reference a section discussing the Fannie Mae and Freddie Mac Defense.

See id. at 88-89. The Comptroller addresses the merits of Respondents various exceptions

regarding the Fannie Mae and Freddie Mac defense at infra Part VIII. To whatever extent

Respondents Exception 5 intended to assert a distinct challenge that is not coextensive with their

exceptions discussed at infra Part VIII, Respondents Exception 5 is deemed waived.

    Respondents Exception 6 asserts: The ALJ prohibited Respondents from testifying as

experts even though they were designated timely and submitted reports. See Respts Exceptions



5
  Respondents discussion of ALJ removals is tagged on the end of their discussion of their
properly preserved exception regarding the Appointments Clause. See Respts Exceptions at 87-
88. The constitutionality of the removability of ALJs is a separate issue from the constitutionality
of the manner of ALJ appointments, and Respondents cannot breathe life into their forfeited ALJ-
removals challenge by shoehorning it into their Appointments Clause discussion.
6
  Respondents do not assert that raising such a challenge to the ALJ would have been futile.
Rightfully sosuch an assertion would be unavailing. Because these proceedings are adversarial
and the applicable procedural regulations impose an issue exhaustion requirement, the Comptroller
does not accept futility as an excuse. See Carr, 141 S. Ct. at 1359. Additionally, the Comptroller
observes that any perception of futility did not deter Respondents from raising their Appointments
Clause challenge initially to the ALJ.

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at 2. The corresponding discussion consists of four sentences, including a reiteration of the

exception and the following: Obviously, if Respondents can be held liable for knowing that a loan

was unsafe and unsound, one might think their opinion was also relevant. In fact, it was error to

conclude otherwise. See id. at 92. Legal authority supporting the proposition that it was error to

prohibit Respondents from testifying as experts in the very administrative enforcement action

pending against them is far from obvious, and because none is cited, Respondents Exception 6

is deemed waived in full. In any event, the Comptroller concurs with the ALJs analysis of this

issue in her Order Granting Enforcement Counsels Motion in Limine to Exclude Proposed Expert

Testimony by Respondents.

   Respondents Exception 7 asserts the following:

       . . . [T]he ALJ allowed the OCCs surprise witness, Michael Brickman, to testify as
       an expert even though he was not designated timely, did not provide a report, and
       was not disclosed on the witness list. Mr. Brickman was also permitted to opine on
       market interest rates despite having no expertise in the area and not having
       conducted any analysis on the topic or providing any reports or other analyses in
       advance of trial. In addition, OCC witnesses were permitted to testify as to fiduciary
       duty with no legal training and no legal expertise in such matters.

See Respts Exceptions at 2-3. In their discussion of this exception, Respondents again fail to cite

supporting legal authority. Respondents Exception 7 is therefore deemed waived in full.

Moreover, the Comptroller observes that in the discussion corresponding with this exception,

Respondents cite their December 17, 2021 Motion to Exclude Witnesses and the ALJs January

11, 2022 Order Granting in Part Enforcement Counsels Motion for Denial of Third-Party

Subpoena Application and Granting in Part Respondents Motion to Exclude Witnesses. See id. at

91. The cited motion raises (and the cited order addresses) the argument that Mr. Brickman had

not been timely identified and disclosed as a hybrid fact/expert witness. To the extent that

Respondents Exception 7 challenges the lack of an expert report by Mr. Brickman, the




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appropriateness of Mr. Brickmans testimony on market interest rates, or the appropriateness of

the testimony of other OCC witnesses (who Respondents did not see fit to identify), such

challenges are deemed doubly waived because Respondents did not cite to any corresponding

conclusions by the ALJ and Respondents do not indicate that they ever raised such objections to

the ALJ despite having the opportunity to do so. See 12 C.F.R. § 19.39(b), (c)(2).7

    Respondents Exception 8 asserts, The ALJ denied Respondents Motion to Exclude Mary

Jane Locke as a trial witness even though she was not disclosed timely. See Respts Exceptions

at 3. Respondents Exception 10 provides, The ALJ prohibited Respondents from calling

Andrew Moss, an OCC employee, as a witness. See id. In their discussion of these exceptions,

Respondents assert, without meaningful argument, the following: Siding with the OCC, the ALJ

decided that the government could add multiple witnesses late, but that Respondents could not add

Andrew Moss. Respondents take exception to these rulings. See id. at 92-93. Mere mentioning of

facts in the absence of argument or citation to relevant legal authority is insufficient to effectively

raise an issue to the Comptroller. Respondents Exceptions 8 and 10 are therefore deemed waived

in full.

    Respondents Exception 9 asserts, The ALJ granted the OCCs pretrial motion to exclude

relevant evidence at the hearing, including the presentation of the Fannie Mae/Freddie Mac

preferred stock issue. See Respts Exceptions at 3. As best as the Comptroller can tell,

Respondents discussion of this exception appears in the three sentences appearing beneath the




7
  In any event, the Comptroller notes that the ALJ was not bound by the Federal Rules of Evidence;
that she found the testimony to be relevant, see Order Granting in Part Enforcement Counsels
Mot. for Den. of Third-Party Subpoena Application and Granting in Part Respts Mot. to Exclude
Witnesses at 4-5; and that relevant, material, and reliable evidence that is not unduly repetitive is
admissible to the fullest extent authorized by the Administrative Procedure Act and other
applicable law, see 12 C.F.R. § 19.36(a).

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heading, The ALJ Granted Pretrial Motions to Exclude Other Relevant Evidence, on page

ninety-three of Respondents Exceptions. There is no mention here of the Fannie Mae/Freddie

Mac preferred stock issue, which is addressed in various other exceptions that the Comptroller

does not deem waived. Rather, the relevant discussion consists of two sentences related to rulings

preventing Respondents questioning of witnesses about OCC policies on minority banks and

minority bankers and a third sentence stating, In violation of the Uniform Rules, the ALJ also

denied the Respondents the right to make offers of proof including direct witness interrogation.

See id. at 93. Again, there is no citation to supporting legal authority and the Comptroller cannot

piece together any cognizable argument from these four sentences, which seemingly address three

distinct issues. Respondents Exception 9 is deemed waived, except to the extent that it concerns

the striking of the Fannie Mae & Freddie Mac Defense, which the Comptroller deems properly (if

duplicatively) raised in various other exceptions discussed at infra Part VIII.

   Respondents Exception 11 asserts:

       The ALJ admitted and considered certain OCC exhibits that were improper and
       inadmissible. The ALJ admitted and considered exhibits that were hearsay and/or
       were used solely for impeachment or refreshing recollection, contrary to applicable
       law. This included transcripts for depositions where the Respondents were not
       notified and allowed to attend and cross-examine. This violated the Due Process
       Clause, the right to confront witnesses against the accused, the Administrative
       Procedure Act, and the Uniform Rules of Practice and Procedure.

See Respts Exceptions at 3. Respondents discussion of this exception largely consists of

conclusory bullet points with no meaningful analysis or citation to supporting authority. See id. at

93-94. For example, Respondents assert, In some cases, [sworn] statements were taken without

Respondents counsel present and without any opportunity to cross-examine. This was a violation

of the Due Process Clause, the confrontation clause, the Seventh Amendment, and Respondents

right to fair proceeding under the APA and the Uniform Rules. See id. at 94. Without more precise




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argumentation or citation to supporting legal authority, these sweeping assertions of constitutional,

statutory, and regulatory violations do not satisfy the requirements of 12 C.F.R. § 19.39. The

Comptrollers role is not to flesh out skeletal arguments, particularly where controversial

extensions of or changes to settled law are seemingly implicated. See Dutton v. Evans, 400 U.S.

74, 97 n.4 (1970) (J. Harlan, concurring) (the Confrontation Clause, which applies only to

criminal prosecutions, was never intended as a constitutional standard for testing rules of

evidence); see also United States v. Cunningham, 679 F.3d 355, 383 (6th Cir. 2012) (explaining

that Federal Rule of Evidence 801(d)(2)(A) allows a partys own statement to be offered as

evidence against that party even where the statement would otherwise be inadmissible as

hearsay); 12 C.F.R. § 19.36(a)(2) (permitting admission of evidence that would be admissible

under Federal Rules of Evidence). Respondents Exception 11 is thus waived in full.

    IV.     APPLICABLE LEGAL STANDARDS

    When reviewing the record, the Comptroller determine[s] whether, in his judgment,

Enforcement Counsel has met its burden of supporting its allegations by a preponderance of the

evidence in the record. See Adams, 2014 WL 8735096, at *7 (citing 5 U.S.C. § 556(d); Steadman

v. Sec. & Exch. Commn, 450 U.S. 91 (1981)); see also In the Matter of Ellsworth, OCC AA-EC-

11-41, OCC AA-EC-11-42, 2016 WL 11597958, at *8, n.10 (OCC Mar. 23, 2016).8 Under this

standard, Enforcement Counsel must adduce evidence that the existence of a fact is more probable




8
 Respondents Exception 27 asserts, Applicable law required application of a higher standard
or proof where the sanction or hardship imposed was particularly severe, thus the ALJ should have
applied a clear and convincing evidence standard as the burden of proof. See Respts
Exceptions at 6. Respondents cite no legal authority in support of this assertion. Respondents
Exception 27 is rejected.



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than its nonexistence. See Concrete Pipe & Prods. of Calif. v. Constr. Laborers Pension Tr., 508

U.S. 602, 622 (1993).

            A. Section 1818(e) Prohibitions

    For the Comptroller to enter an order of prohibition against an IAP pursuant to § 1818(e),

Enforcement Counsel must establish the separate elements of misconduct, effect, and culpability.

See 12 U.S.C. § 1818(e)(1)(A), (B), & (C); Kim v. Off. of Thrift Supervision, 40 F.3d 1050, 1054

(9th Cir. 1994) (labeling the three elements). The misconduct element may be satisfied by, among

other means, showing that the IAP has directly or indirectly violated any law or regulation;

engaged or participated in any unsafe or unsound practice in connection with any insured

depository institution . . .; or committed or engaged in any act, omission, or practice which

constitutes a breach of such partys fiduciary duty. See 12 U.S.C. § 1818(e)(1)(A). The effect

element may be satisfied by showing that, by reason of the misconduct, the institution at issue

has suffered or will probably suffer financial loss or other damage, that the institutions

depositors interests have been or could be prejudiced, or that the charged party has received

financial gain or other benefit. Id. § 1818(e)(1)(B). Finally, the culpability element may be

satisfied when the alleged misconduct involves personal dishonesty or demonstrates willful or

continuing disregard by [an IAP] for the safety or soundness of such insured depository institution

. . .. Id. § 1818(e)(1)(C).

            B. Section 1818(i) Civil Money Penalties

    Pursuant to § 1818(i)(2), the Comptroller may assess civil money penalties, categorized by

escalating tiers, including first-tier penalties of up to $5,000 per day of continued misconduct

and second-tier penalties of up to $25,000 per day of continued misconduct. Here, Enforcement




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Counsel seeks a first-tier civil money penalty against Respondent Ortega and second-tier civil

money penalties against both Respondents. See RD at 6, n.6.

   For the Comptroller to assess a first-tier civil money penalty against an IAP, Enforcement

Counsel must establish one element: misconduct, which, as relevant to the instant proceeding, can

take the form of a violation of any law. See 12 U.S.C. § 1818(i)(2)(A). To assess a second-tier civil

money penalty against an IAP, Enforcement Counsel must establish two elements: misconduct and

effect. As relevant to the instant proceeding, misconduct can take the form of a violation of law,

breach of fiduciary duty, or the reckless engagement in an unsafe or unsound practice in conducting

the affairs of the institution in question. See id. § 1818(i)(2)(B)(i). To satisfy the effect prong,

Enforcement Counsel must also establish that the misconduct is part of a pattern of misconduct

that it causes or is likely to cause more than a minimal loss to such depository institution; or that

it results in pecuniary gain or other benefit to such party. Id. § 1818(i)(2)(B)(ii); see also In the

Matter of Blanton, OCC-AA-EC-2015-24, 2017 WL 4510840, at *16 (OCC July 10, 2017)

(referring to § 1818(i)(2)(B)(ii) as the statutes effect prong).

   V.      RESPONDENTS EXCEPTION REGARDING TIMELINESS

   Respondents dedicate a substantial portion of their exceptions briefing to arguing that the

charges against them are untimely. In this briefing, Respondents appear to misapprehend the ways

in which certain interlocutory rulings interpreting the statute of limitations relate to the charges in

this matter. The Comptroller thus takes this opportunity to clarify these prior rulings and their




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relationship to the charges at issue here. As explained more fully below, the charges against

Respondents are timely.

           A. Interlocutory Rulings Regarding the Statute of Limitations

   Under the applicable statute of limitations, the agency has five years from the date when the

claim first accrued in which to commence proceedings. See 28 U.S.C. § 2462. The Notice

initiating the instant action was filed on September 25, 2017. Therefore, any claim that first accrued

on or after September 25, 2012, is timely for present purposes.

   An interlocutory review by the Comptroller pursuant to 12 C.F.R. § 19.28 centered on the

parties contrasting views as to when the claims against Respondents first accrued within the

meaning of § 2462. As the ALJ correctly stated, the standard rule is that a claim accrues when

the plaintiff has a complete and present cause of actionthat is, when all elements of an actionable

claim have been met and can be pled. See ALJs SOL Order at 13 (internal quotation marks

omitted). [A]ny discussion of the accrual of claims under a given statutein this case, Section

1818(e) for the agencys prohibition claims and Section 1818(i) for its civil money penalty

claimsmust begin with the statutory elements. See id. To reiterate, the three elements of a

§ 1818(e) prohibition are misconduct, effect, and culpability, see 12 U.S.C. § 1818(e)(1)(A), (B),

& (C); the two elements of a second-tier civil money penalty are misconduct and effect, see id.

§ 1818(i)(2)(B); and each of these elements may be established through a showing of any one of

multiple alternative predicates, see supra Part IV.

   In the ALJs SOL Order, the ALJ rejected Respondents argument that the five-year limitations

period for prohibition and second-tier civil money penalty charges begins to run at the time of the

alleged misconduct, reasoning that Respondents pay too little heed to the elements necessary for

a claim to accrue under Sections 1818(e) and 1818(i) and that, in many instances, Respondents




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interpretation would start the limitations period before the OCC could even bring suit. See ALJs

SOL Order at 12-13. The ALJ also rejected Enforcement Counsels argument that an action is

timely if commenced within five years of an effect resulting from the alleged misconduct. See id.

at 31. Instead, the ALJ concluded that when a particular statutory effect is alleged . . . then the

cause of action for a given claim against Respondents is complete, and the limitations period begins

to run, upon the first instance of the alleged effect with respect to the misconduct at issue. See id.

at 31-32. Thus, under the ALJs interpretation, the OCC cannot use actual loss that occurred

during the five-year period prior to the commencement of enforcement proceedings as the point at

which its claims against Respondents first accrued if, in fact, actual loss also had occurred prior

to that period. See id. at 25.

    In connection with the interlocutory review of the ALJs SOL Order, the Comptroller issued

the following relevant rulings. First, the Comptroller agreed with the ALJ and reaffirmed that the

statute of limitations does not begin to run until all factual and legal prerequisites for filing a notice

of charges are in place (Interlocutory Ruling 1). See Comptrollers Interlocutory SOL Order at

14 & n.6; ALJs SOL Order at 13; see also Blanton v. OCC, 909 F.3d 1162, 1171 (D.C. Cir. 2018)

(A claim generally accrues when the factual and legal prerequisites for filing suit are in place.

(quoting Proffitt v. Fed. Deposit Ins. Corp., 200 F.3d 855, 862 (D.C. Cir. 2000))); Proffitt, 200

F.3d. at 863 (Because misconduct and effect are separate prongs, the underlying conduct may not

always immediately effect a [§ 1818(e)] violation and thus the accrual of the claim). Second, the

Comptroller reaffirmed that occurrences of alternative statutory effect predicates trigger accruals

of separate claims (Interlocutory Ruling 2). See Comptrollers Interlocutory SOL Order at 13-

14, 16; see also Proffitt, 200 F.3d at 864 (Separate accrual for each alternative effect gives

meaning to all of the statutory language.). For example, a § 1818(e) prohibition charge predicated




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on the statutory effect of financial loss to a depository institution is a separate claim from (and may

accrue at a different time than) a § 1818(e) prohibition charge predicated on the statutory effect of

prejudice to depositors. Cf. ALJs SOL Order at 25 (an agency can perhaps choose whether to

take action based on the first occurrence of actual loss or the first occurrence of actual depositor

prejudice). However, the Comptroller disagreed with the ALJ that an action must be commenced

within five years of the first occurrence of the type of statutory effect on which the action is

predicated. Instead, the Comptroller clarified that, because separate occurrences of effects (for

example, separately occurring financial losses to the depository institution) trigger separate claim

accruals, an action is timely if it is commenced within five years of the date of an effect resulting

from the charged misconduct, even if there were an earlier occurrence of a statutory effect of the

type on which the action is predicated (Interlocutory Ruling 2a). See Comptrollers Interlocutory

SOL Order at 13-16.9 The matter was remanded to the ALJ for further proceedings consistent with

the Comptrollers Interlocutory SOL Order.

    In the Recommended Decision, the ALJ expressed that she disagreed with Interlocutory Ruling

2a and remains hopeful that this ruling will be revisited. See RD at 144-45.

           B. Respondents Exception 1 Is Deemed Moot in Part and Rejected in Part

    Respondents Exception 1 asserts that The charges against Respondents are barred by the

statute of limitations contained in 28 U.S.C. § 2462. See Respts Exceptions at 1. As a basis to

support this exception, Respondents repeatedly emphasize the ALJs stated disagreement with

Interlocutory Ruling 2a. See Respts Exceptions at 46 (quoting RD at 144-45), 49 (same), 51

(same), 59-60 (same). Yet Respondents invoke the ALJs disagreement with Interlocutory Ruling



9
  The Comptrollers Interlocutory SOL Order did not use the terms Interlocutory Ruling 1,
Interlocutory Ruling 2, or Interlocutory Ruling 2a. The Comptroller uses those terms here in
the interest of clarity.

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2a (charge is timely if brought within five years of occurrence of effect) in connection with charges

that would not be deemed timely solely through application of this ruling. The charges that

Respondents discuss in connection with Interlocutory Ruling 2a can instead be deemed timely

through Interlocutory Ruling 1 (charge is timely if brought within five years of date when all

elements have been met and can be pled) and Interlocutory Ruling 2 (charge is timely if brought

within five years of date when last alternative predicate underlying effect prong has been met and

can be pled),10 both longstanding interpretations of which the ALJ and Comptroller areat least

on the present factsseemingly in agreement. In any event, for reasons unrelated to the statute of

limitations and discussed more fully herein, charges that might be deemed timely solely through

application of Interlocutory Ruling 2a are herein dismissed.11 Therefore, the Comptroller declines



10
    For example, Respondents invoke the ALJs disagreement with Interlocutory Ruling 2a in
connection with the timeliness of lending-related charges arising from the Capital Raise Strategy.
See Respts Exceptions at 46. Such charges do not require application of this ruling to be deemed
timely. As the ALJ explained, Enforcement Counsel adduced evidence that the Bank recorded
losses on loans associated with the Capital Raise Strategy within the five-year limitations period.
See RD at 117-18. The ALJ then rejected Respondents arguments that, notwithstanding those
losses, the underlying charges were untimely because certain alternative § 1818(e) effect
predicatesnamely, the onset of probable financial loss, see § 1818(e)(1)(B)(i)had previously
occurred outside of the limitations period. See RD at 118. The ALJ correctly reasoned that it is
settled law . . . that it is meaningless for limitations purposes that an agency could conceivably
have brought its claim earlier based on a different effect (and thus a different cause of action) that
it did not plead. See id. This analysis is consistent with Interlocutory Ruling 1 and Interlocutory
Ruling 2. Respondents thus miss the mark by invoking the ALJs disagreement with Interlocutory
Ruling 2a to argue that charges arising from the Capital Raise Strategy are untimely.
11
   Upon review on the full record, the Comptroller questions whether any charges in this matter
would require application of Interlocutory Ruling 2a to be deemed timely. See, e.g., RD at 180
(discussing timeliness of charges arising from Loans to Rogers III Entities and concluding that,
even if certain factual predicates were excluded based on the statute-of-limitations interpretation
supported by the ALJ, other factual predicates underlying the charge give rise to a separate and
separately accruing, breach of fiduciary duty . . . , rendering the Article VI claim timely
regardless.); RD at 144-45 (discussing timeliness of charges arising from lending-related
misconduct associated with OREO Strategy and concluding that even if the post-closure losses to
FDIC were disregarded, there is no dispute that the Bank itself, pre-closure, recorded losses on
multiple OREO loans and thus the agencys claims on the OREO lending issue would still have
been timely asserted.); infra Part X.A.2.b (discussing timeliness of accounting-related charges

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the ALJs invitation to revisit Interlocutory Ruling 2a, and to the extent that Respondents

Exception 1 challenges Interlocutory Ruling 2a, it is deemed moot.

   Respondents also reiterate various arguments that have already been presented to and rejected

by the Comptroller in connection with the interlocutory review. The Comptroller will not restate

or reexamine these arguments here. However, to the extent that Respondents arguments

specifically concern charges arising from the Capital Raise Strategy and are further elucidated by

the full record, the Comptroller addresses the timeliness of the Capital Raise Strategy charges at

infra Part X.A.2.b. For the reasons stated here and at Part X.A.2.b, Respondents Exception 1 is,

to the extent not deemed moot, rejected.

   VI.      RESPONDENTS EXCEPTION REGARDING THE SEVENTH
            AMENDMENT

   Respondents Exception 2 asserts, This proceeding was conducted in violation of the

Respondents right to a trial by jury. See Respts Exceptions at 2. In their exceptions,

Respondents argue that, in light of Jarkesy v. Sec. & Exch. Commn, 34 F.4th 446 (5th Cir. 2022),

cert. granted, 143 S. Ct. 2688 (2023), they were entitled to have this case submitted to a jury

under the Seventh Amendment [to] the United States Constitution. See Respts Exceptions at 61.

Respondents further assert the following:

         The Comptroller already utilizes an ALJ to handle these proceedings as a bench
         trial, and it would not alter the statutory purpose at all to have the same ALJ preside
         over a jury trial. Judges handle both bench trials and jury trials all the time, and it
         would be appropriate for ALJs to do so as well.

See Respts Exceptions at 67.




arising from Capital Raise Strategy). The Comptroller need not address this point further because
the charges arising from Loans to Rogers III Entities and lending-related misconduct associated
with the OREO Strategy are dismissed for reasons unrelated to the statute of limitations. See infra
Part X.B, Part X.D.

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   Notably, Respondents raised the Seventh Amendment issue for the first time in a June 13, 2022

filing, in which they requested that the ALJ summon a jury of Respondents peers to hear this

case or, in the alternative, that the action be dismissed. See Respts Demand for Jury Trial at 2.

The ALJ denied the motion on both procedural and substantive grounds, reasoning that it was

procedurally improper because it was submitted more than one year after the deadline for

dispositive motions and four months after the administrative hearing in this matter had been held;

that neither the governing rules of practice and procedure nor the statutory scheme authorize the

empanelment of juries; and that Respondents are not entitled to a jury trial in connection with these

proceedings. See Order Den. Respts Demand for Jury Trial and Mot. to Dismiss.

   The Comptroller rejects Respondents Exception 2 and adopts the ALJs recommendation as

to this issue. The Comptroller agrees with the ALJ that Respondents demand for a jury trial was

procedurally improper and untimely; that the governing statute and regulations do not authorize

the empanelment of a jury; and that, in any event, Respondents are not entitled to a jury trial in

connection with proceedings pursuant to § 1818(e) or (i).

   VII.     RESPONDENTS EXCEPTIONS REGARDING THE APPOINTMENTS
            CLAUSE

   Respondents Exception 3 asserts, to the extent not deemed waived, see supra Part III.B, that

This proceeding was conducted in violation of the Appointments Clause of the United States

Constitution, as well as the Due Process Clause, [and] Separation of Powers . . . . See Respts

Exceptions at 2. Respondents Exception 4 asserts, in pertinent part:

       ALJ McNeil, who was an unauthorized actor and not appointed consistent with the
       Constitution, made rulings striking Respondents pleadings and evidence . . . At
       trial, ALJ Whang felt bound by these unconstitutional rulings and prohibited
       Respondents from presenting a full and complete defense, which violated the
       Appointments Clause [and] the Due Process Clause . . . .




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See id.12

     Respondents brief the Appointments Clause issue at considerable length. See id. at 68-88. The

Comptroller finds that this briefing largely concerns immaterial or undisputed issues. The core

inquiry relevant to Respondents Appointments Clause challenge is whether Respondents were

afforded the relief required by Lucia: a new hearing before a properly appointed ALJ. Ample

record evidence demonstrates that they were. To the extent that Respondents Exceptions 3 and 4

raise challenges under the Appointments Clause, these exceptions are rejected.

              A. Judge Whang Was Properly Appointed

     As an initial matter, record evidence establishes that Judge Whang was properly appointed, see

OCCs Opp. to Respts Mot. for Summ. Disposition on the Appointments Clause and Resp. to

Obj. to Orders Issued by ALJ, Exs. 1-3, and the Comptroller finds that there was no error in

denying Respondents discovery regarding her appointment. With respect to whether Respondents

received a new hearing within the meaning of Lucia, Respondents assert that Judge Whang felt

bound by or merely ratified pre-hearing rulings issued by previously assigned ALJs. See Respts

Exceptions at 2. Such assertions are flatly contradicted by various orders (including the ones cited

by Respondents), and Respondents have adduced no evidence that these orders mean anything

other than what they say.

              B. Respondents Received the Remedy Required by Lucia

     Turning to the relevant orders, in January 2020, the Comptroller issued an Order in Pending

Enforcement Cases, reassigning the matter to Judge Whang and stating, as relevant, the following:

        . . . [I]n Lucia v. SEC, 138 S. Ct. 2044 (2018), the Supreme Court determined that
        [ALJs] performing adjudicative duties for the federal government are inherently


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  In this part, the Comptroller discusses Respondents Exception 4 to the extent that it asserts
violations of the Appointments Clause and Due Process Clause. Other challenges asserted in
connection with Respondents Exception 4 are discussed at infra Part VIII.

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       inferior officers of the United States and therefore must be appointed as provided
       in the Appointments Clause . . ..

       . . . [T]he Secretary of the Treasury, by order dated November 14, 2019, appointed
       Jennifer Whang as an [ALJ] for the OCC pursuant to the appointment power
       granted to him as the Head of a Department by Article II of the United States
       Constitution, and by 31 U.S.C. § 301(b) and 5 U.S.C. § 3105 . . ..

       ...

       Promptly after reassignment, the newly assigned ALJ shall issue a Notice . . .
       providing each party an opportunity to file an Objection . . . to any of the actions
       taken by the prior ALJ. . .. The ALJ should thereafter issue a decision on
       reconsideration of the actions to which an Objection was filed . . . With respect to
       actions to which no Objection is filed the ALJ shall review the action and adopt or
       revise the action as the ALJ deems appropriate. . ..

       . . . This order is issued in light of the Supreme Courts decision in Lucia.
       Accordingly, an [ALJ] may . . . reach the same recommendations as the previously
       assigned [ALJ], but the [ALJ] is also free to reach different recommendations from
       those of the initial [ALJ].

See Order in Pending Enforcement Cases at 1-2 (internal quotation marks omitted). Pursuant to

the order, Judge Whang subsequently directed the parties, inter alia, to file objections to any of

the previous actions taken by prior ALJs. See Notice of Reassignment and Order Regarding the

Comptrollers Order in Pending Enforcement Cases.

   In response, Respondents moved for summary disposition, arguing that, under Lucia, the

proceedings against them were commenced and continued to proceed in violation of the

Appointments Clause. See Respts Mot. for Summ. Disposition on the Appointments Clause and

Obj. to Orders Issued by ALJ at 2-3. Respondents also specifically objected to the Order Granting

Motion to Strike and generally objected to all orders entered by Judge McNeil and Judge

Miserendino, arguing that these orders should be vacated and voided because those ALJs lacked

authority to proceed under the Appointments Clause. See id. at 3.




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   On March 17, 2020, Judge Whang issued an Order Reviewing Prior Administrative Law

Judges Prehearing Actions (Order Reviewing Prior Actions) and an Order Denying

Respondents Motion for Summary Disposition on the Appointments Clause (Order Regarding

the Appointments Clause) (together, March 2020 Orders). In the Order Reviewing Prior

Actions, Judge Whang expressed agreement with Judge McNeils determination that the Fannie

Mae and Freddie Mac Defense was an irrelevant or improper affirmative defense; explained that

she had examined the prehearing actions taken by the previously-assigned ALJs, had found that

the actions were consistent with the OCCs Uniform Rules, 12 U.S.C. § 1818[], and with the

provisions of the Administrative Procedure Act; and [u]pon finding that cause to revise

[previously-entered] orders has not been shown, adopted them. See Order Reviewing Prior

Actions at 3-5. In the Order Regarding the Appointments Clause, Judge Whang concluded that

Lucia did not support Petitioners contention that the appropriate remedy for an Appointments

Clause violation should be nullification of the entire action; rather it is enough for the case to be

heard anew by an ALJ who has been properly appointed. See Order Regarding the Appointments

Clause at 4-5.

           C. Respondents Arguments Are Unavailing

   Notably, Respondents cite the March 2020 Orders for the following proposition: The current

ALJ has ruled that the OCC may continue forward with this proceeding under a reassignment and

ratification approach, where it assigns a new ALJ to the case who then ratifies the prior void

rulings by the unauthorized and illegal ALJs. See Respts Exceptions at 68 & n.167. Neither of

the March 2020 Orders uses any variation of the term ratification, and Respondents

characterization of Judge Whangs March 2020 Orders is refuted by orders issued by Judge Whang

and the Comptroller in January 2020. The Comptrollers order made clear that Judge Whang was




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free to dispose of issues differently than the ALJs previously assigned to this case had. Following

the parties briefing on the previously entered orders, Judge Whang ruled that the prior orders were

correctly decided for the same reasons stated by the previously assigned ALJs. There is no

indication that Judge Whang failed to review these orders de novo or that, in the words of

Respondents, she was not presented with the issues tabula rasa. See id. at 81-82 (The new ALJ

should not be presented with unconstitutional rulings and asked to approve themrather she

should be presented with these issues tabula rasa.). Respondents apparently suggest that a new

hearing must consist of an entirely new-from-scratch proceeding rather than an independent

review of the record by a newly and properly appointed adjudicator. See id. at 78. But the

Comptroller agrees with Judge Whang that [a]t no point did the [Lucia] Court appear to entertain

the possibility that the action itself was invalid and should be brought from scratch, or that

respondents before an unconstitutionally appointed tribunal are entitled to have the proceedings

dismissed in full. See Order Den. Respts Mot. for Summ. Disposition on the Appointments

Clause at 4 (citing Lucia, 138 S.Ct. at 2055, n.5); see also Intercollegiate Broad. Sys., Inc. v.

Copyright Royalty Bd., 796 F.3d 111, 124 (D.C. Cir. 2015) (explaining that not every possible

kind of taint is fatal because, if it were, there would be no way to remedy an Appointments Clause

violation). Respondents had an opportunity to specify alleged defects in pre-hearing rulings

issued by prior ALJs. They did so, and thereafter, Judge Whang independently considered the

merits of the prior rulings. In short, Respondents were afforded all that Lucia required.

     Respondents Due Process Clause challenge is fully subsumed by their Appointments Clause

challenge and addressed above.13 To the extent Respondents intended to assert a distinct Due



13
   The Comptroller observes that Respondents asserted the following as their ninth affirmative
defense: Respondents object to this proceeding insofar as the administrative procedures in place
violate the Due Process Clause of the United States Constitution, fail to comply with the

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Process Clause challenge, such challenge is deemed waived for failure to cite relevant legal

authority. See supra Part III.

   VIII. RESPONDENTS EXCEPTIONS REGARDING RULINGS ON CERTAIN
         AFFIRMATIVE DEFENSES AND EVIDENTIARY MATTERS

   Respondents Exception 4 asserts, in pertinent part, the following:

       ALJ McNeil . . . made rulings striking Respondents pleadings and evidence
       including evidence that McNeils own department head, Treasury, took over Fannie
       Mae and Freddie Mac and destroyed their preferred stock (after having encouraged
       the investment) causing a $174 million loss to the Bank from which it could not
       recover. At trial, ALJ Whang felt bound by these . . . rulings and prohibited
       Respondents from presenting a full and complete defense, which violated . . . the
       Administrative Procedure Act, and the Uniform Rules of Practice and Procedure.

See Respts Exceptions at 2. Respondents Exception 9 asserts, The ALJ granted the OCCs

pretrial motion to exclude relevant evidence at hearing, including presentation of the Fannie

Mae/Freddie Mac preferred stock issue. See id. at 3. Respondents Exception 12 asserts, The

ALJ excluded certain exhibits of Respondents that were highly relevant. See id. Respondents

Exception 13 asserts:

       The ALJ refused to allow offers of proof for evidence that was excluded from the
       record at trial, depriving the Respondents and the reviewing court the opportunity
       for meaningful judicial review. This violated the Due Process Clause, the
       Separation of Powers, the Administrative Procedure Act, and the Uniform Rules of
       Practice and Procedure.

See id. Respondents Exception 14 asserts:

       The parties were ordered to give advance disclosure of exhibits and page numbers
       for each witness. While Respondents painstakingly complied with this order, the
       OCC grossly over-designated its exhibits and page cites thus obscuring and denying


Administrative Procedures Act, and/or deny the Respondents a meaningful opportunity to be
heard. See Respts Answer and Affirmative Defenses to Notice of Charges at 9. And in a status
report regarding this defense, Respondents stated, Respondents view this issue as having already
been briefed and addressed in the prior Appointments Clause briefing before the Court and do not
request additional briefing on the Ninth Defense. See Respts Status Report on its Ninth
Affirmative Defense. The Comptroller takes this as an indication that Respondents Due Process
Clause and Appointments Clause challenges fully overlap.

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         Respondents a meaningful disclosure. The ALJ overruled Respondents objections
         in this regard.

See id. at 4.

      In their briefing on Exceptions 4, 9, 12, 13, and 14, Respondents argue, inter alia, that the

ALJs erred in striking the Fannie Mae and Freddie Mac Defense because it was highly relevant

to the reasonableness of Respondents actions, the OCCs own lack of credibility . . . in bringing

this enforcement action, and Respondents lack of culpability. See Respts Exceptions at 89.

They further argue that this ruling violated Respondents due process rights by depriving them of

a full and fair hearing, and that motions to strike are disfavored under the Federal Rules of Civil

Procedure and not authorized by 12 C.F.R. Part 19, except where a party fails to sign a pleading.

See id. at 83-85, 89. Respondents also argue that Judge Whang erred (1) by striking their Sixth

Affirmative Defense, which raises the fact that Respondents did not profit but rather lost as a

result of the events described in the Notice of Charges; (2) by prohibiting questioning of witnesses

on topics related to the Fannie Mae and Freddie Mac Defense and Respondent Ortegas experience

at another national bank; (3) by admitting sworn statements and hearsay testimony; and (4) by

excluding certain exhibits, which showed, among other things, the effect of the crisis and Fannie

Mae Collapse on community banks, disparate treatment received by community banks, that

Treasurys decisions were what caused the problem including the failure of many community

banks, and the unavailability of [the Troubled Assets Relief Program] to community banks. See

id. at 85, 95-96. Respondents also argue that Judge Whang erred by prohibiting offers of proof at

various points throughout the hearing and that Respondents were prejudiced by Enforcement

Counsels over-designation of exhibits in connection with a witness disclosure list. See id. at 95-

96.




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   The Comptroller has reviewed Respondents additional offer of proof, which was submitted

after the hearing and in which Respondents assert that, if permitted, they would offer evidence that

the actions and inactions of the United States government . . . during and in the wake of the 2008-

09 financial crisis caused [the Bank] to suffer staggering financial losses which le[d] to the series

of events giving rise to this case and ultimately the Banks failure. See Respts Additional Offer

of Proof at 2. Respondents further assert that [t]his evidence is relevant to issues of causation and

materiality of financial loss, the OCC witnesses credibility, and also to the issue of Respondents

culpability . . . Id. at 3. Respondents conclude that, In short, the Fannie Mae/Freddie Mac disaster

is the elephant in the room as the central cause of the Banks decline and fall and should be

thoroughly developed in the record to be evaluated in this case. See id. at 13.

   Under the applicable rules of practice and procedure, ALJs may exercise discretion to

determine the scope of the proceedings. See 12 C.F.R. § 19.5 (authorizing ALJs, inter alia, to

conduct proceedings to avoid unnecessary delay, receive relevant evidence, regulate the

course of the hearing, consider and rule upon all procedural and other motions appropriate in an

adjudicatory proceeding, and do all other things necessary and appropriate to discharge the

duties of a presiding officer). The regulations also provide that evidence that would be admissible

under the Federal Rules of Evidence is admissible in adjudicatory proceedings, id. § 19.36(a)(2),

and that except as otherwise provided, relevant, material, and reliable evidence that is not unduly

repetitive is admissible to the fullest extent authorized by the Administrative Procedure Act and

other applicable law, id. § 19.36(a)(1). If evidence meets this latter standard but would be

inadmissible under the Federal Rules of Evidence, the ALJ may not deem the evidence

inadmissible. Id. § 19.36(a)(3).




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     The Comptroller adopts the undisputed factual findings that, in September 2008, the Bank

suffered a $174 million investment loss in connection with the failure of Fannie Mae and Freddie

Mac and that this loss created an exigent need for the Bank to raise capital. See infra Part IV.A,

To the extent that the Fannie Mae and Freddie Mac Defense rebuts evidence presented by

Enforcement Counsel, the Comptroller considers the Banks substantial investment loss and the

subsequent exigencies faced by Respondents at relevant points herein. See e.g., infra Parts X.A.2-

3, X.B.2. The Comptroller concludes that further development of the record relating to the Fannie

Mae and Freddie Mac Defense would be unduly repetitive and, for this reason, any error in the

ALJs analysis or recommendations regarding the striking of this defense is harmless. See 12

C.F.R. § 19.4 (authorizing Comptroller to perform any act which could be done or ordered by

ALJ); id. § 19.5 (authorizing ALJ to exercise all powers necessary to avoid unnecessary delay);

see also Heller Fin., Inc. v. Midwhey Powder Co., Inc. 883 F.2d 1286, 1294 (7th Cir. 1989) (noting

that motions to strike are generally disfavored but may be used to expedite a case and remove

unnecessary clutter).

     The Comptroller finds no error in the other challenged rulings regarding the scope of the

proceedings14 or the admissibility of evidence and further finds that Respondents hearsay

objections, to the extent not previously deemed waived, see supra Part III.B, are not well taken.

See, e.g., Cunningham, 679 F.3d at 383 (noting that under Federal Rules of Evidence, a partys



14
  Respondents challenge the striking of their Sixth Affirmative Defense, which purportedly raises
the fact that Respondents did not profit but rather lost as a result of the events described in the
[Notice], on the ground that the very statute under which the [Notice] was brought is based on
whether such party has received financial gain or other benefit by reason of such violation,
practice, or breach. See Respts Exceptions at 85 (citing § 1818(e)(1)(B)(iii)). While
Respondents are correct that financial gain is one of several alternative predicates through which
the effect prong may be established, Enforcement Counsel did not seek to prove this predicate in
this action. See RD at 11. Accordingly, the Sixth Affirmative Defense was properly stricken as
immaterial.

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own statement may be offered as evidence against that party even where the statement would

otherwise be inadmissible as hearsay); 12 C.F.R. § 19.36(a)(2) (permitting admission of evidence

that would be admissible under Federal Rules of Evidence). If the ALJ erred with respect to

Enforcement Counsels alleged over-designation of exhibits or the exclusion of proffers, such

errors were harmless due to the abundance of unchallenged evidence in the record, including

Respondents own testimony supporting the established charges, and the Comptrollers

consideration of Respondents written proffers.15 Respondents Exceptions 4, 9, 12, 13, and 14, to

the extent not deemed waived, are rejected.

     IX.     FINDINGS OF FACT

     To the extent consistent with the findings stated herein, the Comptroller adopts the findings of

fact contained in the Recommended Decision.

             A. The Banks Failure
     The Bank, which was a community bank headquartered in Edinburg, Texas, had approximately

$3.1 billion in total assets and $2.3 billion in total deposits as of June 30, 2013. See Joint Stip. ¶ 5.

The Bank was a wholly owned subsidiary of First National Bank Group, Inc. (Holding

Company), a bank holding company. Id. ¶ 6. During the financial crisis of the late 2000s, the

Bank faced severe challenges to its operations. See RD at 15. Beginning in 2008, the Banks OREO

assetsi.e., (in the context of the present action) real estate acquired in satisfaction of a debt


15
    Alternatively, the Comptroller concludes that Respondents Exception 14, which concerns
Enforcement Counsels alleged over-designation of exhibits, was untimely raised to the ALJ and
thus waived. Enforcement Counsel filed the witness list at issue on December 10, 2021. Despite
filing a Motion to Exclude Witnesses on December 17, 2021, see Respts Mot. to Exclude
Witnesses, Respondents apparently did not raise this objection until February 7, 2022, during the
hearing, see Respts Exceptions at 96 (citing Enforcement Counsels Dec. 10, 2021 Hearing
Witness List at Ex. B and Hrg Tr. 1223:17-1224:19 (Before we get started, I would just like to
make an objection on the record that I mentioned this morning. Wed like to object to the calling
of this witness at this time.; identifying over-designation of exhibits as basis of objection)).
Respondents should have raised this issue in their December 17 motion.

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began to grow significantly. See id. at 15-16, 44. Such assets are nonperforming and their

associated costs (which might include operational, maintenance, or repair costs and payment of

taxes and insurance) can significantly strain a banks financial condition. See id. at 16; Hrg Tr.

370:19-24 (examination of Respondent Rogers), 953:14-954:11 (examination of Respondent

Ortega), 1293:9-22 (examination of Ramah Chansen).

   The Banks condition further deteriorated when, in September 2008, government-sponsored

enterprises Fannie Mae and Freddie Mac were placed under the conservatorship of the Federal

Housing Finance Agency. As a result, the Banks preferred stock in these entities was rendered

virtually worthless and the Bank realized a $174 million loss upon selling the stock. See RD at

22 (quoting OCC Ex. 148 at 3). This loss caused the Bank to fall from well capitalized to

adequately capitalized within the meaning of 12 U.S.C. § 1831o, which sets forth requirements

for Federal banking agencies to take prompt corrective action to resolve the problems of insured

depository institutions at the least possible long-term loss to the Deposit Insurance Fund. See 12

U.S.C. § 1831o(a), (b)(1); RD at 16-17. In early 2009, the OCC described the Banks need for

higher capital levels as exigent and instituted measures requiring that the Bank, inter alia,

achieve and maintain higher capital levels and minimum capital ratios and improve accounting for

nonaccrual loans. See RD at 17; OCC Ex. 147 at 2. The OCC advised the Bank that failure to

achieve the capital ratios would be considered an unsafe or unsound banking practice and that

failure to submit an acceptable capital plan would result in further action by the OCC. See RD at

17; OCC Ex. 147 at 5.

   By mid-August 2009, the Holding Company had injected $35 million into the Bank. See RD

at 18. Nevertheless, over the following years, the Bank continued to experience significant

challenges. In February 2011, the OCC issued a consent order that again required the Bank to




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increase its minimum capital ratios and to correct unsafe or unsound practices related to loan

portfolio management and the treatment of nonaccrual loans. See id.; see also Joint Ex. 12.

Following a June 2011 OCC examination, the Banks executive management team changed

significantly, with Respondent Rogers resigning and Respondent Ortega assuming new roles,

among other changes. See RD at 18. The OCCs 2012 Report of Examination found, inter alia,

that while new management, under the direction of Respondent Ortega, had made some positive

strides in changing the corporate culture, the Banks problems continue[d] to grow, supervision

by management and the Board remain[ed] critically deficient, and the new team to-date ha[d]

been ineffective overall in reversing the Banks negative course. See Joint Ex. 6 at 1-2, 38; see

also RD at 19. The OCC described the Banks capital position as critically deficient and

identified the Banks OREO portfolio as a significant problem, stating that it was at an extremely

high unsafe and unsound level . . . due primarily to a credit culture that fostered poor credit risk

selection and lax underwriting standards. See Joint Ex. 6 at 2, 47; RD at 19. By June 2013, the

Bank had become critically undercapitalized. See RD at 19. On September 13, 2013, the OCC

closed the Bank and appointed the Federal Deposit Insurance Corporation (FDIC) as receiver.

See RD at 19, 42; Joint Stip. ¶ 9.

           B. Respondents Roles at the Bank
     Respondent Rogers served as Chairman of the Bank from 1981 to November 2011. See RD at

12; Joint Stip. ¶ 2. As Chairman, Respondent Rogers was responsible for ensuring senior executive

management followed the Banks policies and procedures.16 See OCC Ex. 373 at 1. He was also

responsible for participating in reviews of the Banks strategic plan and raising capital funds as



16
   This factual finding is submitted as Enforcement Counsels Exception 5n. See ECs
Exceptions at 5. This finding is supported by the record. Enforcement Counsels Exception 5n is
thus adopted.

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needed to maintain required capitalization at terms and conditions most advantageous to the

Bank. See id.; see also Hrg Tr. 76:18-77:18 (examination of Michael Brickman); RD at 21.

     Respondent Ortega served as the Banks Chief Financial Officer from 1994 through October

2011. See RD at 12; Joint Stip. ¶ 2. In this capacity, Respondent Ortega was responsible for

financial reporting, accounting, and maintaining the Banks books and records. See RD at 13. With

assistance from attorneys and accountants, he was also responsible for drafting the Banks capital

plans. See RD at 21-22; Hrg Tr. 499:6-14 (examination of Respondent Ortega). In November

2011, Respondent Ortega replaced Respondent Rogers as Chairman; Respondent Ortega served in

this capacity until the Banks failure in 2013. See RD at 12; Joint Stip. ¶ 2. Beginning in January

2012, Respondent Ortega also served as the Banks President and Chief Executive Officer. See

RD at 12; Joint Stip. ¶ 2.

     Respondents were members of the Banks Board of Directors (Board) and served as officers

and directors of the Holding Company from at least January 2008 until November 2011. See RD

at 12; Joint Stip. ¶ 6. As directors, Respondents swore an oath that, inter alia, they had a legal

responsibility and a fiduciary duty . . . to administer the [Banks] affairs faithfully and to oversee

its management; they would exercise reasonable care and place the interests of the [Bank] before

[their] own interests; they would diligently and honestly administer the affairs of the Bank; and

they would participate fully on all committees to which they were appointed. See OCC Ex. 446

at 3-4. As members of the Board, Respondents were responsible for overseeing the Banks risk

profile, including the types of lending in which the Bank engaged. See Hrg Tr. 83:24-84:4

(examination of Michael Brickman).17 Additionally, between 2008 and 2011, Respondents served



17
   This factual finding is submitted as Enforcement Counsels Exception 5a. See ECs
Exceptions at 3. This finding is supported by the record. Enforcement Counsels Exception 5a is
thus adopted.

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as voting members of the Banks Loan and Discount Committee (L&D Committee), which was

charged with approving all loans of more than $1 million, overseeing all lending activities within

the Bank, ensuring that loans complied with the Banks policies and procedures, and maintaining

a broad perspective of the Banks overall concentration risk and capital position. See RD at 13-14;

see also Joint Exs. 8-10. The Banks loan policy informed L&D Committee members, including

Respondents, that [o]bjective, prudent and conscientious voting [was] the sacred right and serious

responsibility assigned to each member of the committee. See Joint Ex. 8 at 29; Joint Ex. 9 at 32;

Joint Ex. 10 at 34.18

           C. Capital Raise Strategy

                   1. Communications with OCC Following Fannie Mae and Freddie Mac
                      Investment Loss
     During the OCCs September 2008 examination of the Bank and in the immediate aftermath

of the Banks Fannie Mae and Freddie Mac investment loss, the Bank received a $24 million

injection of capital from the Holding Company, and Respondent Rogers and Bank management

committed to raising an additional $35 million in capital by March 31, 2009. See RD at 22; Joint

Ex. 1 at 3. Respondent Rogers represented to the OCC that capital would be raised through selling

common stock of the Holding Company. See RD at 22; Joint Ex.1 at 3, 7. On February 18, 2009,

pursuant to 12 U.S.C. § 3907(a)(2) and 12 C.F.R. Part 3, Subpart C, the OCC formally imposed

an individual minimum capital ratio (IMCR), requiring the Bank, by May 10, 2009, to have a

Tier 1 Leverage Ratio at least equal to eight percent of adjusted total assets and a Total Risk-Based

Capital Ratio at least equal to twelve percent, as defined in 12 C.F.R. Part 3. See OCC Ex 147; see

also RD at 23. To achieve these ratios, the Bank would need to raise between $50 million and $75


18
   This factual finding is submitted as Enforcement Counsels Exception 5b. See ECs
Exceptions at 3. This finding is supported by the record. Enforcement Counsels Exception 5b is
thus adopted.

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million in additional capital. See OCC Ex. 147 at 1; see also RD at 23. The OCC stated that there

remains an exigent need for the Bank to increase capital due to weak supervision by the Board and

management, the deterioration in the quality of the Banks assets, negative earnings, concentration

risk, and weaknesses in credit administration and that the Bank needs a higher level of capital in

order to operate in a safe and sound manner. See OCC Ex. 147 at 4; see also RD at 17, 23. The

OCC required the Bank to develop and submit a capital plan to achieve the IMCR. See OCC Ex.

147 at 4; RD at 23. The OCC stated that it would only accept a plan that is based on realistic

assumptions, is likely to succeed in restoring the Banks capital[,] and will not increase the risk to

the Bank. See OCC Ex. 147 at 4-5; RD at 23.

   In late February 2009, the Bank submitted its capital plan, which was signed by Respondent

Ortega. See OCC Ex. 148. The plan stated that the Holding Company was actively pursuing an

offering of shares of its common stock to raise capital and that any portion of the proceeds from

this offering that were injected into the Bank would count as Tier 1 capital. See OCC Ex. 148 at

3; RD at 24. In the plan, the Bank did not disclose any intent to finance purchases of Holding

Company stock. See Hrg Tr. 124:14-17 (examination of Michael Brickman). On April 3, 2009,

Respondents attended a meeting with OCC officials. See RD at 24; OCC Ex. 548. An OCC

officials notes from this meeting reflect that Bank management discussed the Banks upcoming

offering of Holding Company stock and efforts to shrink the Bank in order to comply with the

IMCR, noting that these efforts included reducing lending activity such that there was virtually

NO lending occurring. See OCC Ex. 548; see also RD at 24; Hrg Tr. 324:17-325:1 (examination

of Respondent Rogers). The notes also reflect that Respondent Rogers and his family had

committed to contributing at least $10 million to the capital raise. See OCC Ex. 548; see also RD

at 24. Again, Bank management did not disclose to the OCC any intent to finance purchases of




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Holding Company stock. See RD at 25; Hrg Tr. 328:8-12 (examination of Respondent Rogers),

129:2-6 (examination of Michael Brickman).

                   2. Private Placement Memorandum and Everhard Loan

   On April 14, 2009, eleven days after the meeting with OCC officials, two key events occurred.

First, the Holding Company issued a Private Placement Memorandum, which offered up to

650,000 shares of its common stock, with a minimum subscription requirement equivalent to

$75,000, and stated, inter alia, that a portion of the proceeds of the offering would be used to inject

capital into the Bank; that remaining proceeds would be used for other purposes and possible future

capital injections; and that any questions about the memorandum should be directed to Respondent

Ortega. See OCC Ex. 143 at 2, 8, 23, 31, 75; see also RD at 24-25.

   The second key event of April 14, 2009 was the L&D Committees approval of a $500,000

unsecured loan to Kenneth Everhard, a friend of Respondent Rogers. See OCC Ex. 196 at 1; Hrg

Tr. 342:9-24 (examination of Respondent Rogers); RD at 29. According to the L&D Committees

meeting minutes, the loan proceeds were to be used as a revolving line of credit for working

capital. See OCC Ex. 196 at 1; RD at 29; Hrg Tr. 342: 9-24 (examination of Respondent Rogers).

Thereafter, on April 29, 2009, Mr. Everhard purchased $500,025 in Holding Company stock. See

OCC Ex. 158 at 3, 9, 12; RD at 29. The stock certificate associated with this purchase was delivered

to Respondent Rogers. See OCC Ex. 158 at 9. Respondent Rogers affirmed that he was

contemporaneously aware, despite the loan purpose reflected in the Banks records, that Mr.

Everhard had borrowed money from the Bank to invest in holding company stock. See Hrg Tr.

345:2-5 (examination of Respondent Rogers); RD at 29. Respondent Rogers also affirmed that if

the loan purpose reflected in Bank records was inaccurate based on his knowledge, he should have

ensured that it was corrected. See Hrg Tr. 341:15-18 (examination of Respondent Rogers).




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                   3. Implementation of Capital Raise Strategy

     The Everhard loan and subsequent stock purchase are the first in a series of Board-approved

transactions (referred to here as the Capital Raise Strategy) wherein the Bank extended loans

(Capital Raise Loans),19 of which the proceeds were used for the purchase of Holding Company

stock; meanwhile, the Holding Company reinjected or downstreamed between $3 million and

$17.3 million in Bank-financed stock purchases into the Bank as putative capital. See RD at 21,

29, 41-42; Hrg Tr. 328:13-329:6 (examination of Respondent Rogers). The ALJ aptly compared

the downstreaming aspect of the strategy to someone transferring a twenty[-]dollar bill from their

left pocket to the kitchen table to their right pocket and then claiming to be twenty dollars richer

when they then switch the bill again to the pocket from which it started. See RD 29.

     As the ALJ observed, [i]t is incontrovertible that the Bank made loans to investors in order

for those investors to purchase Holding Company stock; the evidence strongly reflects this, and

Respondents have acknowledged as much. See id. at 30; see also Hrg Tr. 330:16-19 (examination

of Respondent Rogers; agreeing that he approved loans to investors to buy holding company

stock), 491:20-492:1 (examination of Respondent Ortega; agreeing that he was aware that the

Bank was making loans to purchase holding company stock). In connection with the Capital Raise

Strategy, Respondents solicited investments from family and friends as well as Bank officers,

directors, and lower-level employees. See RD at 33; see also Hrg Tr. 264: 11-16, 278:10-16



19
  Enforcement Counsels Exception 6 asserts that the ALJ made a factual error in noting that
the Bank approved the first Capital Raise Loan three weeks after the April 3, 2009 meeting with
OCC officials. See ECs Exceptions Br. at 22, n. 18; see also ECs Exceptions at 5. Enforcement
Counsel explains that the Everhard loan was approved less than two weeks after that meeting and
asks the Comptroller to find the correct fact. See ECs Exceptions Br. at 22, n. 18. Enforcement
Counsels Exception 6 is adopted, and the Comptroller finds that the first Capital Raise Loan was
approved less than two weeks after Respondents April 3, 2009 meeting with OCC officials. See
OCC Ex. 548 at 1; OCC Ex. 196 at 1; Hrg Tr. 342:9-12 (examination of Respondent Rogers
regarding OCC Ex. 196).

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(examination of Respondent Rogers). To the extent that such individuals could not afford or did

not wish to expend funds on the investments, the Bank lent them money. See RD at 33; see also

Hrg Tr. 278:10-16 (examination of Respondent Rogers).

   The following are included among the flurry of rapid-fire Bank loans and corresponding stock

purchases made in April and May 2009. See RD at 30 (citing OCC Ex. 374A, rows 29-34, 36-37,

43, 52-53, 55, 58-60). On April 28, the Bank issued to Margaret Scott a loan of $75,000; the

following day, she purchased $75,000 in Holding Company stock. See RD at 30. On May 4, the

L&D Committee approved a $112,500 loan to Curtis Brockman; on May 8, Mr. Brockman

purchased $112,500 in Holding Company stock. See OCC Ex. 169; OCC Ex. 158 at 1; Hrg Tr.

347:9-349:18 (examination of Respondent Rogers). Also on May 8, the L&D Committee approved

a $250,000 loan to Blanca Gonzalez; on May 11, she purchased $250,050 in Holding Company

stock. See RD at 30; OCC Ex. 226; OCC Ex. 228; OCC Ex. 237 at 4; OCC Ex. 374A, row 48;

Hrg Tr. 558:9-559-13 (examination of Respondent Ortega).

                   4. Ongoing Communications with OCC and Capital Injections

   Meanwhile, on April 28, 2009, the Banks then-President and CEO, Robert Gandy, sent an

OCC official a letter stating that the Bank had communicated with 231 prospective stock

purchasers so far, had received $15 million in purchases, and had firm commitments of an

additional $12 million in purchases. See OCC Ex. 149 at 1; RD at 26. The letter predicted that the

Bank would achieve the required Tier 1 capital ratio by the established May 10, 2009 deadline but

would fall short of achieving the required risk-based ratio. See OCC Ex. 149 at 2; RD at 26. Again,

the letter did not disclose that the Bank was offering loans to finance the purchase of Holding

Company stock. See RD at 26. On April 30, the OCC responded by, inter alia, requiring that the




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Bank submit a new capital plan as soon as possible since it did not expect to meet the risk-based

capital ratio by the established deadline. See OCC Ex. 336 at 6; RD at 26-27.

   On May 11, 2009, the Holding Company injected $30 million into the Bank. See OCC Ex. 151

at 1; RD at 27. Prior to the capital raise efforts that began in April, the Holding Company had

approximately $8.8 million in cash and equity securities. See RD at 27. As of May 11, the Holding

Company had raised approximately $30.38 million, including $9 million from Respondent Rogers

and his family. See id. On May 12, Respondent Ortega reported at a Board meeting that the Bank

had achieved the required Tier 1 capital ratio and would submit a revised capital plan to the OCC.

See OCC Ex. 336 at 1; RD at 27. The revised plan, submitted to the OCC the same day, noted that

the Holding Company is actively pursuing an offering of shares of its common stock to raise

capital and that proceeds from such an offering . . . injected into the Bank would count as Tier

1 capital. See OCC Ex. 151 at 1, 4. Again, the revised plan did not disclose to the OCC that the

Bank was actively financing purchases of Holding Company stock. See Hrg Tr. 132:18-133:24

(examination of Michael Brickman).

   On August 12, the Holding Company injected another $5 million into the Bank. See OCC Ex.

366 at 6; RD at 28. From the date of the offering through August 12, the Holding Company raised

a total of $38.16 million from stock sales. See RD at 28, 34-35. In an August 14 letter to the OCC,

the Banks then-President and CEO represented that the Bank had achieved the required minimum

capital ratios. See OCC Ex. 366 at 6; RD at 28. As with all previous communications about capital

raise efforts, the letter did not mention that the Bank had been and continued to be actively

financing purchases of Holding Company stock. See RD at 28.




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                   5. Downstreaming of Loan Proceeds

   Enforcement Counsels expert identified sixty-three Capital Raise Loans, which were issued

between April 2009 and March 2011 and the proceeds of which were used to purchase

approximately $22 million in Holding Company stock. See RD at 30; Hrg Tr. 1233:6-1234:10

(examination of Ramah Chansen). The Comptroller accepts the ALJs finding that somewhere

between $3 million and $17.3 million in proceeds from Holding Company stock purchases

financed by Capital Raise Loans were reinjected into the Bank as putative capital. See RD at 21,

41-42. Respondents themselves acknowledge that at least some of the proceeds of Holding

Company stock purchases financed by Capital Raise Loans were downstreamed in this manner.

See id. at 21, 41 (citing Hrg Tr. 328:13-20 (examination of Respondent Rogers; Q: You have

indicated that the board of directors approved the plan to extend bank loans to investors to buy

FNBG stock and then downstream those same funds back to the bank as Tier 1 capital, correct? A:

Basically, thats what happened . . . yes, maam.), 493:15-17 (examination of Respondent Ortega;

So I mean, I would say that some of the stock, some of those loans actually came back to the

bank.); OCC Ex. 569 (Respondent Ortega Dep.) at 34:24-35:4 (agreeing that the Bank [made]

loans that the borrower would then use the proceeds of the loan to purchase stock in the bank

holding company and the bank holding company would then downstream the funds back to [the

Bank])).

   As Enforcement Counsels expert explained, For regulatory purposes, a bank cant create

capital on its own by creating a loan and extending that money. You know, youre essentially

making money out of thin air by orchestrating a scheme like this. So it is not permissible to treat

it as regulatory capital. See Hrg Tr. 135:14-25 (examination of Michael Brickman).

Nevertheless, the Bank reported the total $35 million in capital injections as regulatory capital on




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its balance sheet and on all subsequent Call Reports until the Banks failure. See RD at 34, 41. The

Banks capital levels from the second and third quarters of 2009 through the remainder of its

operations were thus overstated by the amount that Capital Raise Loan proceeds were reinjected

into the Bank. See id. at 41-42; see also Hrg Tr. 1783:10-16 (examination of Christine Salvato;

Q: For 2009 through 2013, and under [Generally Accepted Accounting Principles], call report

instructions, and other guidance . . . was it permissible for the bank to treat proceeds from capital

raise loans as new capital? A: In my opinion, no.). Respondent Ortega testified that the OCCs

ability to perform its regulatory duties would be impeded if the Bank misstated its capital. See

OCC Ex. 569 at 28:6-22 (Respondent Ortega Statement Trans.).20 Additionally, both Respondents

knew that they had an obligation to ensure that the Bank accurately reported its capital and income.

See OCC Ex. 568 at 30:8-31:10 (Respondent Rogers Statement Trans.); OCC Ex. 569 at 27:20-

28:22 (Respondent Ortega Statement Trans.).21

                   6. Features of Capital Raise Loans

     Capital Raise Loans were issued on concessionary terms. Most were unsecured and offered at

a low interest rate of 4.25 percent. See RD at 32 (citing Hrg Tr. 146:11-14 (examination of

Michael Brickman; noting that because unsecured loans are riskier, the bank typically will charge

a higher rate of interest in order to recover costs across the entire portfolio . . ..), 147:12-15

(examination of Michael Brickman; opining that a 4.25 percent interest rate is incredibly low . . .

for an unsecured loan portfolio.), 1256:5-9 (examination of Ramah Chansen; opining that it would




20
   This factual finding is submitted as Enforcement Counsels Exception 5g. See ECs
Exceptions at 4. This finding is supported by the record. Enforcement Counsels Exception 5g is
thus adopted.
21
   This factual finding is submitted as Enforcement Counsels Exception 5h. See ECs
Exceptions at 4. This finding is supported by the record. Enforcement Counsels Exception 5h is
thus adopted.

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have been very unlikely [in 2009] that borrowers would have been able to obtain an unsecured

loan especially at a 4.25 percent interest rate)); see also Hrg Tr. 549:15-18 (examination of

Respondent Ortega; Q: The [Banks] policy notes that unsecured loans by their nature can be the

highest risk credit the bank will extend, correct? A: Right.). Some provided for interest-only

payments for the life of the loan before a balloon payment at maturity. See RD at 32. Most were

renewed at least once, which according to Enforcement Counsels expert, calls into question [the

borrowers] ability to repay the debt as originally structured . . .. See Hrg Tr. 1256:20-1257:9

(examination of Ramah Chansen); see also RD at 32. Furthermore, for certain borrowers, the Bank

offered better terms on the unsecured Capital Raise Loans than on any secured loans issued to

those same borrowers, which again signals that individual borrowers ability to repay was not a

primary consideration when it came to Capital Raise Loans. See RD at 32. Respondent Rogers

testified that obtaining reasonable assurance a borrower is willing and able to pay a loan back

according to its terms protects a banks capital and that lending without reasonable assurance

would increase risk to the Bank. See OCC Ex. 568 at 69:23-70:12 (Rogers Statement Trans.).22

Respondent Rogers admitted that the quality of a Banks loan portfolio has a significant influence

on the amount of capital a bank requires; the more problems in the portfolio, the more capital the

bank needs. See OCC Ex. 568 at 49:14-50:3 (Rogers Statement Trans.).23 Both Respondents

testified that it would be unsafe or unsound to approve a loan without reasonable assurances from

the borrower that the borrower is willing and able to pay a loan back according to its terms. See

OCC Ex. 568 at 24:4-21 (Respondent Rogers Statement Trans.); OCC Ex. 569 at 23:24-24:16



22
   This factual finding is submitted as Enforcement Counsels Exception 5e. See ECs Exceptions
at 4. This finding is supported by the record. Enforcement Counsels Exception 5e is thus adopted.
23
    This factual finding is submitted as Enforcement Counsels Exception 5d. See ECs
Exceptions at 3. This finding is supported by the record. Enforcement Counsels Exception 5d is
thus adopted.

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(Respondent Ortega Statement Trans.); see also OCC Ex. 568 at 31:2-10 (Respondent Rogers

Statement Trans.) (confirming he held these views on safety and soundness during the entire period

he was Chairman).24

                    7. Misleading Loan Purposes

     Despite Bank policy requiring that the purpose of all unsecured loans be clearly stated in Bank

records, the stated purposes of Capital Raise Loans were in all instances deceptive and misleading.

See RD at 30-31; see also Hrg Tr. 152:9-20 (examination of Michael Brickman; In my view

every single one of them is inaccurate and false relative to the actual purpose of purchasing capital

in the holding company.; . . . none of them expressly states they are used to purchase capital in

the holding company.). Respondent Ortega testified that running the Bank in a safe and sound

manner meant following policies and procedures in a sound manner [m]ost of the time. See Hrg

Tr. 581:14-583:23 (examination of Respondent Ortega).25

     Bank records reflected that the proceeds of a $500,000 loan to Bank director Jack McClelland

were to be used as a revolving line for working capital for personal ventures, even through

Respondent Ortega knew, at the time of the loans approval, that the proceeds would be used to

purchase Holding Company stock. See OCC Ex. 247 at 2; OCC Ex. 143 at 35; OCC Ex. 158 at 9;

Hrg Tr. 530:12-19 (examination of Respondent Ortega); RD at 31; see also OCC Ex. 246 at 1.

Similarly, Bank records reflected that an unsecured $200,000 loan to Bank director Oscar Garza

was for rodeo riding arena event costs and promotions and other business purposes, but the loan

was linked to a contemporaneous purchase of Holding Company stock in the amount of $200,025.



24
   This factual finding is submitted as Enforcement Counsels Exception 5f. See ECs Exceptions
at 4. This finding is supported by the record. Enforcement Counsels Exception 5f is thus adopted.
25
    This factual finding is submitted as Enforcement Counsels Exception 5m. See ECs
Exceptions at 5. This finding is supported by the record. Enforcement Counsels Exception 5m is
thus adopted.

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See RD at 31 (citing OCC Ex. 237 at 4; OCC Ex. 374A, row 88). And the purpose of the

aforementioned Capital Raise Loan to Ms. Gonzalez is described in a Bank record as a business

investment, while in the very same record, the purpose of a secured loan to another individual is

plainly stated as for the purchase of 6,250 shares of Lone Star National Bank stock. See OCC

Ex. 237 at 4; RD at 31.26 As this contrast amply shows, the stated loan purposes of Capital Raise

Loans were demonstrably deceptive. See RD at 115.

                   8. Efforts to Conceal Capital Raise Strategy

     Although it was imperative for the Bank to disclose the Capital Raise Strategy to the OCC at

its inception, the strategy was never described in Bank books or records or revealed in

communications with the OCC. See Hrg Tr. 155:22-157:14 (examination of Michael Brickman).

As Enforcement Counsels expert explained, A banks books and records are critically important.

Its the basis by which [the OCC] make[s] decisions about whether the bank is in safe and sound

condition or whether there are any necessary corrective actions that the bank needs to undertake.

See Hrg Tr. 85:11-16 (examination of Michael Brickman). Respondents admitted they had never

heard of another bank financing its own capital raise with bank loans. See OCC Ex. 568 at 37:3-

23 (Respondent Rogers Statement Trans.); Hrg Tr. 494:22-496:9 (examination of Respondent

Ortega; comparing hearing testimony to sworn statement testimony).27 And Enforcement

Counsels expert testified that if the Bank had disclosed the Capital Raise Strategy to the OCC,

the OCC would have informed the Bank that the capital raised through loans from the bank would




26
   Further demonstrating the concessionary terms of Capital Raise Loans, the loan to Ms. Gonzalez
was unsecured and had a 4.25 percent interest rate, while the loan to the other individual to
purchase shares in Lone Star National Bank was secured and had a five percent floor interest rate.
See OCC Ex. 237 at 4; RD at 31, n. 136.
27
   This factual finding is submitted as Enforcement Counsels Exception 5c. See ECs Exceptions
at 3. This finding is supported by the record. Enforcement Counsels Exception 5c is thus adopted.

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not qualify as Tier 1 capital and would not meet the requirements of the IMCR. See Hrg Tr.

158:15-25 (examination of Michael Brickman).

                   9. Losses Associated with the Capital Raise Strategy

   On June 12, 2013, the Bank recorded combined losses of $387,240.63 on Capital Raise Loans

that it had made to Ms. Gonzalez and Jose Rodriguez. See RD at 42 (citing OCC Ex. 389 (Bank

Loan Losses and Recoveries, 1994 to 7/12/2013), rows 24107, 24108). These loans and their

corresponding purchases of Holding Company stock were made in early to mid-2009; the loan

proceeds were thus commingled with other Holding Company funds at the time of the capital

injections. See RD at 42. At the time of the Banks failure in September 2013, numerous other

Capital Raise Loans had not been paid off. See id. (citing Hrg Tr. 1242:13-1243:11 (examination

of Ramah Chansen)). The FDIC, in its capacity as receiver following the Banks failure, suffered

$3,808,058.28 in losses when certain outstanding Capital Raise Loans were charged off as part of

the receivers efforts to maximize recovery on Bank assets for the receivership. Id. at 42 (citing

Hrg Tr. 1994:24-2006:3 (examination of Mary Jane Locke)).

           D. OREO Strategy

                   1. Respondents Involvement in OREO Strategy
   Beginning in 2008, as the Banks OREO portfolio began increasing significantly, OCC

examiners and Bank management recognized an urgent need for the Bank to reduce its OREO

portfolio. See RD at 44-45. Around this time, Bank management adopted an aggressive approach

to selling its OREO properties at appraised values and on lenient loan terms. See id. at 43, 46-47;

see also Hrg Tr. 377:1-3 (examination of Respondent Rogers; agreeing that the Bank was more

lenient on loan terms after the crisis trying to turn ORE assets into earning assets), 617:3-4

(examination of Respondent Ortega; Im going to say we were more flexible with the conditions

back then.), 618:1-12 (examination of Respondent Ortega; A: . . . We were mainly


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accommodating loans for our ORE and our better customers. Q: But the bank made loans that it

normally would not have made had the purchase not been to purchase Bank ORE, correct? A:

Yeah, I agree. Its our ORE, yeah.).

   As members of the L&D Committee, Respondents regularly approved or ratified OREO

Strategy loans without having first obtained financial spreads and a credit analysis (or credit

review), as required by Bank policy, and in the case of Respondent Ortega, without having read

the credit review if it were obtained. See Hrg Tr. 379:3-12 (examination of Respondent Rogers),

622:6-22 (examination of Respondent Ortega), 646:3-20 (examination of Respondent Ortega); RD

at 44, 58-59, 133. Enforcement Counsel identified fourteen OREO Strategy loansissued between

April 2009 and October 2012 and ranging from $3 million to $56 millionwhich one or both

Respondents approved without having obtained a credit review. See RD at 59.

   However, the ALJ noted that, when discussing specific OREO loans during the hearing,

Respondents and other Bank management repeatedly referenced the fact that the borrowers were

known to the Bank. See RD at 52; see also e.g., Hrg Tr. 386:9-14 (examination of Respondent

Rogers; noting that he had no problem voting for a particular OREO loan because he was

familiar with the borrower, who had done a good job with other properties), 619:13-18

(examination of Respondent Ortega; stating that an OREO loan was approved without financial

projections because we know that these guys know how to develop).

                   2. OCC Communications Regarding OREO Strategy

   Reports of Examination reflect that, as early as 2009, OCC examiners had at least a general

awareness of the OREO Strategy and had initially expressed approval of the strategy. See RD at

53. The 2009 Report of Examination noted that management has aggressively managed OREO

. . . Most parcels have equity and management has been able to sell the parcels to individuals they




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believe have the ability to manage the project or repay the debt. These actions minimize the risk

of write-downs due to fair market value declines . . .. See Joint Ex. 2 at 40; see also RD at 53.

And the 2010 Report of Examination noted that Management has developed a comprehensive

and dynamic approach to OREO resolutions . . . and the Bank plans to continue with this approach.

. . To date, the results have shown low losses when compared with other bank OREO processes.

See Joint Ex. 3 at 11-12; see also RD at 53-54. This report further observed that [n]ew loans to

finance sales of OREO . . . are underwritten more liberally than set forth in the loan policy, these

lending practices are liberal because most [are] related to the financing and often improvement

of OREO or problem loan workouts. See Joint Ex.3 at 24; see also RD at 54.

   However, by 2011, OCC examiners observed a worrying pattern: the Bank was making loans

to borrowers or guarantors with little financial repayment capacity to finance OREO purchases;

as a result, many OREO properties were returning to the Banks portfolio after they had been sold.

See Joint Ex. 4 at 5; see also RD at 55. OCC examiners also began to note that the Banks practices

surrounding the OREO Strategy resulted in the financing of OREO with little or no down

payment, on liberal terms, with below-market interest rates, and to individuals who did not

demonstrate the ability to service the debt and further noted that [t]he Banks strategy to reduce

criticized assets through the financing of OREO was not appropriate and has resulted in additional

asset quality concerns and accounting issues. See Joint Ex. 4 at 46.

                   3. Features of OREO Loans

   Many of the OREO Strategy loans violated the Banks loan policy in that the loans lacked

equity contributions from borrowers, lent additional money over and above the propertys purchase

price, were issued to newly-formed entities with no financial history, lacked guarantees, or

provided funding for payment of property taxes or past-due loans. See RD at 61-64. Respondent




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Rogers admitted that OREO Strategy loans with one hundred percent financing (i.e., no equity

contribution) should be graded substandard and that it would be unsafe or unsound to approve a

loan graded substandard at origination. See Hrg Tr. 390:8-13 (examination of Respondent

Rogers), 381:13-21 (examination of Respondent Rogers).28 Similarly, Respondent Ortega

admitted that the very definition of an unsafe or unsound practice was providing one hundred

percent financing without having financial information on the borrower. See Hrg Tr. 610:23-

611:14 (examination of Respondent Ortega); OCC Ex. 569 at 172:15-23 (Respondent Ortega

Statement Trans.).29 Moreover, the interest rates for many OREO Strategy loans were lower than

rates established in the Banks Market Rate Matrix, which Board members, including

Respondents, approved in December 2009 as an indicator of Bank managements views on what

constituted a market rate for OREO loans; Respondents thus knew what the Bank deemed to be a

market rate for OREO loans. See RD at 63; see also OCC Ex. 338; OCC Ex. 339; OCC Ex. 343 at

5 (The bank has established a Market Rate Matrix to ensure compliance with term and pricing of

these loans.), 8 (The Market Rate Matrix will be used for all ORE financing loans.), 20 (Market

Rate Matrix).30 Quoting at length and crediting the testimony of Enforcement Counsels experts,

the ALJ found that the Banks OREO lending strategy increased risk to the Bank to the extent

that it increased the likelihood of OREO properties returning to the Banks books through, inter

alia, looser underwriting standards, approval of loans without proper documentation of borrower

credit and finances, and overly liberal loan terms. See RD at 55-56.



28
   This factual finding is submitted as Enforcement Counsels Exception 5i. See ECs Exceptions
at 4. This finding is supported by the record. Enforcement Counsels Exception 5i is thus adopted.
29
   This factual finding is submitted as Enforcement Counsels Exception 5j. See ECs Exceptions
at 5. This finding is supported by the record. Enforcement Counsels Exception 5j is thus adopted.
30
   Aspects of this factual finding are submitted as Enforcement Counsels Exception 5k, see
ECs Exceptions at 5, and are supported by the record. Enforcement Counsels Exception 5k is
thus adopted.

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                   4. NAHS Loan and OREO Loan Losses

   The details surrounding a $54 million loan to NAHS Real Estate, L.P. (NAHS) are

representative of the OREO Strategy. See RD at 65. NAHS was formed on or around June 17,

2010, for the purpose of purchasing a hospital that was part of the Banks OREO portfolio. See id.

At a June 8, 2010 L&D Committee meeting, Respondent Ortega and other committee members

(not including Respondent Rogers) verbally approved, subject to formal loan presentation, inter

alia, a $54 million loan to NAHS, which included $38 million to purchase the unfinished hospital

and $16 million in additional money for construction. See OCC Ex. 30 at 6; RD at 65. Prior to this

verbal approval, the L&D Committee had not been presented with any loan package. See RD at

66. Respondent Ortega testified that he relied on the loan officers recommendations and did not

focus on the borrowers creditworthiness, repayment ability, or projected cash flow. See Hrg Tr.

586:1-2, 607:12-18, 985:3-22, 986:5-11, 987:8-23 (examination of Respondent Ortega); see also

RD at 66.

   On June 10, the loan department prepared a one-page memorandum providing minimal

additional details about the prospective loan. See RD at 66; see also OCC Ex. 31 at 6. The Bank

formally entered the loan agreement with NAHS on June 22. See RD at 65-66. On June 23, a two-

page loan-officer recommendation was completed. See id. at 67. Among other features, this

document did not include any projections of the hospitals cash flow, graded the proposed loan as

satisfactory, determined that financials will be waived for NAHS initially because it was a

new entity, and stated that credit review will be performed at the end of the fiscal year. See OCC

Ex. 31 at 4-5; see also RD at 67.

   The NAHS loan was ratified by Respondents and others at an August 2010 L&D Committee

meeting. See RD at 65-66; OCC Ex. 35 at 3. The loan enabled the Bank to sell the hospital at cost




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basis on its books for $37,811,851 and avoid recognizing a loss on the sale. See RD at 66. The

loan terms included thirty months of interest-only payments at a 3.25 percent interest rate, followed

by a twenty-five year repayment term at a variable rate not to exceed six percent. Id. at 68. The

loan terms also did not require any equity contribution from NAHS or its owner-guarantors and

provided that the two principal owner-guarantors would guarantee only $3 million of the $54

million loan. Id. at 68-69. There is evidence that a credit analysis of the NAHS loan was finalized

in September 2010 in anticipation of an upcoming OCC examination. See id. at 67-68. This

analysis showed that the NAHS owner-guarantors had approximately $150,000 in combined

liquidity and that one owner-guarantor had a Fair Isaac Corporation (or FICO) score of less than

five hundred. Id. at 68; see also Joint Ex. 10 (2010 Loan Policy) at 97 (noting that for loans

designated with the collateral code 394, Credit score < 650 would be a waiver/exception item

subject to L&D Committee approval); OCC Ex. 31 at 1 (indicating that the NAHS loan is given

the collateral code 394). The NAHS loan violated the Banks loan policy in multiple ways. See

OCC Ex. 48 at 1, 13; see also RD at 67-68.31 The Bank gave NAHS substantial repayment

assistance during the life of the loan. See RD at 69-70.

     The Bank recorded losses of approximately $7.3 million on six OREO loans between

September 27, 2012 and March 5, 2013. See id. at 143. Following the Banks failure on September

13, 2013, the FDIC as receiver suffered a $35.15 million loss on the loan to NAHS. See id. at 75-




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  For example, among the prohibited loans identified in the Banks loan policy were loans to
companies or individuals who lack evidence of repayment ability, even if the loan is to be fully
secured; NAHS did not exhibit evidence of repayment ability. See Joint Ex.10 at 20; Hrg Tr.
1356:2-6 (examination of Ramah Chansen). This factual finding is submitted as Enforcement
Counsels Exception 5l. See ECs Exceptions at 5. This finding is supported by the record.
Enforcement Counsels Exception 5l is thus adopted.



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76, 143. The FDIC as receiver also suffered approximately $61.4 million in losses related to other

loans associated with the OREO Strategy. Id. at 76.

                   5. OREO Strategy Alternatives

   Enforcement Counsel asserts that it would have been prudent for the Bank to have sold its

OREO properties below appraised values or to have avoided in-house financing of purchases of

OREO rather than to have implemented the OREO Strategy. See Enforcement Counsels Proposed

Findings (ECPF) ¶¶ 188, 211; see also RD at 47. However, the ALJ credit[ed] the weight of

the testimony by Respondents and others in Bank management that they viewed those other

options as either undesirable or infeasible at the time . . . and f[ound] that there is an element of

hindsight in [Enforcement Counsels] current position. See RD at 47. Quoting extensively from

the hearing transcript, the ALJ found as follows.

       In detailed and credible testimony, Respondent Ortega and [the Bank official
       charged with implementing the OREO Strategy] acknowledge that it would have
       been possible for the Bank to sell its OREO at a reduced price rather than financing
       purchases itself at the appraised value, but state that the motivations for not doing
       so stemmed, at least in part, from a good faith belief that the properties were worth
       more in the long run than the speculators and scavengers of the time were
       willing to pay.

See id. at 47-48. The ALJ further credited the testimony of the Bank official charged with

implementing the OREO strategy as providing a plausible explanation for Bank managements

reluctance to lower the asking price on the Banks OREO properties in order to get them sold:

management felt that doing so would not reflect the properties true value over time and

believed that other avenues were available that would enable the Bank to reduce its OREO

holdings by selling them at their appraised value. See id. at 49. The ALJ also noted that

Respondents and other witnesses offered unrebutted testimony that the Bank had no choice but to




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finance purchases of its own OREO because, during the relevant timeframe, no banks were

amenable to financing the purchases of another banks OREO. See id. at 50.

                   6. OREO Strategy Accounting-Related Misconduct

   Turning to the charged accounting-related misconduct associated with the OREO Strategy, the

OCCs 2009 Report of Examination determined that the Bank had sold and financed $133 million

of OREO with liberal underwriting terms and without ensuring proper accounting. See RD at 70;

see also Joint Ex. 2 at 12. The OCC issued a Matter Requiring Attention (MRA) requiring that

the Bank record losses on OREO loans with below-market interest rates by using a present-value-

of-future-cash-flows analysis. See RD at 70; see also Joint Ex. 2 at 12. In another MRA issued in

connection with the 2011 Report of Examination, the OCC determined that, between 2008 and

June 30, 2011, the Bank had originated over $309 million in OREO loans with interest rates below

the then-market rate of 5.5 percent and had failed to perform present-value calculations and record

discounts on OREO loans with below-market interest rates. See RD at 72; see also Joint Ex. 4 at

11-12, 47-48, 81. The 2011 Report of Examination also cited a violation of 12 U.S.C. § 161(a) on

grounds that the Banks quarterly Call Report filings were inaccurate due to [t]he Banks failure

to adhere to proper accounting guidelines regarding OREO sales, which were financed below a

fair market rate . . .. See Joint Ex. 4 at 81; see also RD at 72. The OCC directed the Bank to

review all OREO financings to assure proper accounting and income recognition, calculate the

appropriate losses, and include the adjustment in the December 31, 2011 Call Report. See Joint

Ex. 4 at 48; see also RD at 72-73.

   The Bank recorded only a $4.8 million discount of its $309 million OREO portfolio in the

December 31, 2011 Call Report. See OCC Ex. 363 ¶ 36; see also RD at 74. According to

Enforcement Counsels expert, the Banks underlying decisions leading to its $4.8 million discount




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were inappropriate under Generally Accepted Accounting Principles (GAAP), and the Banks

improper accounting of OREO loans caused the Banks assets and capital to be overstated by at

least $9.5 million beginning with the December 31, 2011 Call Report32 and continuing through the

Banks failure. See OCC Ex. 363 ¶¶ 46-47; see also RD at 44, 74-75.

            E. Nonaccrual Loan Accounting Practices

                    1. Cash-Basis and Cost-Recovery Accounting

     When a bank expects to fully collect on a loan, interest accrues on the loan daily, and the bank

reports the interest as income earned even though payment for that interest has not yet been

received. See RD at 77; ECPF ¶ 534. Loan payments are typically recorded in two parts: principal

and interest. See RD at 77-78; ECPF ¶ 536. The principal payment reduces the balance of the loan

receivable, and the bank records the cash proceeds to settle the interest receivable. See RD at 77-

78; ECPF ¶ 536. If, however, there is doubt as to the ultimate collectability of a loan, the bank

must determine whether the loan should be placed on nonaccrual status, which would mean that

the bank would not accrue interest on the loan. See RD at 77-78; ECPF ¶¶ 538-39.

     Nonaccrual loans are accounted for using either the cost-recovery method or cash-basis

method. See RD at 77. Under the cost-recovery method, a bank applies all payments to a loans

principal balance and does not recognize any interest income. Id. The cash-basis method permits

a bank to separate loan payments into principal and interest and treat the interest portion as income

(although an interest receivable is not accrued). See RD at 78; ECPF ¶ 545.

     At all relevant times, the cost-recovery method was the general rule for accounting purposes

when a bank had any doubt as to the ultimate collectability of a nonaccrual loan. See RD at 77-78;




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   Banks are required to periodically file with the OCC a Call Report describing the banks
financial condition. See infra Part X.A.1.c.

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see also OCC Ex. 359 (June 2009 Instructions for Preparation of Consolidated Reports of

Condition and Income) at 453-54 (When doubt exists as to the collectability of the remaining

recorded investment in an asset in nonaccrual status, any payments received must be applied to

reduce the recorded investment in the asset to the extent necessary to eliminate such doubt.). The

Instructions for Preparation of Consolidated Reports of Condition and Income (Call Report

Instructions) provide that cash-basis accounting may only be used on nonaccrual loans when the

bank determines, after analysis and with supporting documentation, that the remaining recorded

asset is fully collectible. See RD at 78 (quoting ECPF ¶ 546). Specifically, both the June 2009

and March 2012 Call Report Instructions provided that [a] banks determination as to the ultimate

collectability of the assets remaining recorded investment must be supported by a current, well

documented credit evaluation of the borrowers financial condition and prospects for repayment,

including consideration of the borrowers historical repayment performance and other relevant

factors. See OCC Ex. 359 (June 2009 Call Report Instructions) at 455; OCC Ex. 354 (March 2012

Call Report Instructions) at 545. The OCCs Bank Accounting Advisory Series (BAAS) likewise

provided that cash-basis accounting should not be used unless the bank can demonstrate [that]

doubt about the ultimate collectability of principal no longer exists, and that collateral values

alone are insufficient to resolve the issue of collectability. See OCC Ex. 353 (December 2008

BAAS) at 38; see also RD at 79.

                   2. The Banks Accounting System

   Around 2007, the Bank transitioned to a new loan accounting system. See RD at 79. The default

setting of this system was to apply cost-recovery accounting to nonaccrual loans, but Enforcement

Counsel has presented credible and uncontroverted evidence that the Bank changed the default

accounting treatment of nonaccrual loans in the [vendors] system from the cost recovery method




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to the cash basis method to conform to [Bank] managements preferred practice of automatically

recording interest income on nonaccrual loans. See id. at 79-80. As members of senior

management of the Bank, Respondents (particularly Respondent Ortega, who oversaw the Banks

accounting and information technology departments) were aware or should have been aware that

this inappropriate system change had been made, even if they were not the ones who authorized

it. See id. at 80. This change caused the Bank to deviate, indiscriminately and on a blanket basis,

from the general rule of the Call Report Instructions that cost recovery accounting be used on all

nonaccrual loans unless and until it is determined, through a current, well documented credit

evaluation, that a specific loan is fully collectible. See id. (quoting OCC Ex. 359 (June 2009

Call Report Instructions) at 545).

                   3. Warnings About the Banks Accounting Practices

   In January 2009, the OCC and the Bank entered a Memorandum of Understanding (MOU),

requiring, inter alia, that the Bank immediately reverse or charge off all interest that has been

accrued contrary to the requirements contained in the Instructions for Preparation of Consolidated

Reports of Condition and Income (Call Report Instructions) governing nonaccrual loans and

directing the Board to develop and implement a written policy governing the identification of and

accounting treatment for nonaccrual loans [that] shall be consistent with the accounting

requirements contained in the Call Report Instructions. See Joint Ex. 11 at 6-7; see also RD at 81.

Respondents were members of the Banks MOU Compliance Committee and were thus

responsible for ensuring compliance with the January 2009 MOU. See RD at 81.

   By March 2009, the Banks policy regarding nonaccrual loans had purportedly been modified

to include the accounting requirements specified in the Call Report Instructions. See OCC Ex.

319 at 1; see also RD at 82. But the revised policy fell short of its goal. It did not require Bank




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employees to undertake or document the required analysis to determine that collectability was no

longer in doubt before applying cash-basis accounting. See RD at 82-83. Nor did it address or even

mention the Banks practice of automatically applying cash-basis accounting to all nonaccrual

loans. See id. Rather, the new policy stated that a bank is allowed to maintain a loan on a cash

basis as long as the borrower is able to make regular payments, which is not the standard

articulated by the Call Report Instructions or the OCCs BAAS. See OCC Ex. 319 at 11; see also

RD at 83. The policy further stated that it is [the Banks] intent to utilize cash basis nonaccrual

accounting whenever it is applicable. See OCC Ex. 319 at 11; see also RD at 83.

   In June 2009, the Banks audit department informed senior Bank management that the use of

cash basis of accounting on all nonaccrual loans was unsatisfactory and recommended that the

Bank set a dollar threshold at which all nonaccrual loans would be required to have a credit

evaluation. See OCC Ex. 321 at 5; see also RD at 83-84. There is no indication that Respondents

or other Bank management responded to the audit departments concerns or recommendations. See

RD at 84.

   Consent orders entered between the Bank and OCC in February 2011 and January 2012

reiterated the 2009 MOUs requirement that the Bank reverse or charge off interest that had been

accrued contrary to requirements contained in the Call Report Instructions and that the Bank ensure

compliance with policies and procedures consistent with the Call Report Instructions. See Joint

Ex. 12 at 12; Joint Ex. 13 at 16; RD at 84. However, there is no evidence that Respondents caused

the Banks policies or accounting systems to comply with Call Report Instructions or caused the

Bank to make the required charge-offs. See RD at 83-84.

   In October and December 2012, the Banks chief audit officer reiterated, including to

Respondent Ortega, his concerns about the Banks practice of using cash-basis accounting for




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nonaccrual loans en masse and without supporting documentation. See RD at 85; see also OCC

Ex. 323; Respts Ex. 68; OCC Ex. 325. Nevertheless, the Bank continued to use cash-basis as the

default method of accounting for nonaccrual loans. See RD at 85; see also Respts Ex. 68.

   Following a March 2013 examination, the OCC concluded that Bank management had failed

to follow cost recovery treatment for non-accrual loans and follow guidelines within the Call

Report Instructions, noting that the Banks incorrect practices had been in place for many years.

See Joint Ex. 7 at 6; see also RD at 85-86. As a result, the Banks capital and earnings were

overstated for 2011, 2012, and the first quarter of 2013 by $1.4 million, $9.8 million, and $3.6

million, respectively. See Joint Ex. 7 at 2; see also RD at 87. The Bank refiled its December 2012

Call Report to reduce its reported interest income for 2011 and 2012 and adjusted its March 2013

Call Report before it was filed. See RD at 87. The Report of Examination cited the Bank for a

violation of § 161(a) based on the inaccurate December 2012 Call Report, finding that the primary

cause of the overstatement of income was inappropriate recognition of interest income for non-

accrual loans. See Joint Ex. 7 at 22; see also RD at 87.

           F. Loans to Rogers III Entities

                   1. February 2009 Email from Rogers IIIs Attorney

   Respondent Rogerss son, David Rogers III (Rogers III), had ownership interests in multiple

companies, including a homebuilding company called Obra Homes, Inc. (Obra), of which he

also served as President. See RD at 91. In or around early 2009, Obra had numerous outstanding

loans with the Bank that were personally guaranteed by Rogers III and secured by real property.




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Id. Rogers III had previously been a Bank director and was generally known by Bank management

and the Board. Id.

   On February 11, 2009, Rogers III forwarded to Respondent Rogers an email that Rogers III

had received from his attorney two days earlier. See OCC Ex. 269; RD at 91-92. The attorney

explained that Obra likely would be placed into receivership as a result of an adverse judgment in

one or more of the eighteen pending lawsuits against the company. See OCC Ex. 269; see also RD

at 91. He further stated that such an outcome would result in [Rogers IIIs] total loss of control

of Obra and its assets and would frustrate efforts to liquidate such assets to satisfy obligations

to [the Bank and another institution]. See OCC Ex. 269; see also RD at 92. The attorney proposed

that Rogers III work with the Bank to empty Obra of all assets through foreclosure, thus leaving

nothing for Obras other creditors and obviating any concern about possible judgments. He also

suggested that Rogers III form another corporation and reacquire the foreclosed-upon assets. See

OCC Ex. 269; see also RD at 92.

   Rogers III seemingly acted on his attorneys advice, securing releases of his personal

guarantees and foreclosures, and then repurchasing the foreclosed-upon collateral through newly

formed or acquired entities. See RD at 93, 95-96. Respondent Rogers testified that he believed that

the arrangement proposed by his sons attorney would not be in the Banks best interest. See Hrg

Tr. 403:7-11 (examination of Respondent Rogers; Q: In your experience, the proposed

arrangement that [Rogers IIIs attorney] advises your son about would not be in the banks best

interest, would it? A: I wouldnt think so.); RD at 90. Despite this, it is uncontroverted that,

although Respondent Rogers abstained from participating in decisions related to loans to his sons

entities, Respondent Rogers never raised the information contained in the February 11, 2009 email




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with anyone at the Bank responsible for managing the lending relationship with Rogers III. See

RD at 91, 95, 98.

                    2. Griqualand Loans

   In April 2009, the L&D Committee approved a $3,234,688.90 loan to Griqualand, LLC

(Griqualand), a newly-formed entity in which Rogers III had a one hundred percent ownership

interest, for the purchase of foreclosed-upon Obra properties. See RD at 95-96. As reflected in

Bank records, the stated purpose of the loan was to purchase OREO property to develop and resell.

See OCC Ex. 349; see also RD at 96. The Bank did not require any equity contribution from

Griqualand or Rogers III, and it financed one hundred percent of the purchase price and an

additional $100,000 for development expenses. See RD at 96-97. Additionally, no appraisal was

conducted, no financial information on Griqualand was obtained or reviewed by the L&D

Committee, and to facilitate the sale, no personal guarantee was required by the Bank from the

borrower. See RD at 97; OCC Ex. 349 at 5. Although the assigned loan officer testified that she

was contemporaneously aware that foreclosed Obra properties were effectively being repurchased

by Rogers III through Griqualand, the loan package presented to the L&D Committee did not

disclose this information. See RD at 97; OCC Ex. 349 at 5. Rather, the package appears to actively

go out of its way to avoid making a connection to Rogers III, making only a single, oblique

reference to him, see RD at 97-98: Griqualands investors include a prominent homebuilder and

financier who have [sic] substantial experience as a developer and real estate investor, see OCC

Ex. 349 at 5.

   Regarding the L&D Committees knowledge of Rogers IIIs involvement with Griqualand and

Obras financial difficulties, the ALJ found the evidence to be inconclusive, stating the following.

       At the summary disposition stage, the undersigned concluded that it was a disputed
       question of material fact whether the other Board members had all relevant



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       information regarding Rogers IIIs ownership of Griqualand, including the
       financial difficulties experienced by Obra and his plan to reacquire the foreclosed
       assets without a personal guarantee, at the time that they approved the loan. The
       hearing did not do much to clarify mattersRespondents continue to assert that
       the Bank and L&D Committee knew of Rogers IIIs involvement, and
       Enforcement Counsel did not adduce any further evidence to resolve the question.
       It is also possible that full knowledge of the circumstances might have made
       individuals on the L&D Committee more likely to approve the loan, if they viewed
       Rogers III as a reliable borrower and saw the transaction as a way to remove
       encumbrances from the assets. Respondent Ortega, for instance, testified that a
       transaction in which the bank foreclosed and then resold the same assets back to
       the borrower in a new entity but with no personal guarantee would be risky and
       irrational if the Banks management was not familiar with the borrower, but that in
       this case we kind of knew [that] Mr. Rogers III was involved in this thing.

See RD at 98-99 (internal citations omitted) (emphasis in original) (alterations in original). The

ALJ focused primarily on Respondent Rogerss inaction, stating the following.

       In some sense, however, the L&D Committees actual knowledge of who owned
       Griqualand is immaterial. What matters is that Respondent Rogers was aware of
       the circumstances surrounding the Griqualand loan and yet did not take steps to
       ensure that the rest of the Committee members were fully informed, despite
       believing that the arrangement described in [Rogers IIIs attorneys] emailand in
       particular the lack of personal guarantee by a borrower currently experiencing
       financial difficulties and defaulted loanswould or could be harmful to the Bank.

See id. at 99. Finally, with respect to the matter of the L&D Committees general knowledge of

the information contained in the email, the ALJ found that L&D Committee members might have

known this information independently and incorporated it into their determination of whether the

Griqualand loan was in the Banks best interestbut Respondent Rogers did not see fit to ask.

See id. at 100.

                  3. Petro Icon Loans

   In or around January 2010, the L&D Committee approved loans of $421,437 and $20,229 to

Petro Icon, LLC (Petro Icon), of which Rogers III had recently purchased one hundred percent

ownership. See RD at 100. Through Petro Icon, Rogers III repurchased foreclosed-upon Obra

properties. See id. Prior to foreclosure, loans on the Obra properties had been backed by the



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personal guarantee of Rogers III. Id. at 100-01. However, the terms of the new loans to Petro Icon

were not backed by a personal guarantee and did not require any equity contribution from Petro

Icon or Rogers III. Id. at 101. Additionally, the loan packages did not contain any financial

information on Petro Icon, did not mention Rogers III by name or identify him as the companys

sole owner. Id. at 100-01; OCC Ex. 314 at 3, 7. Although Enforcement Counsel did not offer

additional evidence regarding the ratification of the Petro Icon loans, the ALJ found as follows:

       . . . there is no evidence that Respondent Rogers ever raised the matter of his sons
       ownership of Petro Icon with the L&D Committee members or expressed any
       concerns that the Petro Icon loan package omitted information that was pertinent to
       the Committees approval of the Petro Icon loansnamely that the loans would
       permit Rogers III to reacquire property that had just been foreclosed upon, at more
       favorable terms to Rogers III and less favorable terms to the Bank.

See RD 101-02.

                   4. Financial Losses

   The Bank suffered a $432,000 loss on the Griqualand loan on September 13, 2012. See RD at

103. Following the Banks failure in September 2013, the Griqualand loan was acquired by

PlainsCapital Bank (PlainsCapital), which ultimately charged off $110,000 of the loan, resulting

in an $88,000 loss to the FDIC as receiver pursuant to its loss-sharing agreement with

PlainsCapital. See id. Prior to the Banks failure, the Bank did not suffer a loss on the Petro Icon

loans, but pursuant to a loss-sharing agreement, the FDIC as receiver incurred $170,978 in

combined losses on the Petro Icon loans. Id.

           G. Other Factual Findings
   Included as part of the ALJs factual findings is a section titled, Additional Evidence Bearing

on Culpability, wherein the ALJ marshals the most salient examples of various pieces of

evidence in support of [Respondents] argument that they have not demonstrated a requisitely

culpable state of mind over the course of their alleged misconduct. See RD at 103. These examples



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include Respondents purported reputation among OCC examiners and Respondent Ortegas

health in February 2013. Id. at 103-05. It is unclear how much weight the ALJ assigned to any one

of these factual findings in connection with her culpability-prong analyses. See generally id. at

120-30, 146-52, 166-69, 173-74, 181-83.

     Enforcement Counsels Exception 4 asserts that The ALJ erred as a matter of law to

whatever extent she considered the factors discussed in the Additional Evidence Bearing on

Culpability section. See ECs Exceptions at 3. Enforcement Counsel argues that the culpability-

prong analysis requires an objective look at the misconduct, and what Respondents knew or

should have known at the time they engaged in it; that Respondents reputations before, during,

or after they engaged in misconduct are irrelevant; and that none of Respondent Ortegas Capital

Raise Loans or OREO lending misconduct at issue . . . occurred during or after his health suffered,

so that too, is irrelevant. See ECs Exceptions Br. at 61. The Comptroller agrees with Enforcement

Counsel that such factors are immaterial and should not have been assigned any weight pursuant

to the relevant legal standards stated at infra Part X.A.3. Enforcement Counsels Exception 4 is

adopted.33

     X.      CONCLUSIONS OF LAW

     In the Comptrollers assessment, the ALJ correctly stated the applicable legal standards. In

certain instances, however, the Comptroller concludes that the ALJ either misapplied those

standards to the facts or, despite having stated the correct standard, effectively applied some other

incorrect standard in the course of her analysis. In this part, the Comptroller reaches his




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  The Comptroller nonetheless considers certain of these factors, including Respondent Ortegas
health concerns, in connection with assessing the appropriateness of the civil money penalties
assessed. See infra Part X.E.

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independent conclusions of law and explains the extent to which his analysis either parallels or

diverges from the ALJs analysis.

           A. Capital Raise Strategy

   In connection with the Capital Raise Strategy, the ALJ concluded that Enforcement Counsel

had established the misconduct and effect prongs by a preponderance of the evidence but had not

so established the culpability prong. See RD at 108. The parties take various exceptions to these

conclusions. As discussed more fully below, the Comptroller disagrees, in part, with the ALJs

analysis and concludes that, in addition to establishing the misconduct and effect prongs,

Enforcement Counsel has amply established the culpability prong. The Comptroller therefore

issues orders of prohibition and assesses civil money penalties against both Respondents based on

charges arising from lending-related misconduct associated with the Capital Raise Strategy. The

Comptroller also assesses a civil money penalty against Respondent Ortega based on accounting-

related misconduct associated with the Capital Raise Strategy. The Comptroller adopts the ALJs

conclusions regarding the Capital Raise Strategy only to the extent consistent with the analysis set

forth herein.

           1. Misconduct

                a. Unsafe or Unsound Practices

   The ALJ concluded that, in connection with the lending-related misconduct associated with

the Capital Raise Strategy, Respondents engaged in unsafe or unsound practices, which include

any action or lack of action, which is contrary to generally accepted standards of prudent

operation, the possible consequences of which, if continued, would be abnormal risk or loss or

damage to an institution, its shareholders, or the agencies administering the insurance funds. See




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RD at 108; see also Adams, 2014 WL 8735096, at *11.34 In applying this standard, the ALJ

reasoned, inter alia, as follows. Respondents risked the Banks existing capital by approving

dozens of concessionary loans to potentially unqualified borrowers at a time when the Bank

urgently needed to increase its capital ratios and had represented to the OCC that virtually no

lending was occurring. See RD at 109. This jeopardized the Banks overriding priority to raise

new regulatory capital and generally placed the Bank in a more uncertain financial position than

it would have been without the loans. See id. at 110. Furthermore, the [l]ack of accurate

documentation and loose underwriting standards . . . increased the risk that the Capital Raise Loans

were being made to unqualified borrowers who were likely to default. See id. at 111. Respondents

also increased the risk to the Bank by failing to ensure that the unsecured Capital Raise Loan

portfolio was tracked and monitored for risk and that the loan proceeds themselves were accounted

for correctly, if not fully segregated from any funds to be downstreamed from the Holding

Company to the Bank as regulatory capital. See id. at 111-12. To make matters worse, the OCCs

ability to effectively supervise the Bank was impeded by Respondents failure to disclose the

Capital Raise Strategy. See id. at 112-13. Additionally, the $3 million to $17.3 million in Capital




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   Respondents Exception 25 asserts, The ALJ applied the wrong definition of unsafe or
unsound practice. See Respts Exceptions at 6. Some courts have required that an unsafe or
unsound banking practice have a reasonably direct effect on an institutions financial soundness,
see, e.g., Frontier State Bank v. FDIC, 702 F.3d 588, 604 (10th Cir. 2012); De La Fuente v. FDIC,
332 F.3d 1208, 1222 (9th Cir. 2003), while others have declined to impose that requirement, see,
e.g., Greene County Bank v. FDIC, 92 F.3d 633, 636 (8th Cir. 1996); Doolittle v. Natl Credit
Union Assoc., 992 F.2d 1531, 1538 (11th Cir. 1993). The ALJ correctly applied the legal standard
that the Comptroller analyzed extensively and reaffirmed in Adams, 2014 WL 8735096, and
Respondents offer no reason to depart from this precedent. In any event, in all instances in which
the Comptroller concludes that unsafe or unsound practices are established in connection with this
matter, the facts support such a conclusion under either standard. Respondents Exception 25 is
thus rejected.




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Raise Loan proceeds downstreamed to the Bank created reasonably foreseeable heightened risk to

the Bank by masking its true financial condition, by overstating its loan portfolio and capital

position, and by misleading regulators, investors, potential investors, shareholders, and depositors.

See id. at 114.

     The Comptroller concurs with the ALJ and adopts the conclusion that Respondents engaged in

unsafe or unsound practices in connection with the lending-related misconduct associated with the

Capital Raise Strategy.35 See In the Matter of Conover, 2016 WL 10822038, at *16 (FDIC Dec.

14, 2016) (Failure to properly underwrite a loan by accurately evaluating the borrowers ability

to repay constitutes an unsafe and unsound practice.); see also First State Bank of Wayne County

v. FDIC, 770 F.2d 81, 82 (6th Cir. 1985) (accord); In the Matter of Haynes, 2014 WL 4640797, at

*8 (FDIC July 15, 2014) (accord); In the Matter of Grubb, 1992 WL 813163, at *29 (FDIC Aug.

25,1992) (accord); In the Matter of the Stephens Security Bank, 1991 WL 789326, at *1 (FDIC

Aug. 9, 1991) (accord); In the Matter of Clark, 1991 WL 757819, at *2 (FDIC Jan. 29,1991)

(accord).

     Enforcement Counsels Exception 3a asserts that the ALJ committed legal error by not

concluding that Respondents failure to correct inaccurate loan purposes as documented in loan

packages constituted an unsafe or unsound practice. See ECs Exceptions at 2. Enforcement

Counsels Exception 3b asserts that the ALJ committed legal error when she did not conclude

that Respondents failure to disclose the Capital Raise Strategy to the OCC constituted an unsafe

or unsound practice. See id. at 2. The Comptroller agrees with Enforcement Counsel that these




35
   The ALJ did not reach a conclusion as to whether Respondents accounting-related misconduct
associated with the Capital Raise Strategy constituted unsafe or unsound practices. See RD at 172-
173. Enforcement Counsel did not take exception to this and the Comptroller declines to consider
this issue in the first instance.

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conclusions are supported by ample record evidence and the ALJs own factual findings. See RD

15, 25-26, 29-31, 112-17; Hrg Tr. 128:22-129:6, 150:15-151:4, 152:21-153:11 (examination of

Michael Brickman); Hrg Tr. 341:4-18, 336:13-339:8, 360:17-21, 328:8-20 (examination of

Respondent Rogers); Hrg Tr. 546:10-19, 547:1-3, 565:5-566:25 (examination of Respondent

Ortega); OCC Ex. 143; OCC Ex. 144; OCC Ex. 149 at 1-2; OCC Ex. 151 at 1-11; OCC Ex. 363

at 8-9; OCC Ex. 366 at 6; OCC Ex. 374 at 1; OCC Ex. 548 at 1. To the extent these conclusions

were not reached by the ALJ (they arguably were), the Comptroller readily concludes that

Respondents failures to correct inaccurate loan purposes as documented in Bank records and their

failure to disclose the Capital Raise Strategy to the OCC constituted unsafe or unsound practices.

See Dodge v. OCC, 744 F.3d 148, 151, 156-57 (D.C. Cir. 2014) (misrepresenting banks financial

condition to regulators is an unsafe or unsound practice); De La Fuente, 332 F.3d at 1224 (failing

to disclose relevant information to regulator can constitute an unsafe or unsound practice).

Enforcement Counsels Exceptions 3a and 3b are adopted.

               b. Breach of Fiduciary Duty

   The ALJ concluded that Respondents breached their fiduciary duty of care in connection with

lending-related misconduct associated with the Capital Raise Strategy. See RD at 116. The duty of

care requires that bank officers and employees act with the care that an ordinarily prudent and

diligent person would exercise under similar circumstances. See In the Matter of Watkins, 2019

WL 6700075, at *7 (FDIC Oct. 15, 2019). Furthermore, as Bank directors and officers,

Respondents were required to act in good faith and in a manner reasonably believed to be in the

banks best interests, see Ellsworth, 2016 WL 11597958, at *15, and to act diligently, prudently,

honestly, and carefully in carrying out their responsibilities, see Grubb, 1992 WL 813163, at *28.

This duty also demanded proper supervision of subordinates and constant concern for the safety




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and soundness of the bank. See RD at 116 (quoting Conover, 2016 WL 10822038, at *19). The

ALJ reasoned that Respondents fail[ed] to act prudently, diligently, and carefully in the course of

their own responsibilities; failed to properly supervis[e] the risky or imprudent decisions of

subordinates; approv[ed] and/or ratif[ied] loans with vague and/or misleading loan purposes,

given that Respondents knew or should have known that the purpose of the Capital Raise Loans

was to purchase Holding Company stock; failed to ensure that the Bank disclosed to the OCC

or its own outside accountants that it was financing dozens of purchases of Holding Company

stock at the time of the capital raise; and fail[ed] to ensure that the proceeds of the Holding

Company stock purchases were not downstreamed back to the Bank and improperly treated as new

regulatory capital. See RD at 116-17 (internal quotation marks omitted); see also Conover, 2016

WL 10822038, at *20 (Extending credit without adequate assurances of repayment constitutes a

breach of fiduciary duty.); Grubb, 1992 WL 813163, at *28 (stating that bank directors and

officers fiduciary duty requires a duty to investigate, verify, clarify, and explain). The

Comptroller concurs and adopts the conclusion that Respondents breached their fiduciary duty of

care in connection with lending-related misconduct associated with the Capital Raise Strategy.36

                c. Section 161(a)

     Banks are required to file with the OCC periodic Call Reports describing the banks financial

condition. See 12 U.S.C. § 161(a); see also Blanton, 909 F.3d at 1174. Call Reports must, inter

alia, accurately reflect the capital of the bank, see 12 U.S.C. § 1831n(a)(1)(A); see also Blanton,

909 F.3d at 1174, and the bank officer who signs the report must attest that it is true and correct




36
   The ALJ did not reach a conclusion as to whether Respondents accounting-related misconduct
associated with the Capital Raise Strategy constituted a breach of fiduciary duty. See RD at 172-
73. Enforcement Counsel did not take exception to this, and the Comptroller declines to consider
this issue in the first instance.

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to the best of his knowledge and belief, see 12 U.S.C. § 161(a). Call Reports must be prepared in

accordance with GAAP and the Call Report Instructions. See 12 U.S.C. § 1831n(a)(2)(A)

(providing that the accounting principles applicable to reports or statements required to be filed

with Federal banking agencies by all insured depository institutions shall be uniform and consistent

with generally accepted accounting principles); 12 C.F.R. § 304.3(a) (requiring that Call Reports

be filed in accordance with Call Report Instructions). Filing of materially inaccurate Call Reports

can give rise to a violation of § 161(a). See Blanton, 909 F.3d at 1174; Yates v. Jones Natl Bank,

206 U.S. 158, 176-77 (1907).

   The ALJ concluded that Respondents violated § 161(a), reasoning that Call Reports filed

between 2009 and 2013 overstated the Banks regulatory capital to whatever extent proceeds of

Capital Raise Loans were downstreamed from the Holding Company to the Bank, i.e., an amount

somewhere between $3 million and $17.3 million, and that Respondents did not have a reasonable

belief that Capital Raise Loan proceeds could be treated as new capital. See RD at 171. For the

same reasons stated by the ALJ, the Comptroller adopts the ALJs conclusion that Respondents

violated § 161(a). Again, as a result of Enforcement Counsels waiver of arguments as to certain

effect-prong predicates, this conclusion ultimately matters only as to Respondent Ortega and only

as to the assessment of civil money penalties against him. See Part III.A (discussing waiver of

charges by Enforcement Counsel).

               d. Respondents Exception 15

   The Comptroller now turns to Respondents Exception 15, which asserts:

       With respect to the Capital Raise Loans, the finding and conclusion that
       Respondents should not be banned from banking should be affirmed. However,
       insofar as the ALJ ruled against Respondents, any finding and conclusion that the
       Capital Raise Loans were an unsafe or unsound practice for which Respondents
       were responsible, were not accounted for correctly, were [a] breach of fiduciary




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       duty, or otherwise met the misconduct prong of the statute, was not supported by
       the evidence or applicable law.

See Respts Exceptions at 4.

   In support of this exception, Respondents reiterate several arguments that were rejected by the

ALJ as unpersuasive. First, Respondents argue that the [d]ownstreaming [a]llegation was not

proven. See Respts Exceptions at 98. The Comptroller agrees with the ALJ that this argument is

contradicted by record evidence and by Respondents own testimony. See RD at 114-15; see also

supra Part IX.C.5. Second, Respondents argue that the Capital Raise Loans were not required to

be used for stock and were not unsafe or unsound because [b]orrowers were free to use the loan

proceeds as they wished. See Respts Exceptions at 99. The Comptroller agrees with the ALJ

that this argument misunderstands the inquiry and concurs with her further assessment of this

argument:

       [A]s stated above, risking the Banks capital by making dozens of unsecured,
       poorly underwritten loansmany with demonstrably deceptive stated loan
       purposesat a time when the Banks need for capital was exigent, while
       representing to the OCC that the Bank had almost entirely curtailed its lending
       activity, would be unsafe and unsound if the loans were spent on jellybeans, lottery
       tickets, or anything else; this aspect of the Capital Raise Loans misconduct has very
       little to do with the actual capital raise.

See RD at 115 (emphasis original). Third, Respondents argue that the Capital Raise Loans were

not material and would not have had a significant impact on the Banks ratings, noting that

Enforcement Counsels expert accountant determined that, even if the full amount of Capital Raise

Loans were excluded from the Banks reported capital, the Bank would have achieved its IMCR.

See Respts Exceptions at 100. Again, the Comptroller agrees with the ALJ that this does not

alleviate the riskiness of the loan portfolio itself, let alone the Banks failure to track and monitor

the loans or to disclose to the OCC that Bank-financed stock purchases were a significant

component of the capital plan. See RD at 115. Fourth, Respondents argue that they should be



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excused from liability because they did not make the Capital Raise Loans but relied on the

expertise of the loan department and were not the ones responsible for how the loans were

characterized in the Banks records. See Respts Exceptions at 102-03. The Comptroller agrees

with the ALJ that Respondents did not fulfill their independent and affirmative responsibilities,

in their capacities as officers and directors of the Bank and members of the L&D Committee, to

ensure that the Banks lending decisions were appropriate and did not improperly increase the

Banks risk exposure. See RD at 116. Nor did Respondents fulfill their responsibilities to develop,

implement, and oversee the Banks capital strategy in a manner that did not expose the Bank to

inordinate risk. Id. Shifting blame to subordinates is not a colorable defense. See, e.g., In the

Matter of Leuthe, 1998 WL 438324, at *39 (FDIC Feb. 13, 1998) (noting that abdication of duty

by directors to officers is not a defense, and that Respondents duty as a board member, and

particularly as Chairman of the Board, was to monitor the activities of bank management, to ensure

compliance with laws, regulations, cease and desist orders and the Banks own loan policy.);

Rankin v. Cooper, 149 F. 1010, 1013 (C.C.E.D. Ark. 1907) (Directors cannot, in justice to those

who deal with the bank, shut their eyes to what is going on around them.). And Respondents

misconduct is no less actionable because others contributed to the Capital Raise Strategy. See

Landry v. FDIC, 204 F.3d 1125, 1139 (D.C. Cir. 2000) (concluding that the fact that others may

have been more guilty does not absolve respondent from responsibility for his actions).

   Respondents also assert that the Capital Raise [L]oans did not constitute an unsafe or unsound

practice or a breach of fiduciary duty. See Respts Exceptions at 103. They argue that these loans

were safe and sound given the borrowers . . . and the circumstances in the economy at the time

and that Respondents had been assured by loan officers that the loans presented good risks. See

id. at 103. Respondents further argue that there was no evidence that the loans were offered at




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below-market terms. Id. The Comptroller concludes that these arguments are strongly refuted by

ample record evidence, including numerous Bank records demonstrating that Capital Raise Loans

were frequently unsecured and offered at a uniformly low rate of 4.25 percent, while secured loans

were contemporaneously extended to the same borrowers at higher interest rates. See supra Part

IX.C.6. This strongly indicates that Capital Raise Loans were issued pursuant to a coordinated

effort to artificially inflate the Banks capital positions rather than on the strength of individual

credit determinations or assessments of borrowers ability to repay. Id.

   Finally, Respondents argue that Enforcement Counsel did not establish the accounting-related

misconduct associated with the Capital Raise Strategy. See Respts Exceptions at 100. Because

Enforcement Counsel has waived prosecution of certain charges and predicates thereof, see supra

Part III.A, this argument is only relevant as to Respondent Ortega and only with respect to the

assessment of civil money penalties based on a violation of § 161(a). The Comptroller concurs

with the ALJs determination that Enforcement Counsels experts offered credible testimony

supporting the conclusion that Respondents violated § 161(a). The Comptroller thus adopts the

ALJs conclusion that a violation of law is established as to Respondent Ortega in connection with

the Capital Raise Strategy.

   For these reasons, Respondents Exception 15 is rejected.

           2. Effect

   The ALJ concluded that the effect prong had been satisfied as to lending-related misconduct

associated with the Capital Raise Strategy. See RD at 117-18. The ALJ reasoned that on June 12,

2013 (a date that is less than five years prior to the issuance of the September 25, 2017 Notice),

the Bank recorded combined losses of $387,240.63 on two of the Capital Raise Loans and there

can be no serious disagreement that this loss occurred by reason of the alleged misconduct as the




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loans would not have been made were it not for Bank managements decision to finance the

purchase of Holding Company stock in this manner. See id. (internal quotation marks omitted);

see also 12 U.S.C. § 1818(e)(1)(B). Additionally, with respect to § 1818(i) charges against

Respondent Ortega based on accounting-related misconduct associated with the Capital Raise

Strategy, the ALJ concluded that Respondent Ortegas violation of 12 U.S.C. § 161(a) over the

course of several Call Reports, the effect of which continued into the five-year limitations period

window, was a pattern of misconduct sufficient to meet the standard for first- and second-tier civil

money penalty assessments under Section 1818(i) . . .. See RD at 174.37 The Comptroller adopts

these conclusions for the reasons set forth in the Recommended Decision. The Comptroller also

adds that the financial losses sustained by the Bank and the FDIC in its capacity as receiver for the

failed Bank, see supra Part IX.C.9 (finding that the FDIC as receiver suffered $3,808,058.28 in

losses when certain outstanding Capital Raise Loans were charged off), were wholly foreseeable

consequences of Respondents lending-related misconduct associated with the Capital Raise

Strategy, see supra Part IX.C.6-8. Nonetheless, Respondents Exceptions regarding effects

associated with the Capital Raise Strategy are addressed below.

               a. Respondents Exceptions Regarding Showing of Effects

     Respondents Exception 16 asserts the following, as relevant, the ALJs finding and

conclusion that the Bank suffered a loss (or otherwise triggered the effects prong) by reason of

the Capital Raise Loans was not supported by the evidence or applicable law. See Respts

Exceptions at 4. Dedicating only a few sentences to this assertion, Respondents argue that [t]he

problem with the ALJs conclusion that the effect prong was satisfied as to the lending-related


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  The Comptrollers discussion of charges based on accounting-related misconduct associated
with the Capital Raise Strategy is limited to first- and second-tier civil money penalties against
Respondent Ortega. See supra Part III.A (discussing waiver of various charges).

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misconduct associated with the Capital Raise Strategy is that the underlying transactions involved

no cash loss to the Bank, purportedly because the Bank received a note, which is an asset to the

Bank. See id. at 104. Respondents assertion is invalid. The Notice charged that the Bank suffered

financial loss by reason of Respondents misconduct, and Enforcement Counsel adduced evidence

establishing as much. See supra Part IX.C.9. Respondents Exception 16 is thus rejected.

   Respondents Exception 21 asserts that the ALJs finding and conclusion that Ortega

engaged in a pattern of misconduct with respect to accounting claims was without support and a

legal basis. See Respts Exceptions at 5 (internal quotation marks omitted). In support of this

exception, Respondents state, without further explanation, that there was no evidence presented of

a pattern of misconduct. See id. at 121. The Comptroller finds ample evidence establishing a

pattern of accounting-related misconduct spanning multiple years. See supra Part IX.C.5.

Respondents Exception 21 is rejected to the extent that it concerns the Capital Raise Strategy.

   Respondents Exception 26 asserts, The ALJ failed to consider the law of causation as part

of the effects analysis; Respondents further assert that the effects analysis incorporates both

but for and proximate causation. See Respts Exceptions at 6, 127-28. Although the ALJ did

not expressly state what causation standard was applied, as far as the Comptroller can tell, the ALJ

did not expressly reject the standards advanced by Respondents (i.e., actual and proximate

causation). Furthermore, the ALJs analysis of the effect prong as it relates to the lending-related

charges associated with the Capital Raise Strategy appears consistent with an actual and proximate

causation analysis. See, e.g., RD at 118. Assuming for purposes of the instant analysis that the

effect prong incorporates actual and proximate causation, the Comptroller concludes that it is

satisfied as to the lending-related charges associated with the Capital Raise Strategy. Respondents

argument that they did not legally cause loan losses since all of the loans at issue in this case had




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enough votes on the L&D Committee to be approved, with or without the Respondents, see

Respts Exceptions at 128, is unpersuasive, see e.g., Restatement (Second) of Torts § 439, cmt. b

(If the harm is brought about by the substantially simultaneous and active operation of the effects

of . . . the actors negligent conduct and [the] [wrongful] act of a third person . . . the conduct of

each is a cause of the harm, and both . . . are liable.). Respondents Exception 26, as applied to

the lending-related charges associated with the Capital Raise Strategy, is rejected.38

                b. Respondents Exception 1 as Applied to Capital Raise Strategy Charges

     Although rejected at supra Part V.B, the Comptroller here revisits Respondents Exception 1

and Respondents statute-of-limitations arguments as they relate specifically to the Capital Raise

Strategy. To recap the discussion at Part V.A, in a prior order entered in this matter, the

Comptroller issued the following: Interlocutory Ruling 1, which reaffirmed that the five-year

statute of limitations set forth at § 2462 does not begin to run until all factual and legal prerequisites

for filing a notice of charges are in place; Interlocutory Ruling 2, which reaffirmed that occurrences

of alternative effect predicates trigger accruals of separate claims; and Interlocutory Ruling 2a,

which clarified that because separate occurrences of effects trigger accruals of separate claims, an

action is timely if it is commenced within five years of the date of the last effect resulting from the

charged misconduct, even if there were an earlier occurrence of an effect of the type on which the

action is predicated.

     Respondents argue that the last date on which a Capital Raise Loan could have been made

was August 12, 2009. See Respts Exceptions at 43.39 According to Respondents, because



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   As applied to all other relevant charges, Respondents Exception 26 is deemed moot. See infra
Parts X.B.4, D.2.
39
   Although the Comptroller agrees that this is the last date on which the proceeds of a Capital
Raise Loan could have been downstreamed to the Bank, the Comptroller agrees with the ALJs
characterization of a Capital Raise Loan as a Bank loan used to purchase Holding Company

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Enforcement Counsel may seek a prohibition or civil money penalty when a loan is likely to cause

more than a minimal loss, or will probably suffer financial loss or other damage or when

depositors . . . could be prejudiced, the latest a claim could have first accrued was in 2009

i.e., at the time the last Capital Raise Loan was issued. See id. at 44-45. This argument is

unpersuasive. As frequently stated in these proceedings, [i]t is settled law . . . that it is meaningless

for limitations purposes that an agency could conceivably have brought its claim earlier based on

a different effect (and thus a different cause of action) that it did not plead. See RD at 118; see

also Blanton, 909 F.3d at 1172 ([E]ven though the OCC might well have brought an action earlier,

its failure to do so does not make the claims it elected to bring untimely. (internal quotation marks

omitted)); Proffitt, 200 F.3d at 863 (The same misconduct can produce different effects at

different times, resulting in separate section [1818(e)] claims and separate accruals.); id. at 864

(noting that § 1818 was intended to provide enforcement agencies with some flexibility when

determining when to bring actions). The charges arising from the Capital Raise Strategy are timely

pursuant to Interlocutory Ruling 1 and Interlocutory Ruling 2.

    Neither the lending-related charges against Respondents nor the accounting-related charges

against Respondent Ortega based on the Capital Raise Strategy require the application of

Interlocutory Ruling 2a to be deemed timely. With respect to the lending-related charges, it is

undisputed that the date of the earliest alleged financial loss associated with the Capital Raise

Strategy is June 12, 2013. See, e.g., Respts Exceptions at 44 (the OCC offered evidence and the

ALJ found that the effects prong of the statute was met on June 12, 2013, when the Bank suffered

a loss on one of the loans and when the FDIC suffered losses many years later on other Capital




stock, and thus finds record evidence showing that Capital Raise Loans were issued through March
2011. See RD at 30, 129-30.

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Raise Loans.) (citing RD at 42, 117-18). Because the record is devoid of evidence or allegations

concerning financial losses associated with the Capital Raise Strategy occurring prior to June 12,

2013, Interlocutory Ruling 2a is not at issue when it comes to assessing the timeliness of the Capital

Raise Strategy lending-related charges against Respondents. With respect to the accounting-related

charges against Respondent Ortega, Interlocutory Ruling 2a (which, again, contemplates separate

claims arising from separate occurrences of the same types of effects) is essentially built into the

statutory effect provided for at § 1818(i)(2)(B)(ii)(I) (requiring that misconduct be part of a

pattern) in that this effect is characterized by repeated occurrences of misconduct. In other words,

a claim accrued each time Respondent Ortega violated § 161(a) as part of a pattern of

misconduct. See Blanton, 909 F.3d at 1171. Thus, the accounting-related civil money penalty

charges against Respondent Ortega are not deemed timely through application of Interlocutory

Ruling 2a. For these reasons, and the reasons stated at infra Part V.B, Respondents Exception 1

is rejected.40

            3. Culpability

     For the Comptroller to impose an order of prohibition, Enforcement Counsel must establish a

degree of culpability well beyond mere negligence. See RD at 120 (quoting Kim, 40 F.3d at 1054).

The requisite culpability may be shown by evidence of continuing disregard for a banks safety

or soundness. See 12 U.S.C. § 1818(e)(1)(C). Continuing disregard is conduct that has been

voluntarily engaged in over a period of time with heedless indifference to the prospective

consequences. See Grubb v. FDIC, 34 F.3d 956, 962 (10th Cir. 1994). It is a mental state akin



40
   Respondents assert that because the [FDIC] receivership is still open and could book a loss
at any time, they still do not have repose. See Respts Exceptions at 45-46. However, the
Comptroller notes that the OCC cannot initiate an action against an IAP unless the notice of
charges is served before the end of the 6-year period beginning on the date such party ceased to
be such a party with respect to such depository institution. See 12 U.S.C. § 1818(i)(3).

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to recklessness. See Kim, 40 F.3d at 1054; Brickner v. FDIC, 747 F.2d 1198, 1203, n.6 (8th Cir.

1984). Recklessness is established by acts committed in disregard of[] and evidencing conscious

indifference to a known or obvious risk of a substantial harm. See Conover, 2016 WL 10822038,

at *27 (quoting Cavallari v. OCC, 57 F.3d 137, 142 (2d Cir. 1995)). It may also be demonstrated

through voluntary and repeated inattention to unsafe and unsound practices, or the knowledge

of and failure to correct clearly imprudent and abnormal practices that have been ongoing. See In

the Matter of Swanson, 1995 WL 329616, at *5 (OTS Apr. 4, 1995). The continuing aspect of

continuing disregard requires repetition of the misconduct, see id., over a period of time, see

Grubb, 34 F.3d at 962.

     The ALJ concluded that Enforcement Counsel had not carried its burden, reasoning, inter alia,

that while actionable misconduct certainly occurred, there is substantial evidencebacked by

credible testimonythat Respondents found themselves in a difficult and exigent situation with

no good solutions and that their actions were motivated by a good faith concern for the Bank and

its depositors during a time of crisis. See RD at 120. The ALJ further stated that [t]here is no

evidence that Respondents acted with recklessness or heedless indifference because

Respondents actions evinced good faith concern for the Bank . . . [and] they were taking steps,

in the moment, to improve the capital conditions of the Bank and the Holding Company at a time

when the Banks deficient capital levels were unsafe and unsound. See id. at 130.41

     Enforcement Counsel objects to the ALJs conclusion regarding Respondents culpability for

the Capital Raise Strategy. Enforcement Counsels Exception 1 asserts the following.




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   The ALJ considered whether Respondents demonstrated continuing disregard by evaluating
their conduct over the two periods before and after the Holding Companys second capital
injection. See RD at 129-30. The Comptroller does not deem such a bifurcation material to the
analysis here.

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       The ALJ committed legal error when she concluded that Enforcement Counsel did
       not meet its burden of showing that Respondents acted with necessary culpability
       to warrant a prohibitionnamely, that Respondents lending-related misconduct
       pursuant to the Capital Raise Loans scheme did not demonstrate their continuing
       disregard for the safety or soundness of [the Bank].

See ECs Exceptions at 2-3. Enforcement Counsel argues, inter alia, the following. In connection

with the Capital Raise Strategy, Respondents voluntarily engaged in repeated lending-related

misconduct by approving dozens of Capital Raise Loans despite being aware that the purposes of

such loans, as stated in loan packages presented to the L&D Committee, were misleading.

Respondents misconduct demonstrated heedless indifference in that it risked the Banks existing

capital by means of extending liberal and concessionary loans. Such loans were issued at a time

when the Bank urgently needed to increase its capital ratios and had represented to the OCC that

virtually no lending was occurring. Respondents further demonstrated their heedless indifference

by implementing a strategy that did not generate new capital and by failing to disclose the Capital

Raise Strategy to the OCC or to correct misleading Bank records regarding Capital Raise Loans.

See ECs Exceptions Br. at 27-41.

   The Comptroller finds merit in Enforcement Counsels arguments and concludes that the

Recommended Decision is internally inconsistent when it comes to Respondents culpability in

connection with the Capital Raise Strategy. The ALJs own findings and analysisincluding that

Respondents engaged in demonstrably deceptive practices, see RD at 115 (emphasis in original);

admitted habitual inattention, see id. at 123; and that the Capital Raise Strategy raised sham

capital using the Banks existing funds, see id. at 108conflict with and undermine her

conclusions elsewhere that Respondents acted in good faith or took steps to improve the capital

conditions of the Bank, see id. at 120, 130. Enforcement Counsel need not show that Respondents

intended to harm the Bank, see Conover, 2016 WL 10822038, at *26, as portions of the ALJs




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analysis seem to suggest. Respondents conduct was plainly deliberate and they knew or should

have knownas demonstrated by their contacts with the OCC regarding capital-raise efforts and

the Banks own policiesthat such conduct presented grave risks to the Bank. See supra Part

IX.C.6-7.

   To highlight what is perhaps the plainest demonstration of Respondents culpability, ample

record evidence, including Respondents own testimony, shows that despite being in virtually

continuous contact with the OCC and under an obligation to be fully transparent about the Banks

capital-raise efforts, Respondents participated in concerted efforts to conceal or misrepresent the

Capital Raise Strategy to the OCC and in Bank records. See supra Part IX.C.1, 4, 7; cf. Ellsworth,

2016 WL 11597958, at *17 (holding that respondents demonstrated continuing disregard by, inter

alia, withholding material information from . . . the OCC [and] . . . directing false Bank documents

to be created . . .); Conover, 2016 WL 10822038, at *26 (Respondents lack of candor with the

Bank . . . reflects . . . continuing disregard.); In the Matter of Shaffer, 2009 WL 1677055, at *6

(FDIC Apr. 23, 2009) (misrepresenting or failing to disclose facts to the Bank constitutes willful

and continuing disregard); In the Matter of De La Fuente II, 2004 WL 614659, at *5 (FDIC Feb.

27, 2004) (deliberate stepsincluding knowingly misrepresenting facts to the Bank's board and

to FDIC examiners . . . indicated willful and continuing disregard), affd, 156 F. Appx 44 (9th

Cir. 2005). No degree of exigency can justify this dishonesty. Enforcement Counsels Exception

1 is therefore adopted.

            B. OREO Strategy

   In connection with the § 1818(e) prohibition charges arising from the lending-related

misconduct associated with the OREO Strategy, the ALJ concluded that Enforcement Counsel had

established the misconduct and effect prongs by a preponderance of the evidence but had not so




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established the culpability prong. See RD at 131-32. With respect to the assessment of § 1818(i)

civil money penalties based on lending-related misconduct associated with the OREO Strategy,

the ALJ concluded that the statutory predicates supporting penalties had been met becauseas

she concluded in connection with her § 1818(e) analysisRespondents breached their fiduciary

duties and caused more than minimal loss to the Bank. See id. at 152. The ALJ did not find it

necessary to further resolve whether the charged alternative predicates supporting civil money

penalties based on lending-related misconduct associated with the OREO Strategy 42 had been

established. See id. Enforcement Counsel does not take exception to this aspect of the ALJs

analysis. Finally, the ALJ concluded that all elements required to support assessment of a civil

money penalty against Respondent Ortega for accounting-related misconduct associated with the

OREO Strategy had been satisfied. See id. at 174.

     As discussed more fully in the paragraphs below, the Comptroller adopts in part and rejects in

part the ALJs analysis regarding the OREO Strategy. As a result, the Comptroller dismisses the

lending-related charges against Respondents arising from the OREO Strategy but assesses a civil

money penalty against Respondent Ortega for accounting-related misconduct associated with the

OREO Strategy. The Comptroller concludes this subsection by addressing the merits of the parties




42
  Namely, the charged alternative predicates are, for purposes of the misconduct prong, whether
Respondents recklessly engaged in unsafe or unsound practices and, for purposes of the effect
prong, whether Respondents misconduct constituted a pattern of misconduct.

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exceptions to the ALJs conclusions concerning the OREO Strategy to the extent those exceptions

are not deemed moot.

           1. Misconduct

               a. Unsafe or Unsound Practices

     The ALJ concluded that Enforcement Counsel makes a more than sufficient showing that

Respondents engaged in unsafe or unsound practices with respect to the Banks OREO lending

during the relevant time period. See RD at 132. The ALJ reasoned that Respondents abdicated

their responsibilities as members of the L&D Committee and as Bank officers and directors by,

inter alia, failing to adequately review loan packages 43 and habitually relying solely on the

recommendations of loan officers to approve loans with incomplete documentation, inadequate

underwriting, and concessionary terms that foreseeably and unduly increased the Banks risk. See

id. More specifically, Respondents frequently approved loans greater than $500,000, including the

$56 million loan to NAHS, even when the loan packages did not contain detailed financial

documents regarding borrowers ability to repay, as required by the Banks loan policy, and the

terms of the loans were liberal or concessionary in that they, inter alia, required little to no down

payment or guarantees. See id. at 132-36. The Comptroller agrees with the ALJs analysis and




43
   Enforcement Counsels Exception 3c asserts that the ALJ committed legal error when she
failed to find that Respondents failure to adequately review loan packages constituted an unsafe
or unsound practice. See ECs Exceptions at 2. The Recommended Decision arguably reaches this
conclusion. See, e.g., RD at 132-36 (discussing Respondents failure to adequately review loan
documentation in connection with OREO Strategy analysis under heading, Approval without
Credit Review). In any event, the Comptroller finds ample evidence in support thereof. See id. at
14-15, 59, 132-35; Hrg Tr. 101:1-102:13 (examination of Michael Brickman), 646:1-12, 665:15-
666:1 (examination of Respondent Ortega), 1288:13-1289:8, 1314:3-14 (examination of Ramah
Chansen). Enforcement Counsels Exception 3c is thus adopted.

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adopts the conclusion that Respondents engaged in unsafe or unsound practices in connection with

lending-related misconduct associated with the OREO Strategy.44

                b. Breach of Fiduciary Duty

     The ALJ concluded that Respondents breached their fiduciary duty of care when they: (1)

approved risky loans to finance the sale of Bank OREO without any credit analysis to assess the

borrowers repayment ability; and (2) approved numerous [OREO] loans containing terms that

did not comply with the standards set forth in the Banks loan policy, which Respondents and the

rest of the Board approved annually as principles that are fundamental to sound lending. See

RD at 142 (quoting Joint Ex. 10 (2010 Loan Policy)). Although a close question is presented, the

Comptroller concludes that Enforcement Counsel did not satisfy its burden of proof as to this issue.

     It may often be the case that the outcomes of analyses of breach of fiduciary duty and unsafe

or unsound practices are parallel. However, having concluded at supra Part X.B.1.a that

Respondents lending-related misconduct associated with the OREO Strategy constituted unsafe

or unsound practices, the instant facts present the unique opportunity to highlight two important

points. First, breach of fiduciary duty and unsafe or unsound practices are separate tools that

Congress authorized the Federal banking agencies to utilize in prosecuting administrative

enforcement actions. Second, there are key differences between the standards underlying these two

predicates that can, as here, drive diverging outcomes. As previously discussed, an unsafe or

unsound practice is any action or omission which is contrary to generally accepted standards of

prudent operation, the possible consequences of which, if continued, would be abnormal risk or




44
   The ALJ did not reach a conclusion as to whether Respondents accounting-related misconduct
associated with the OREO Strategy constituted unsafe or unsound practices. See RD at 172-173.
Enforcement Counsel did not take exception to this and the Comptroller declines to consider this
issue in the first instance.

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loss or damage to an institution, its shareholders, or the agencies administering the insurance

funds. See Adams, 2014 WL 8735096, at *11. By comparison, an IAP breaches their fiduciary

duty when they fail to exercise the level of care that an ordinarily prudent and diligent person

would exercise under similar circumstances. See Watkins, 2019 WL 6700075, at *7 (emphasis

added). Thus, unlike the standard for unsafe or unsound practices, the standard of care relevant to

assessing breach of fiduciary duty is, on a case-by-case basis (at least to a certain extent45), tailored

to the IAPs particular situation and that of the institution.

     Bearing this in mind, the Comptroller concludes that the ALJ committed legal error by failing

to fully consider and give sufficient weight to the specific circumstances faced by Respondents at

the time relevant to the OREO Strategy.46 The ALJs analysis with respect to the culpability prong

did, however, discuss these circumstances in depth and that discussion highlights the lack of

comprehensiveness in the Recommended Decisions analysis of breach of fiduciary duty. The

Comptroller therefore views the culpability prong and breach of fiduciary duty analyses as

internally inconsistent and in need of reconciliation and correction. To that end, as explained

below, the Comptroller considers the relevant portions of the ALJs culpability-prong analysis and

applies this reasoning to the standard for breach of fiduciary duty. In doing so, the Comptroller

concludes that Enforcement Counsel did not carry its burden.




45
   The Comptroller is cognizant that this standard of care applies to individuals whose roles
ultimately affect the safety and soundness of the banking system. Accordingly, there are limits on
the extent to which this standard can be permitted to account for specific circumstances. It is not
necessary to further explore such limitations here.
46
   It is somewhat less clear that the ALJ committed a similar error in connection with the charges
associated with the Capital Raise Strategy because it is readily apparent that Respondents
deceptive and misleading conduct in connection with those charges is beyond the pale of ordinarily
prudent behavior, even under exigent circumstances. See supra Part IX.C.1, 4, 7.

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   In support of the conclusion that Respondents did not demonstrate the requisite culpability, the

ALJ cited, as relevant, the following. It is uncontroverted that the OCC expressed to the Bank the

urgent need to sell its OREO and that the OCC initially approved of the Banks aggressive efforts

to do so through self-financing. See RD at 147. In light of the substantial monthly costs of

maintaining [OREO] properties, the deterioration of the value of the properties due to market

conditions, and the fact that more new ORE was continuing to flood the Banks books each

month, holding existing OREO for a sustained period was not an option. See id. at 146-47. In

short, taking measures to constantly sell existing OREO quickly was potentially a matter of life

and death for the Bank from the fall of 2008 onward. See id. at 147. With respect to the possibility

of lowering the asking price of the properties or finding qualified buyers with financing from other

banks, both the record and the weight of the testimony suggest that, at the time, these would not

have been easy or clear-cut choices, and Respondents and other Bank personnel offered credible,

detailed rationales for not pursuing those alternate paths that were not refuted by Enforcement

Counsel witnesses. See id. The OCCs 2012 Report of Examination also acknowledged the

Banks difficult position, stating The level of OREO continues to grow. Holding costs and losses

on sales are severely impacting earnings. OREO volume must be reduced. See id. at 149 (quoting

Joint Ex. 6 at 4). And even though Respondents approved loans without first obtaining adequate

documentation, see supra Part IX.D.1, they based their lending decisions in part on their personal

knowledge of the prospective borrowers, see RD at 149-50. Finally, without necessarily sharing

the perspective, the ALJ recognized as broadly reasonable the view that in the specific climate

faced by the Bank at the time[,] reducing the Banks OREO was important and urgent enough that

considerations of future risk of default and foreclosure mattered somewhat less when taking steps

to achieve that aim. See id. at 151 (emphasis added).




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     To reiterate, the record reflects that Respondents violated Bank policies in approving

concessionary loans in connection with the OREO Strategy; failed to obtain adequate

documentation demonstrating borrowers repayment abilities; and failed to adequately review loan

packages. See supra Part IX.D.1, 3. These findings are sufficient to establish unsafe or unsound

practices and, in many instances, would be sufficient to establish breach of fiduciary duty.

However, the Comptroller finds no error in or basis to depart from the ALJs characterization of

the circumstances facing Respondents at the time relevant to the OREO Strategy, and it is against

this backdrop that Respondents acts or omissions must be evaluated. As probative of the issue of

whether Respondents exercised ordinary prudence under the circumstances, the Comptroller

considers the following. The OCC was contemporaneously aware that the loans associated with

the OREO Strategy violated the Banks loan policy and nonetheless initially described the Banks

OREO Strategy as achieving favorable results. See supra Part IX.D.2. There was detailed and

credible testimony to the effect that the OREO Strategy, considered as a whole,47 reflected

Respondents consideredif ultimately imprudentselection among various undesirable options.

See e.g., RD at 147.48 In view of these findings and, importantly, the ALJs recognition that

Respondents efforts in connection with the OREO Strategy were broadly reasonable under the

circumstances, the Comptroller concludes that, although a close question is presented, on balance,



47
   Except for the NAHS loan, the parties arguments surrounding the lending-related charges
associated with the OREO Strategy generally treat alleged features of the strategy and associated
losses in the aggregate. Although the Comptroller is entitled to conduct a de novo review,
considering the volume and complexity of the record in this matter, the Comptroller declines to
examine individual loans underlying the OREO Strategy to determine whether a prohibition would
be warranted against either Respondent in connection with individual loans. Instead, mirroring the
parties presentation of arguments and ALJs analysis, the Comptroller examines the OREO
Strategy overall, using the NAHS loan as an exemplar.
48
   By contrast, Respondents misconduct in connection with the Capital Raise Strategy involved
calculated and covert efforts to raise sham capital through the proceeds of uniformly lenient loans.
See supra Part IX.C.

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Enforcement Counsel has not established by a preponderance of the evidence that Respondents

lending-related conduct in connection with the OREO Strategy rose to the level of breach of

fiduciary duty.

     This analysis does not diminish the gravity of Respondents OREO Strategy misconduct. As

previously stated, the Comptroller has no difficulty concluding that Respondents acts and

omissions in connection with the OREO Strategy constituted unsafe or unsound practices. When

evaluated against the body of generally accepted standards of prudent operation, Respondents

conduct clearly does not measure up and presented abnormal risk of loss. Rather, as warranted in

this particular matter, the Comptrollers analysis recognizes and gives meaningful effect to

different statutory predicates underlying the misconduct prong. To put a finer point on it, because

the breach-of-fiduciary-duty inquiry involves measurement against the level of care of an

ordinarily prudent and diligent person under similar circumstances, efforts that may be validly

characterized as broadly reasonable under the circumstances cannot, as a matter of law,

constitute a breach of fiduciary duty. Finding no basis to depart from the ALJs factual findings

supporting such a characterization, the Comptroller concludes that Respondents lending-related

misconduct associated with the OREO Strategy does not constitute a breach of fiduciary duty

based on the record here and the credibility determinations made at the hearing.49

                  c. Section 161(a)

     The ALJ concluded that Respondents violated § 161(a) in connection with accounting-related

misconduct associated with the OREO Strategy. See RD at 171-72. The ALJ credited the finding




49
   The ALJ did not reach a conclusion as to whether Respondents accounting-related misconduct
associated with the OREO Strategy constituted a breach of fiduciary duty. See RD at 172-173.
Enforcement Counsel did not take exception to this and the Comptroller declines to consider this
issue in the first instance.

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of Enforcement Counsels accounting expert that the Bank had improperly accounted for its

OREO sales . . . by failing to discount loans with below-market interest rates to their present value

of future cash flows and that this materially overstated the Banks earnings and capital. See id.

The ALJ reasoned that the MRAs issued by the OCC in 2009 and 2011 and the Banks own Market

Rate Matrix should have alerted Respondents that the Bank was not correctly accounting for loans

associated with the OREO Strategy. See id. at 172. The Comptroller agrees and adopts the ALJs

conclusion.50

                d. Respondents Exception 17

     Respondents object to the ALJs conclusions regarding misconduct associated with the OREO

Strategy. Respondents Exception 17 asserts the following: the ALJs finding and conclusion

that the OREO Loans were an unsafe or unsound practice . . . were accounted for incorrectly, were

a breach of fiduciary duty or otherwise met the misconduct prong . . . was not supported by the

evidence or applicable law. See Respts Exceptions at 4. In support of this exception,

Respondents reiterate various arguments raised below: Respondents were not loan officers and

appropriately relied on the expertise of lenders and credit staff; Respondents reasonably believed

that OCC examiners knew of and concurred with the Banks OREO Strategy; and loans associated

with the OREO Strategy were not proven to be unsafe or unsound because the evidence did not

establish that such loans were offered at below market interest rates and because OREO loans

created a benefit to the Bank by generating cash from a money losing asset. See Respts

Exceptions at 105-08. Respondents also argue that because Enforcement Counsel did not adduce

sufficient evidence showing that loans associated with the OREO Strategy were offered at below



50
   Again, due to Enforcement Counsels waiver of certain effect-prong predicates, this conclusion
ultimately matters only as to Respondent Ortega and only as to the assessment of civil money
penalties against him. See supra Part III.A.

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market terms, the ALJ erred by concluding that accounting-related misconduct was established.

See RD at 110-12.

   The Comptroller agrees with the ALJ that [n]one of Respondents arguments change the

conclusion that the Banks OREO lending practices . . . foreseeably increased the risk to the Bank

by offering consistently liberal loan terms to borrowers who had not demonstrated the ability to

service the debt. See id. at 140. Moreover, a finding of unsafe or unsound practices . . . does not

depend on whether, for example, the interest rates on an OREO loan were lower than some market

rate baseline, but on whether the terms of the loan overall posed a reasonably foreseeable undue

risk to the institution. See id. (internal quotation marks omitted). The Comptroller has already

rejected Respondents argument grounded in their reliance on loan officers and does so again here.

See supra Part X.A.1.d. With respect to accounting-related misconduct associated with the OREO

Strategy, the Comptroller finds ample evidenceincluding the Banks own Market Rate Matrix

and contemporaneous OCC Reports of Examinationestablishing that loans associated with the

OREO Strategy were offered on below-market terms. See RD at 172; see also Joint Ex. 2 at 12;

Joint Ex. 4 at 47-48, 81; OCC EX 343 at 5, 8, 20. Accordingly, to the extent Respondents

Exception 17 objects to the ALJs conclusions regarding unsafe or unsound practices or violations

of § 161(a), it is rejected. And to the extent Respondents Exception 17 objects to the ALJs

conclusions regarding breach of fiduciary duty in connection with OREO Strategy lending-related

misconduct, it is deemed moot in light of the Comptrollers independent analysis and conclusion

that Enforcement Counsel has not satisfied its burden of establishing breach of fiduciary duty. See

supra Part X.B.1.b.




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            2. Culpability

     Once actionable misconduct has been established, the Comptroller may proceed to

consideration of either the effect prong or the culpability prong, as each course inquires as to

features of the underlying misconduct. See 12 U.S.C. § 1818(e)(1)(B)-(C). In the interest of

administrative economy, the Comptroller now takes up the culpability prong. Again, for purposes

of the instant matter, the relevant inquiry asks whether Respondents lending-related misconduct

demonstrated continuing disregard for the safety or soundness of the Bank. See supra Part III.A

(discussing waiver of certain culpability predicates). The ALJ concluded that Enforcement

Counsel had not met its burden in this regard. See RD at 146. She reasoned that there is credible

testimony and substantial record evidence that, in aggressively financing the sale of OREO to

remove it from the Banks balance sheet, Respondents believed they were acting in the Banks

best interest in the face of an unprecedented crisis. See id. She further reasoned that there is

substantial evidence that the OREO lending strategy was undertaken, even if misguidedly in the

details, with the Banks well-being firmly in mind and that [o]verall, Enforcement Counsel has

not proven that Respondents showed a degree of culpability well beyond mere negligence in their

actions relating to the sale of OREO during the relevant period. See id. at 152 (internal quotation

marks omitted).51

     Enforcement Counsel objects to this conclusion. Enforcement Counsels Exception 2 asserts

that [t]he ALJ committed legal error when she concluded that . . . Respondents lending-related

misconduct pursuant to the [OREO Strategy] did not demonstrate their continuing disregard for

the safety or soundness of the Bank. See ECs Exceptions at 2. In support of this exception,




51
   Additional reasons supporting the ALJs conclusion regarding the culpability prong are quoted
at length at Part X.B.1.b and will not be repeated here.

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Enforcement Counsel argues, inter alia, the following. It was improper for the ALJ to consider

whether Respondents believed they were acting in the Banks best interests, or that they did not

intend to harm the Bank and to measure Respondents culpability against the backdrop of the

difficult and exigent economic circumstances. See ECs Exceptions Br. at 55-56 (internal

quotation marks omitted). Additionally, Enforcement Counsel contends that the ALJs conclusion

allow[s] the bar for bankers conduct to fluctuate with the overall state of the economy and that

during economic crises, bankers could engage in all manner of unsafe or unsound practices,

secure in the knowledge that their conduct would not meet the culpability requirement due to the

exigent economic circumstances. See id. at 56.

   To an extent, the Comptroller agrees with Enforcement Counsels arguments. Enforcement

Counsel is correct that the continuing-disregard inquiry has little to do with what Respondents

subjectively believed but more appropriately examines whether Respondents knew or should

have known that their conduct exposed the Bank to an abnormal risk of loss and, if so, whether

they proceeded anyway. See Conover, 2016 WL 10822038, at *24. Enforcement Counsel is also

correct that neither economic crisis nor exigency may shield IAPs from the panoply of actions

available to Federal banking agencies. That said, the existence of crisis or exigency can be

probative of what Respondents knew or should have known about their lending-related OREO

Strategy misconduct when it occurred.

   The Comptroller agrees with Enforcement Counsel that there can be no serious doubt that

Respondents lending-related misconduct constituted unsafe or unsound practices and was

repeatedly and voluntarily engaged in over a period of time. This, however, is insufficient to meet

the scienter requirement of continuing disregard. To reiterate, Enforcement Counsel needed to

establish that Respondents conduct rose above the level of ordinary negligence and amounted to




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something akin to recklessness. See Kim, 40 F.3d at 1054. For largely the same reasons that led

the Comptroller to conclude that Enforcement Counsel did not establish that Respondents conduct

constituted breach of fiduciary duty, the Comptroller now concludes that Enforcement Counsel

did not establish that Respondents acted with the requisite scienter for continuing disregard. As

previously stated, the Comptroller finds significant the following. The ALJ characterized

Respondents approaches, at least in theory, as broadly reasonable, see RD at 151; the OCC was

contemporaneously and broadly aware of the OREO Strategy and, at least in its early years,

described the strategy in approving terms, see supra Part IX.D.2; and there is evidence to the effect

that the OREO Strategy reflected Respondents consideredif ultimately imprudentselection

among various undesirable or infeasible options, see e.g., RD at 147; see also Haynes, 2014 WL

4640797, at *13 (violations must be more than technical or inadvertent to satisfy the culpability

standard (internal quotation marks omitted)). On balance, the Comptroller concludes that

Enforcement Counsel did not carry its burden of proving by a preponderance of the evidence that

Respondents knew or should have known that their misconduct exposed the Bank to an abnormal

risk of loss.

    As a final note on this issue, while the ALJ in some respects treats the Capital Raise Strategy

and OREO Strategy culpability-prong analyses as adjoined, the Comptroller observes material

distinctions between the mental states underlying these separate sets of misconduct. Most

obviously, Respondents misconduct in connection with the Capital Raise Strategy is grounded in

deliberate falsityboth in the efforts to raise sham capital and in the efforts to conceal or

misrepresent the strategy in communications with the OCC and in Bank records. See supra Part

IX.C.3-5, 7-8. Such falsity, which is a strong indicator of continuing disregard for the Banks

safety or soundness, is not present in the record in connection with the OREO Strategy.




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   For these reasons, Enforcement Counsels Exception 2 is rejected.

           3. Section 1818(i)

   With respect to Respondents lending-related misconduct in connection with the OREO

Strategy, the ALJ recommended the assessment of civil money penalties based, in part, on her

conclusion that the misconduct prong of § 1818(i) was satisfied because Respondents had breached

their fiduciary duties of care; she then concluded that it was not necessary to further resolve

whether Respondents actions meet the standard for reckless engagement [in] unsafe or unsound

practices . . .. See RD at 152. The Comptroller disagrees with the ALJs conclusion regarding the

establishment of breach of fiduciary duty in connection with the lending-related misconduct

associated with the OREO Strategy, see supra Part X.B.1.b, and declines to consider in the first

instance whether Respondents recklessly engaged in unsafe or unsound practices. Because the

misconduct-prong underlying § 1818(i) lending-related charges against Respondents in

connection with the OREO Strategy has not been satisfied, the Comptroller dismisses such

charges.

   With respect to the accounting-related misconduct underlying the OREO Strategy, the ALJ

recommended assessing a civil money penalty against Respondent Ortega based on conclusions

that he violated § 161(a) and that such misconduct was part of a pattern that continued into the

five-year statute-of-limitations window. See RD 174. The Comptroller adopts these conclusions.

To the extent that Respondents Exception 21 challenges that Respondent Ortega engaged in a

pattern of accounting-related misconduct in connection with the OREO Strategy, this exception is

rejected. To the extent that Respondents Exception 1 challenges the timeliness of the accounting-

related OREO Strategy charges, this exception is rejected for the same reasons discussed in

connection with the accounting-related Capital Raise Strategy charges. See supra Part X.A.2.b.




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The Comptroller thus assesses first- and second-tier civil money penalties against Respondent

Ortega based on his accounting-related misconduct in connection with the OREO Strategy.

           4. Respondents Exception 18

   The Comptroller dismisses the § 1818(e) prohibition charges and § 1818(i) civil-money-

penalty charges against Respondents based on lending-related misconduct associated with the

OREO Strategy because certain necessary elements have not been satisfied. Thus, Respondents

Exception 18, which asserts that the ALJs finding and conclusion that the Bank suffered a loss

(or effect) by reason of the OREO Loans was not supported by the evidence or applicable law,

see Respts Exceptions at 5, is deemed moot.

           C. Nonaccrual Loan Accounting Practices

   The ALJ recommended that the Comptroller assess first- and second-tier civil money penalties

against Respondent Ortega in connection with the accounting treatment of nonaccrual loans based

on her conclusions that Respondent Ortega violated § 161(a) and breached his fiduciary duty of

care, and that such misconduct was part of a pattern. See RD at 152-53, 168-69. For the reasons

discussed below, the Comptroller adopts these conclusions and assesses first- and second-tier civil

money penalties against Respondent Ortega.

           1. Misconduct

           a. Section 161(a)

   The ALJ concluded that the Bank filed materially inaccurate Call Reports from June 30, 2009

through December 31, 2012. See RD at 154. She reasoned that the reports inappropriate[ly]

recogni[zed] interest income on nonaccrual loans on a blanket basis without documentation or

justification, and thus improperly overstat[ed] the Banks earnings and capital for those periods.

See id. It is beyond dispute that the Banks practice of automatically recognizing interest income




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on loans that have been placed on nonaccrual statuswithout a determination of full collectability

supported by a current, well documented credit evaluationis contrary to the Call Report

Instructions and to GAAP. See id. at 154-55 (internal quotation marks omitted). All Call Reports

filed during the relevant timeframe reflected this practice and are thus inarguably inaccurate.

See id. at 155. These inaccuracies were qualitatively material because, inter alia, they implicated

considerationsincluding compliance with regulatory requirements, masking changes in

earnings, and changing loss into incomefound in SEC Accounting Bulletin No. 99, Materiality

(SAB 99) and because the applicable Call Report Instructions noted that [g]uidance on the

consideration of all relevant facts when assessing the materiality of misstatements could be found

in SAB 99. See id. at 157-59 (quoting OCC Ex. 359 at 380).

   Respondent Ortega signed multiple Call Reports in question even though he did not have a

reasonable basis to believe in the accuracy of the Banks nonaccrual loan accounting due to

repeated warnings from the OCC and the Banks internal auditor that treating all nonaccrual loans

on a cash basis as a general rule did not comply with the Call Report Instructions. See RD at 154;

see also id. at 161. More specifically, the nonaccrual loan accounting issue was raised with Bank

senior management three times by the Banks Chief Audit Officer (in June 2009, October 2012,

and December 2012) and three times by the OCC (in January 2009, February 2011, and January

2012). See id. at 161.

   The Comptroller agrees with the ALJ and adopts the conclusion that Respondent Ortega

violated § 161(a) in connection with Nonaccrual Loan Accounting Practices.

           b. Breach of Fiduciary Duty

   The ALJ reasoned that Respondent Ortega breached his fiduciary duty of care by failing to

address the Banks improper nonaccrual loan accounting from 2009 through 2012 and instead




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permitting the Bank to apply a default method that he knew or should have known would result in

improperly recognized interest income and inaccurate Call Reports. See RD at 162. She further

reasoned that this did not demonstrate constant concern for the safety and soundness of the bank,

and is not what an ordinarily prudent person, acting diligently and carefully, would have done in

those circumstances. See RD at 162 (internal quotation marks omitted); see also Conover, 2016

WL 10822038, at *19; Watkins, 2019 WL 6700075, at *7; Michael v. FDIC, 687 F.3d 337, 350-

51 (7th Cir. 2012). The Comptroller concurs and adopts the ALJs conclusion.

           c. Unsafe or Unsound Practices

   The ALJ also concluded that Respondent Ortega engaged in unsafe or unsound practices in

connection with Nonaccrual Loan Accounting Practices, reasoning as follows.

       The federal banking agencies have held that fiduciary duties define standards of
       prudent operation[,] and thus an act in violation of such duties is by its nature
       imprudent and unsafe. To whatever extent those standards are not coextensive here,
       the undersigned finds it unnecessary to determine whether Respondents failure to
       ensure that the Bank corrected its improper nonaccrual loan accounting practices
       caused a reasonably foreseeable undue risk to the institution, given the clear
       evidence that Respondents conduct constituted a violation of 12 U.S.C. § 161(a)
       and a breach of their fiduciary duty, as detailed above.

See RD at 162 (internal quotation marks and citations omitted; alteration in original).

   The Comptroller declines to adopt this analysis. The Comptroller did not issue any of the

administrative decisions cited for the proposition that misconduct constituting breach of fiduciary

duty necessarily constitutes unsafe or unsound practices. Having highlighted the distinctions

between the two standards at supra Part X.B.1, the Comptroller hesitates to conclude, as a matter

of law, that misconduct constituting a breach of fiduciary duty is, in every instance, also an unsafe

or unsound practice. While this might often hold true in some (if not most) situations, the

Comptroller sees no reason to rule out the possibility of a scenario in which, for example, an IAP

possesses such special knowledge, skills, or expertise that a higher degree of care than generally



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accepted standards of prudent operation would be required under the breach-of-fiduciary-duty

standard. Rather, the Comptroller declines to accept the ALJs recommended conclusion for failure

to apply the correct unsafe-or-unsound-practices standard and declines to conduct the requisite

analysis in the first instance.

            d. Respondents Exception 19

    Respondents object to the ALJs conclusions that the misconduct prong is established in

connection with Nonaccrual Loan Accounting Practices. Respondents Exception 19 asserts, as

relevant that the ALJs finding and conclusion that the nonaccrual loan accounting was an unsafe

or unsound practice, the loans were not accounted for correctly, or otherwise met the misconduct

prong of the statute, was not supported by the evidence or applicable law. See Respts Exceptions

at 5. In support of this exception, Respondents, inter alia, reiterate the following arguments, which

were first presented to and rejected by the ALJ. First, the Bank took a sound, conservative

approach of automatically mov[ing] loans into non-accrual/cash basis accounting after the loan

fell behind more than 90 days and that it was the responsibility of credit/lending employees,

rather than Respondent Ortega, to further downgrade the loan if necessary. See Respts

Exceptions at 114. The Comptroller agrees with the ALJ and Enforcement Counsel that the

question of whether a loan should be placed on nonaccrual status in the first place is separate from

the question of, once a loan is on nonaccrual status, how a bank must account for interest on that

loan and what a bank must do to support its accounting choice. See RD at 155 (quoting

Enforcement Counsels Post-Hrg Reply Br. at 18 (emphasis original)). Second, Respondents

assert that the loans at issue were fully secured with solid appraisals and, thus, the Bank was

entitled to use cash-basis accounting. See Respts Exceptions at 116. The Comptroller again

agrees with the ALJ that Respondents never offered evidence of appraisals and, in any event, they




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misstate the standard: banks may not accrue interest on loans in nonaccrual status unless the loans

are both well secured and in the process of collection. See RD at 155-56 (quotation marks

omitted) (emphasis original). Respondents Exception 19 is rejected.

            2. Effect

     In connection with recommending the assessment of a second-tier civil money penalty against

Respondent Ortega, the ALJ concluded that Respondent Ortegas failure to address the Banks

improper nonaccrual loan accounting practices from 2009 through 2012, and his signing of

multiple Call Reports during that time that he knew or should have known improperly recognized

interest income on nonaccrual loans, constitutes a pattern of misconduct. See RD at 170. As

relevant, Respondents Exception 20 and Respondents Exception 21 challenge the conclusion

that Respondent Ortega engaged in a pattern of misconduct with respect to Nonaccrual Loan

Accounting Practices. In support of these exceptions, Respondents present arguments that have

already been addressed and dismissed by the Comptroller. To the extent they challenge the

existence of a pattern of misconduct, Respondents Exception 20 and Respondents Exception 21

are rejected. The Comptroller concurs with the ALJs reasoning and adopts her conclusion as to

this issue.52

            D. Loans to Rogers III Entities

     The ALJ recommended that the Comptroller impose an order of prohibition and assess a

second-tier civil money penalty against Respondent Rogers based on her conclusions that he

breached his fiduciary duty to the Bank, thereby satisfying the misconduct prong; that, by reason


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  To the extent that Respondents Exception 19 and Respondents Exception 20 challenge the
ALJs conclusions, in connection with Nonaccrual Loan Accounting Practices, that the misconduct
prong was established as to Respondent Rogers; that unsafe or unsound practices were established
as to Respondent Ortega; or that the culpability prong was established as to Respondents, these
exceptions are deemed moot. See supra Part III.A, X.C.1.c.



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of this misconduct, the receivership recorded financial losses, thereby satisfying the effect prong;

and that, for purposes of recommending an order of prohibition, Respondent Rogers acted with the

requisite culpability. See RD at 174-83. As explained more fully below, the Comptroller agrees

with the ALJ that that Respondent Rogerss conduct constituted a breach of fiduciary duty but

disagrees with the conclusion that Enforcement Counsel carried its burden of establishing the

effect prong. Accordingly, the Comptroller dismisses the charges against Respondent Rogers

based on Loans to Rogers III Entities.

           1. Misconduct

   The ALJ correctly stated that Respondent Rogers owed the Bank a fiduciary duty of loyalty

that required him to avoid conflicts of interests and to act solely for the [Banks] benefit. See

RD at 175 (alteration in original) (quoting Ellsworth, 2016 WL 11597958, at *15). The duty of

candor is a crucial component of the duty of loyalty and requires fiduciaries to disclose to the

bank everything they know about transactions in which they hold a personal financial (or familial)

interest, even if not asked. See RD at 175 (internal quotation marks omitted); see also De La

Fuente, 332 F.3d at 1222 (recognizing that the duty of candor requires a corporate fiduciary to

disclose everything he knew relating to the transaction, even if not asked); In the Matter of

Sapp, 2019 WL 5823871, at *14 (FDIC Sept. 17, 2019); Conover, 2016 WL 10822038, at *19; In

the Matter of Williams, 2015 WL 3644010, at **8-9 (FDIC Apr. 21, 2015). Omissions are

sufficient to trigger a violation of this duty, see In the Matter of Smith and Kiolbasa, 2021 WL

1590337, at *15 (FRB Mar. 24, 2021), and [s]imply abstaining from voting on the transaction in

question is not enough, see RD at 176.

   The ALJ reasoned that Respondent Rogers failed to put the Banks interests above the

interests of his son when he allowed the L&D Committee to approve the Griqualand and Petro




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Icon loans without disclosing his sons involvement and the circumstances of the Obra Homes

defaults, or at least making sure that Committee members were suitably apprised. See RD at 176.

Respondents arguments to the contrary are unavailing. Respondents Exception 22 asserts that

The finding and conclusion that the loans to companies controlled by David Rogers III were a

breach of fiduciary duty was not supported by the evidence and the ALJ misapplied the law. See

Respts Exceptions at 5. Respondents argue that because Respondent Rogers abstained from

voting on the loans at issue and Rogers III went through normal channels to do business with the

Bank, Respondent Rogers did not breach his fiduciary duties. See Respts Exceptions at 121-22.

However, as the ALJ correctly reasoned, Respondent Rogers had a duty to disclose all that he

knew about the transaction, even if not asked. Respondents Exception 22 is rejected, and the

Comptroller adopts the ALJs conclusion that Respondent Rogers breached his fiduciary duty to

the Bank. See Conover, 2016 WL 10822038, at *20 (Respondents failure to candidly disclose

the nature of the Banks extensions of credit breached his duty of care.); Haynes, 2014 WL

4640797, at *12 (lack of candor with loan committee breached duty of care); In the Matter of

Friese, 2012 WL 7186316, at *1 (FDIC July 20, 2012) (concealment of conduct from bank board

breached fiduciary duty); In the Matter of Landry, 1999 WL 440608, at *12 (FDIC May 25, 1999)

(officers failure to disclose personal interests in transactions breached fiduciary duties), aff'd, 204

F.3d 1125 (D.C. Cir. 2000).

            2. Effect

    The ALJ concluded that the effect prong was satisfied because various losses to the

receivership associated with Loans to Rogers III Entities occurred by reason of Respondent

Rogerss breach of fiduciary duty. See RD at 179 (quoting 12 U.S.C. § 1818(e)(1)(B)), 183




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(reaching conclusion as to § 1818(i) effect prong).53 The ALJs reasoning as to this issue focuses

primarily on whether a financial loss suffered by the FDIC as receiver for a failed institution must

constitute loss to that institution for purposes of Section 1818s effect prongs . . .. See RD at 180.

She concluded that it must, and the Comptroller concurs. The Comptroller will not further address

this point, however, because the Comptrollers independent analysis regarding causation leads to

the conclusion that Enforcement Counsel did not carry its burden of establishing the effect prong.

     To reiterate, as part of her factual findings regarding Loans to Rogers III Entities, the ALJ

stated the following.

        Respondents . . . assert that the Bank and L&D Committee knew of Rogers IIIs
        involvement, and Enforcement Counsel did not adduce . . . evidence to resolve the
        question. It is also possible that full knowledge of the circumstances might have
        made individuals on the L&D Committee more likely to approve the loan, if they
        viewed Rogers III as a reliable borrower and saw the transaction as a way to remove
        encumbrances from the assets. . . .

        In some sense, however, the L&D Committees actual knowledge of who owned
        Griqualand is immaterial. . . .

See RD at 98-99 (internal quotation marks and citations omitted). Additionally, with respect to the

matter of the L&D Committees knowledge of the information contained in the email from Rogers

IIIs attorney, the ALJ found that L&D Committee members might have known this information

independently and incorporated it into their determination of whether the Griqualand loan was in

the Banks best interest . . . See RD at 100 (emphasis added).

     Simply put, this suggests that the failed loans would have been approved even without

Respondent Rogerss misconduct. Of key importance, the ALJ incorrectly concluded that the L&D

Committees actual knowledge of Rogers IIIs involvement with the entities at issue was



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  The ALJ did not decide whether Respondent Rogerss misconduct constituted a pattern of
misconduct for purposes of satisfying the effect prong of § 1818(i), see RD at 183, and the
Comptroller declines to consider this issue in the first instance.

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immaterial, and found that the L&D Committee might have had independent knowledge of

Rogers IIIs involvement and that, if they did, such knowledge might have made them more likely

to approve the loans at issue. If the L&D Committee did have independent knowledge of

information regarding Rogers IIIs involvement in the entities at issue, the L&D Committees

approval of loans to those entities would be a superseding cause, sufficient to break the causal

connection between Respondent Rogerss failure to disclose such information to the committee

and the financial losses sustained by the receivership. Cf. Restatement (Second) of Torts § 440 (A

superseding cause is an act of a third person or other force which by its intervention prevents the

actor from being liable for harm to another which his antecedent negligence is a substantial factor

in bringing about.). Because the ALJs findings go as far as to suggest the existence of such a

superseding cause, Enforcement Counsel has not established by a preponderance of the evidence

that losses arising from Loans to Rogers III Entities occurred by reason of Respondent Rogerss

failure to disclose material information to the L&D Committee.54

           E. The Civil Money Penalty Assessment is Appropriate

     In determining the amount of any civil money penalty, the Comptroller must consider the

appropriateness of the penalty with respect to the financial resources and good faith of

Respondents, the gravity of the violations, the history of previous violations, and such other

matters as justice may require. See 12 U.S.C. § 1818(i)(2)(G). Upon consideration of these factors




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   In light of the Comptrollers foregoing, independent analysis, Respondents Exception 23,
which objects to the ALJs conclusion that the effect prong is satisfied as to charges based on
Loans to Rogers III Entities, is deemed moot. Because the effect prong has not been satisfied in
connection with charges against Respondent Rogers based on Loans to Rogers III Entities, such
charges are dismissed. Respondents Exception 24, which objects to the ALJs conclusion that
the culpability prong was satisfied in connection with the prohibition charge arising from this
misconduct, is also deemed moot.

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and Enforcement Counsels relevant submissions,55 the ALJ recommended civil money penalties

against each Respondent in the amount of $250,000. Although the Comptroller dismisses certain

charges that the ALJ deemed established, the Comptroller nevertheless concludes that civil money

penalties in the amount of $250,000 are appropriate as to each Respondent.

     The parties jointly stipulated that Respondents possess the resources and ability to pay

$250,000 civil money penalties. See RD at 185 (citing Joint Stip. ¶ 10). Contrary to the ALJs

conclusion, the Comptroller concludes that Respondents conduct in connection with the Capital

Raise Strategy did not reflect that they were acting in good faith. Compare RD at 185, with supra

Part X.A.3. The Comptroller credits the ALJs assessment that Respondents have been reasonably

candid and cooperative in the course of these proceedings, with the exception of certain instances,

including Respondent Ortegas testimony with respect to Nonaccrual Loan Accounting Practices

and his repeated and misleading framing of various related issues. See RD at 185-86. The

Comptroller reaches the same conclusion as the ALJ that on balance, Respondents good faith is

not a significant mitigating factor. See id. at 186. The Comptroller also agrees that, even upon

finding fewer violations than the ALJ, there is nothing about the gravity of the proven violations

that would warrant mitigation of the civil money penalty amount. See id. The Comptroller agrees

with the ALJ that because Enforcement Counsel represented that there is no evidence of a history

of previous violations and no evidence that Respondents were previously criticized for similar

actions by the OCC, this consideration stands as a potential mitigating factor. See id. at 187.

Enforcement Counsel also acknowledges that Respondents made significant financial investments

in connection with the Banks efforts to raise capital. See id. And, as the ALJ did, the Comptroller




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  Respondents have not directly addressed the statutory mitigating factors or the appropriateness
of the civil money penalty amount in their briefing before the ALJ or in their exceptions.

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credits testimony regarding the efforts made by Respondent Ortega, at great personal cost to his

own health, to address issued raise by regulators in late 2012 and early 2013. See RD at 187.

Upon consideration of these factors, the Comptroller concurs with the ALJs conclusion that a

$250,000 civil money penalty is appropriate as to each of the Respondents.

   XI.      REQUEST FOR ORAL ARGUMENT

   After considering Respondents request for oral argument, see Respts Exceptions at 129, and

the entire record in this matter, the Comptroller finds that no benefit would be derived from oral

argument and Respondents will not be prejudiced by the lack of oral argument. Therefore, pursuant

to 12 C.F.R. § 19.40(b), the Comptroller denies Respondents request for oral argument.

   XII.     REQUEST FOR STAY

   Respondents request that, [i]nsofar as the Comptroller enters a final order adverse to

Respondents, that such order be accompanied by a stay under 12 C.F.R. § 19.41 pending judicial

review. See Respts Exceptions at 129. Section 19.41 provides the following:

         The commencement of proceedings for judicial review of a final decision and order
         of the Comptroller may not, unless specifically ordered by the Comptroller or a
         reviewing court, operate as a stay of any order issued by the Comptroller. The
         Comptroller may, in his or her discretion, and on such terms as he or she finds just,
         stay the effectiveness of all or any part of an order pending a final decision on a
         petition for review of that order.

See 12 C.F.R. § 19.41. The Comptroller deems Respondents request premature. If Respondents

petition for judicial review of the instant decision, the Comptroller will consider a request to stay

the proceedings.

   XIII. CONCLUSION

   After a thorough review of the record in this proceeding, and for the reasons set forth herein,

the Comptroller concludes that an Order of Removal and Prohibition and Assessment of a Civil

Money Penalty is warranted against each Respondent. In addition, and also in light of the record,



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the Comptroller concludes that the $250,000 civil money penalties imposed are appropriate as to

each Respondent.

       IT IS SO ORDERED.


                                           Michael J.   Digitally signed by
                                                        Michael J. Hsu

                                           Hsu          Date: 2023.11.30
                                           _______________________________________
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                                           MICHAEL J. HSU
                                           ACTING COMPTROLLER OF THE CURRENCY




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                          UNITED STATES OF AMERICA
                        DEPARTMENT OF THE TREASURY
                OFFICE OF THE COMPTROLLER OF THE CURRENCY

  In the Matter of:                                           )
                                                              )
  Saul Ortega                                                 )             AA-EC-2017-44
  Former Chief Financial Officer, Director,                   )
   President, Chief Executive Officer, and                    )
   Chairman of the Board                                      )
                                                              )
  David Rogers, Jr.                                           )             AA-EC-2017-45
  Former Chairman of the Board                                )
                                                              )
  First National Bank                                         )
  Edinburg, Texas                                             )


                 ORDER TO SEAL CERTAIN PARTS OF EXCEPTIONS

   Pages twenty-six through twenty-eight of

        Recommended Decision, Supporting Brief, and Request for Oral Argument discuss in

inappropriate detail the condition of an open institution that is supervised by the Office of the

Comptroller of the Currency and summarize testimony from portions of the administrative hearing

that were closed to the public. The Comptroller sua sponte orders that this section beginning

with the last paragraph appearing on page twenty-six and continuing through the first paragraph

appearing on page twenty-eight   be sealed.

       IT IS SO ORDERED.


                                              _______________________________________
                                              MICHAEL J. HSU
                                              ACTING COMPTROLLER OF THE CURRENCY




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                          UNITED STATES OF AMERICA
                        DEPARTMENT OF THE TREASURY
                OFFICE OF THE COMPTROLLER OF THE CURRENCY

  In the Matter of:                                            )
                                                               )
  Saul Ortega                                                  )             AA-EC-2017-44
  Former Chief Financial Officer, Director,                    )
   President, Chief Executive Officer, and                     )
   Chairman of the Board                                       )
                                                               )
  David Rogers, Jr.                                            )             AA-EC-2017-45
  Former Chairman of the Board                                 )
                                                               )
  First National Bank                                          )
  Edinburg, Texas                                              )


                                   ORDER OF PROHIBITION

   Pursuant to 12 U.S.C. § 1818(e) and (i), Enforcement Counsel for the Office of the Comptroller

of the Currency initiated this action on September 25, 2017, by filing a Notice of Charges for

Orders of Prohibition and Notice of Assessments of a Civil Money Penalty against Respondent

Saul Ortega (Respondent), former Chief Financial Officer, Director, President, Chief Executive

Officer, and Chairman of the Board of First National Bank, Edinburg, Texas. A twelve-day hearing

before an administrative law judge was held between January 31, 2022, and February 15, 2022.

Respondent appeared at the hearing, was represented by counsel, and was afforded an opportunity

to be heard.

   Having considered the entire record in this matter, including the evidence presented at hearing,

the administrative law judges recommended decision, and the parties exceptions thereto,

pursuant to 12 U.S.C. § 1818(e):

   1. Respondent shall not participate in any manner in the conduct of the affairs of any insured

depository institution, agency, or organization enumerated in 12 U.S.C. § 1818(e)(7)(A) without




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the prior written consent of the appropriate Federal financial institutions regulatory agency, as that

term is defined in 12 U.S.C. § 1818(e)(7)(D); and

   2. Respondent shall not solicit, procure, transfer, attempt to transfer, vote, or attempt to vote

any proxy, consent, or authorization with respect to any voting rights in any institution described

in 12 U.S.C. § 1818(e)(7)(A) without the prior written consent of the appropriate Federal financial

institutions regulatory agency, as that term is defined in 12 U.S.C. § 1818(e)(7)(D); and

   3. Respondent shall not violate any voting agreement previously approved by the appropriate

Federal banking agency, as that term is defined in 12 U.S.C. § 1813(q); and

   4. Respondent shall not vote for a director, or serve or act as an institution-affiliated party, as

that term is defined in 12 U.S.C. § 1813(u), of any insured depository institution, agency, or

organization enumerated in 12 U.S.C. § 1818(e)(7)(A) without the prior written consent of the

appropriate Federal financial institutions regulatory agency, as that term is defined in 12 U.S.C.

§ 1818(e)(7)(D).

   This ORDER will become effective thirty (30) days from the date of its issuance.

   The provisions of this ORDER will remain effective and in force except in the event that, and

until such time as, any provision of this ORDER shall have been modified, terminated, suspended,

or set aside by the Office of the Comptroller of the Currency.

   IT IS SO ORDERED.

                                                            Digitally signed by
                                               Michael J.   Michael J. Hsu

                                               Hsu          Date: 2023.11.30
                                               _______________________________________
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                                               MICHAEL J. HSU
                                               ACTING COMPTROLLER OF THE CURRENCY




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                          UNITED STATES OF AMERICA
                        DEPARTMENT OF THE TREASURY
                OFFICE OF THE COMPTROLLER OF THE CURRENCY

  In the Matter of:                                            )
                                                               )
  Saul Ortega                                                  )             AA-EC-2017-44
  Former Chief Financial Officer, Director,                    )
   President, Chief Executive Officer, and                     )
   Chairman of the Board                                       )
                                                               )
  David Rogers, Jr.                                            )             AA-EC-2017-45
  Former Chairman of the Board                                 )
                                                               )
  First National Bank                                          )
  Edinburg, Texas                                              )


                        ORDER ASSESSING CIVIL MONEY PENALTY

   Pursuant to 12 U.S.C. § 1818(e) and (i), Enforcement Counsel for the Office of the Comptroller

of the Currency initiated this action on September 25, 2017, by filing a Notice of Charges for

Orders of Prohibition and Notice of Assessments of a Civil Money Penalty (Notice) against

Respondent Saul Ortega (Respondent), former Chief Financial Officer, Director, President,

Chief Executive Officer, and Chairman of the Board of First National Bank, Edinburg, Texas. The

Notice sought a civil money penalty of $250,000 pursuant to 12 U.S.C. § 1818(i)(2)(A) and (B).

A twelve-day hearing before an administrative law judge was held between January 31, 2022, and

February 15, 2022. Respondent appeared at the hearing, was represented by counsel, and was

afforded an opportunity to be heard.

   Having considered the entire record in this matter, including the evidence presented at hearing,

the administrative law judges recommended decision, and the parties exceptions thereto,

pursuant to 12 U.S.C. § 1818(i)(2)(A) and (B):

       IT IS HEREBY ORDERED that Respondent be assessed a civil money penalty in the

amount of two-hundred-fifty thousand dollars ($250,000).


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       Remittance of the civil money penalty shall be payable to the Treasury of the United

States and delivered to the Office of the Comptroller of the Currency, Washington, D.C.

       The provisions of this ORDER will remain in effect and in force except in the event that, and

until such time as, any provision of this Order shall have been modified, terminated, suspended, or set

aside by the Office of the Comptroller of the Currency or any other governing authority.

   IT IS SO ORDERED.

                                                            Digitally signed by
                                               Michael J.   Michael J. Hsu

                                               Hsu          Date: 2023.11.30
                                               _______________________________________
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                                               MICHAEL J. HSU
                                               ACTING COMPTROLLER OF THE CURRENCY




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                          UNITED STATES OF AMERICA
                        DEPARTMENT OF THE TREASURY
                OFFICE OF THE COMPTROLLER OF THE CURRENCY

  In the Matter of:                                            )
                                                               )
  Saul Ortega                                                  )             AA-EC-2017-44
  Former Chief Financial Officer, Director,                    )
   President, Chief Executive Officer, and                     )
   Chairman of the Board                                       )
                                                               )
  David Rogers, Jr.                                            )             AA-EC-2017-45
  Former Chairman of the Board                                 )
                                                               )
  First National Bank                                          )
  Edinburg, Texas                                              )


                                   ORDER OF PROHIBITION

   Pursuant to 12 U.S.C. § 1818(e) and (i), Enforcement Counsel for the Office of the Comptroller

of the Currency initiated this action on September 25, 2017, by filing a Notice of Charges for

Orders of Prohibition and Notice of Assessments of a Civil Money Penalty against Respondent

David Rogers, Jr. (Respondent), former Chairman of the Board of First National Bank,

Edinburg, Texas. A twelve-day hearing before an administrative law judge was held between

January 31, 2022, and February 15, 2022. Respondent appeared at the hearing, was represented by

counsel, and was afforded an opportunity to be heard.

   Having considered the entire record in this matter, including the evidence presented at hearing,

the administrative law judges recommended decision, and the parties exceptions thereto,

pursuant to 12 U.S.C. § 1818(e):

   1. Respondent shall not participate in any manner in the conduct of the affairs of any insured

depository institution, agency, or organization enumerated in 12 U.S.C. § 1818(e)(7)(A) without




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the prior written consent of the appropriate Federal financial institutions regulatory agency, as that

term is defined in 12 U.S.C. § 1818(e)(7)(D); and

   2. Respondent shall not solicit, procure, transfer, attempt to transfer, vote, or attempt to vote

any proxy, consent, or authorization with respect to any voting rights in any institution described

in 12 U.S.C. § 1818(e)(7)(A) without the prior written consent of the appropriate Federal financial

institutions regulatory agency, as that term is defined in 12 U.S.C. § 1818(e)(7)(D); and

   3. Respondent shall not violate any voting agreement previously approved by the appropriate

Federal banking agency, as that term is defined in 12 U.S.C. § 1813(q); and

   4. Respondent shall not vote for a director, or serve or act as an institution-affiliated party, as

that term is defined in 12 U.S.C. § 1813(u), of any insured depository institution, agency, or

organization enumerated in 12 U.S.C. § 1818(e)(7)(A) without the prior written consent of the

appropriate Federal financial institutions regulatory agency, as that term is defined in 12 U.S.C.

§ 1818(e)(7)(D).

   This ORDER will become effective thirty (30) days from the date of its issuance.

   The provisions of this ORDER will remain effective and in force except in the event that, and

until such time as, any provision of this ORDER shall have been modified, terminated, suspended,

or set aside by the Office of the Comptroller of the Currency.

   IT IS SO ORDERED.

                                                            Digitally signed by
                                               Michael J.   Michael J. Hsu

                                               Hsu          Date: 2023.11.30
                                               _______________________________________
                                                            16:56:46 -05'00'

                                               MICHAEL J. HSU
                                               ACTING COMPTROLLER OF THE CURRENCY




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                          UNITED STATES OF AMERICA
                        DEPARTMENT OF THE TREASURY
                OFFICE OF THE COMPTROLLER OF THE CURRENCY

  In the Matter of:                                            )
                                                               )
  Saul Ortega                                                  )             AA-EC-2017-44
  Former Chief Financial Officer, Director,                    )
   President, Chief Executive Officer, and                     )
   Chairman of the Board                                       )
                                                               )
  David Rogers, Jr.                                            )             AA-EC-2017-45
  Former Chairman of the Board                                 )
                                                               )
  First National Bank                                          )
  Edinburg, Texas                                              )


                        ORDER ASSESSING CIVIL MONEY PENALTY

   Pursuant to 12 U.S.C. § 1818(e) and (i), Enforcement Counsel for the Office of the Comptroller

of the Currency initiated this action on September 25, 2017, by filing a Notice of Charges for

Orders of Prohibition and Notice of Assessments of a Civil Money Penalty (Notice) against

Respondent David Rogers, Jr. (Respondent), former Chairman of the Board of First National

Bank, Edinburg, Texas. The Notice sought a civil money penalty of $250,000 pursuant to 12

U.S.C. § 1818(i)(2)(B). A twelve-day hearing before an administrative law judge was held between

January 31, 2022, and February 15, 2022. Respondent appeared at the hearing, was represented by

counsel, and was afforded an opportunity to be heard.

   Having considered the entire record in this matter, including the evidence presented at hearing,

the administrative law judges recommended decision, and the parties exceptions thereto,

pursuant to 12 U.S.C. § 1818(i)(2)(B):

       IT IS HEREBY ORDERED that Respondent be assessed a civil money penalty in the

amount of two-hundred-fifty thousand dollars ($250,000).




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       Remittance of the civil money penalty shall be payable to the Treasury of the United

States and delivered to the Office of the Comptroller of the Currency, Washington, D.C.

       The provisions of this ORDER will remain in effect and in force except in the event that, and

until such time as, any provision of this Order shall have been modified, terminated, suspended, or set

aside by the Office of the Comptroller of the Currency or any other governing authority.

   IT IS SO ORDERED.

                                               Michael J.   Digitally signed by
                                                            Michael J. Hsu

                                               Hsu          Date: 2023.11.30
                                               _______________________________________
                                                            16:57:03 -05'00'

                                               MICHAEL J. HSU
                                               ACTING COMPTROLLER OF THE CURRENCY




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                                CERTIFICATE OF SERVICE

I hereby certify that on the 1st day of December 2023, copies of the November 30, 2023 Final
Decision of the Comptroller of the Currency, Order to Seal Certain Parts of Exceptions, Order of
Prohibition of Respondent Saul Ortega, Order Assessing Civil Money Penalty against Respondent
Saul Ortega, Order of Prohibition of Respondent David Rogers, Jr., and Order Assessing Civil
Money Penalty Against Respondent David Rogers, Jr., were served upon the following via
electronic mail:

Office of Financial Institution Adjudication
3501 N. Fairfax Drive, Suite D8115A
Arlington, VA 22226-3500
ofia@fdic.gov

Respondents Counsel:
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The Brame Law Firm P.C.
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Enforcement Counsel:
Susan C. Bowman
Lawrence J. Keen, III
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Nathan Taran
Erin Healy Gallagher
Michael Laurino
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christopher.dalessio@occ.treas.gov
nathan.taran@occ.treas.gov
erin.healygallagher@occ.treas.gov
michael.laurino@occ.treas.gov                      Denise H.       Digitally signed by Denise
                                                                   H. Bannister

                                                   Bannister       Date: 2023.12.01
                                                   _________________________
                                                                   10:36:18 -05'00'

                                                   Denise H. Bannister, Hearing Clerk
                                                   Office of the Comptroller of the Currency
                                                   400 7th Street, S.W.
                                                   Washington, D.C. 20219
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                      EXHIBIT A-2
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                 EXHIBIT B
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                    UNITED STATES COURT OF APPEALS
                         FOR THE FIFTH CIRCUIT

SAUL ORTEGA AND DAVID        §                 Case No. 23-_____________
ROGERS, JR.                  §
                             §                 On review from AA-EC-2017-44
     Petitioners,            §                 and AA-EC-2017-45
                             §
v.                           §                 Petition for Review of Final Decision
                             §                 of the Comptroller of the Currency
OFFICE OF THE COMPTROLLER OF §
THE CURRENCY                 §
                             §
     Respondent.             §

                  CERTIFICATE OF INTERESTED PERSONS

       The undersigned counsel of record certifies that the following listed persons

and entities, as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an

interest in the outcome of this case. These representations are made in order that the

judges of this Court may evaluate possible disqualification or recusal.

Petitioners and affiliated entities:

Saul Ortega
David Rogers, Jr.
Texas National Bank, owned by a non-public holding company TNB Bancshares
   Inc., which has no parent company
First National Bank Edinburg, owned by non-public holding company First National
   Bank Group, Inc. which has no parent company
No public company owns 10% or more of either Texas National Bank, TNB
   Bancshares Inc., First National Bank Edinburg, or First National Bank Group,
   Inc.
      Case: 23-60617     Document: 1-1      Page: 150   Date Filed: 12/05/2023




Counsel:

Thomas Leatherbury
William D. Sims
Frank Brame

Respondent:
The Office of the Comptroller of the Currency
The Comptroller of the Currency, Michael Hsu

Counsel:
Lawrence J. Keen, III
Christopher D’Alessio
Nathan Taran
Michael Laurino
Susan Bowman
Erin Healy Gallagher
Grant Swanson
Frank Salamone
Office of the Comptroller of the Currency

Administrative Law Judge

Jennifer Whang
Office of Financial Institution Adjudication
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Dated: December 1, 2023

                                Respectfully submitted,
                                By: /s/ Frank Brame
                                   Thomas S. Leatherbury
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                                      Dallas, Texas 75205
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                                      Dallas, Texas 75209
                                      Telephone: (214) 458-6970
                                      bsims1119@gmail.com

                                      COUNSEL FOR PETITIONERS
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                 EXHIBIT C




                                 11
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                                 SERVICE LIST

Hon. Jennifer Whang
Administrative Law Judge
Office of Financial Institutions Adjudication
3501 North Fairfax Drive, Suite D8115A
Arlington, VA 22226-3500
ofia@fdic.gov

Hearing Clerk
Office of the Controller of the Currency
400 7th Street, S.W.
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